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       MEMORANDUM OF LAW IN SUPPORT OF
   PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION


                         EXHIBIT 3
                         REDACTED
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                      UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF ILLINOIS
                          EAST ST. LOUIS DIVISION


    HENRY DAVIS, et al.,                 )
             Plaintiffs,                 )
                                         )   Case No. 3:16-cv-00600-MAB
          v.                             )
                                         )   Hon. Mark A. Beatty
    ROB JEFFREYS,                        )
              Defendant.                 )
                                         )



          DECLARATION OF CRAIG HANEY, PH.D., J.D. IN SUPPORT OF
             PLAINTIFF’S MOTION FOR CLASS CERTIFICATION
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               I, Craig Haney, Ph.D., J.D., declare:

               I.       Expert Qualifications

               1.       I am a Distinguished Professor of Psychology and was named the 2015-

    2018 UC Presidential Chair at the University of California, Santa Cruz. My area of

    academic specialization is in what is generally termed “psychology and law,” which is the

    application of psychological data and principles to legal issues. I teach graduate and

    undergraduate courses in social psychology, psychology and law, and research methods.

               2.       I received a bachelor’s degree in psychology from the University of

    Pennsylvania, an M.A. and Ph.D. in Psychology and a J.D. degree from Stanford

    University. I have been the recipient of a number of scholarship, fellowship, and other

    academic awards (including being named Distinguished Faculty Lecturer and a UC

    Presidential Chair).

               3.       I have published numerous scholarly articles and book chapters on topics in

    law and psychology, including encyclopedia and handbook chapters on the backgrounds

    and social histories of persons accused of violent crimes, the psychological effects of

    imprisonment, and the nature and consequences of solitary or “supermax”-type

    confinement.1 In addition to these scholarly articles and book chapters, I have published

    two books: Death by Design: Capital Punishment as a Social Psychological System

    (Oxford University Press, 2005), and Reforming Punishment: Psychological Limits to the

    Pains of Imprisonment (American Psychological Association Books, 2006).

               4.       In the course of my academic work in psychology and law, I have lectured

    and given invited addresses throughout the country on the role of social and institutional



    1
        The terms “solitary or ‘supermax’-type” confinement are defined later in this Declaration.


                                                           1
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    histories in explaining criminal violence, the psychological effects of living and working

    in institutional settings (typically maximum security prisons), and the psychological

    consequences of solitary confinement. I have given these lectures and addresses at various

    law schools, bar associations, university campuses, and numerous professional psychology

    organizations such as the American Psychological Association.

           5.      I also have served as a consultant to numerous governmental, law

    enforcement, and legal agencies and organizations on jail- and prison-related issues. Those

    agencies and organizations include the Palo Alto Police Department, various California

    Legislative Select Committees, the National Science Foundation, the American

    Association for the Advancement of Science, the United States Department of Justice, the

    Department of Health and Human Services (“HHS”), the Department of Homeland

    Security, and the White House (under both the Clinton and Obama Administrations). In

    2012, I testified as an expert witness before the Judiciary Committee of the United States

    Senate and was appointed as a member of a National Academy of Sciences committee

    analyzing the causes and consequences of high rates of incarceration in the United States.

           6.      A copy of my curriculum vitae is attached to this Declaration as Exhibit 1.

           7.      My academic interest in the psychological effects of various prison

    conditions is long-standing and dates back to 1971, when I was still a graduate student. I

    was one of the principal researchers in what has come to be known as the “Stanford Prison

    Experiment,” in which my colleagues Philip Zimbardo, Curtis Banks, and I randomly

    assigned normal, psychologically healthy college students to the roles of either “prisoner”

    or “guard” within a simulated prison environment that we had created in the basement of

    the Psychology Department at Stanford University. The study has since come to be




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    regarded as a “classic” study in the field, demonstrating the power of institutional settings

    to change and transform the people who enter them.2

            8.       Since then I have been studying the psychological effects of living and

    working in real (as opposed to simulated) institutional environments, including juvenile

    facilities, mainline adult prison and jail settings, and specialized correctional housing units

    (such as solitary and “supermax”-type confinement). In the course of that work, I have

    toured and inspected numerous maximum security state prisons and related facilities (in

    Alabama, Arkansas, Arizona, California, Florida, Georgia, Idaho, Illinois, Louisiana,

    Massachusetts, Montana, New Jersey, New Mexico, New York, Ohio, Oregon,

    Pennsylvania, Tennessee, Texas, Utah, and Washington), many maximum security federal

    prisons (including the Administrative Maximum or “ADX” facility in Florence, Colorado),

    and prisons in Canada, Cuba, England, Hungary, and Mexico. I also have conducted

    numerous interviews with correctional officials, guards, and prisoners to assess the impact

    of penal confinement, and statistically analyzed aggregate data from numerous correctional

    documents and official records to examine the effects of specific conditions of confinement

    on the quality of prison life and the ability of prisoners to adjust to them.3


    2
      For example, see Craig Haney, Curtis Banks & Philip Zimbardo, Interpersonal Dynamics in a Simulated
    Prison, 1 International Journal of Criminology and Penology 69 (1973); Craig Haney & Philip Zimbardo,
    The Socialization into Criminality: On Becoming a Prisoner and a Guard, in Law, Justice, and the Individual
    in Society: Psychological and Legal Issues. (J. Tapp and F. Levine, eds., 1977); and Craig Haney & Philip
    Zimbardo, Persistent Dispositionalism in Interactionist Clothing: Fundamental Attribution Error in
    Explaining Prison Abuse, Personality and Social Psychology Bulletin, 35, 807-814 (2009).
    3
      For example, Craig Haney & Philip Zimbardo, The Socialization into Criminality: On Becoming a Prisoner
    and a Guard, in Law, Justice, and the Individual in Society: Psychological and Legal Issues (pp. 198-223).
    (J. Tapp and F. Levine, eds., 1977); Craig Haney, Infamous Punishment: The Psychological Effects of
    Isolation, 8 National Prison Project Journal 3 (1993); Craig Haney, Psychology and Prison Pain: Confronting
    the Coming Crisis in Eighth Amendment Law, Psychology, Public Policy, and Law, 3, 499-588 (1997); Craig
    Haney, The Consequences of Prison Life: Notes on the New Psychology of Prison Effects, in D. Canter &
    R. Zukauskiene (Eds.), Psychology and Law: Bridging the Gap (pp. 143-165). Burlington, VT: Ashgate
    Publishing (2008); Craig Haney, On Mitigation as Counter-Narrative: A Case Study of the Hidden Context
    of Prison Violence, University of Missouri-Kansas City Law Review, 77, 911-946 (2009); Craig Haney,


                                                        3
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    segregation,” “administrative detention,” “temporary confinement,” and “investigative

    status”) for both non-mentally ill and mentally ill persons; and b) based on the case-specific

    discovery that I have obtained directly, been provided, and reviewed, the extent to which

    prisoners in restrictive housing in the Illinois Department of Corrections (“IDOC”) are

    subjected to conditions of confinement that place them at a serious risk of psychological

    harm.

            12.    I am being compensated at a rate of $250/hr, and $125/hr for non-work

    travel time. My compensation in this case is independent of the ultimate opinions I render.

            13.    I reserve the right to amend my opinions based on additional information

    that may come to light while retained by plaintiffs’ counsel to opine on these matters.

            III.   Materials Reviewed

            14.    My opinions on these topics are based on a number of sources. In addition

    to my own direct experience interviewing and evaluating prisoners housed in conditions of

    restrictive housing in the IDOC, I reviewed the extensive published literature that addresses

    the psychological effects of solitary confinement. In addition, I requested and have been

    provided with a set of official documents that pertain to the use of restrictive housing within

    the IDOC. The discovery documents that I reviewed include: various official IDOC

    documents (including administrative regulations pertaining to disciplinary segregation,

    administrative detention, temporary confinement, and investigative status) and operational

    memoranda; portions of the prisoners’ institutional files (including the mental health

    records and disciplinary records) and documents for the prisoners whom I interviewed at

    each facility I toured, as well as a random sampling of prisoners from the other IDOC

    facilities; and several overview reports (including materials produced by the Vera Institute

    of Justice pertaining to their consultation with IDOC on how to reduce its use of solitary


                                                  5
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    confinement/restrictive housing,5 and several reports of the court appointed monitor in the

    Rasho v. Baldwin case 6 ). A document index that contains a detailed list of all of the

    documents I have reviewed is attached to this Declaration as Exhibit 2.

             15.      In addition, I toured and inspected all areas of a number of IDOC facilities

    where prisoners are subjected to conditions of restrictive housing.7 Specifically, on July

    23, 2018, I toured and inspected the Stateville Correctional Center and interviewed a

    sample of prisoners there; on July 24 and 25, 2018, I toured and inspected the Pontiac

    Correctional Center and interviewed a sample of prisoners there; and on July 26 and 27,

    2018, I toured and inspected the Dixon Correctional Center and interviewed a sample of

    prisoners there. I returned to Illinois in September, 2018 to conduct additional tours and

    interviews. Specifically, on September 24 and 25, 2018 I toured and inspected the Menard

    Correctional Center, and interviewed a sample of prisoners there; on September 26 and 27,

    2018, I toured and inspected the Lawrence Correctional Center and interviewed a sample

    of prisoners there; and, finally, on September 27 and 28, 2018, I toured and inspected the

    Logan Correctional Center and interviewed a sample of prisoners there.8 During the course

    of these facilities tours I identified several areas to be photographed at a later date, a sample

    of these photographs is attached as Exhibit 3.


    5
     For example: Suzanne Agha, James Austin, & Angela Browne, Quantitative findings on use and outcomes
    of segregation in IL DOC. New York: Vera Institute of Justice, September 11, 2011.
    6
     For example: Pablo Stewart, Second Annual report of Monitor Pablo Stewart, M.D., Rasho v. Baldwin, No.
    1-07-CV-1298-MMM-JEH, June 8, 2018.
    7
     This term will be used throughout this Declaration to collectively refer to and denote the conditions of
    confinement in which IDOC prisoners in disciplinary segregation, administrative detention, temporary
    confinement, and investigative status are housed. The relatively minor differences between them will be
    acknowledged where they are relevant to the opinions expressed.
    8
     I should note that I previously toured and inspected several of these facilities and conducted interviews with
    prisoners housed in them in conjunction with litigation that was pending several years earlier, Rasho v.
    Baldwin, No. 1:07-CV-1298-MMM-JEH (C.D. Ill., Peoria Div.).


                                                          6
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    use of solitary confinement/restrictive housing,5 and several reports of the court appointed

    monitor in the Rasho v. Baldwin case6). A document index that contains a detailed list of

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    1-07-CV-1298-MMM-JEH, June 8, 2018.
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    8
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    Baldwin, No. 1:07-CV-1298-MMM-JEH (C.D. Ill., Peoria Div.).


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            16.     In the course of each of these facility visits, in addition to touring and

     inspecting the facilities themselves, I generally conducted multiple kinds of interviews with

     prisoners, including brief “cell-front” interviews with the prisoners whom I encountered in

     the course of the inspections. At each of these facilities I was also often able to question

     staff regarding operations, practices and policies.

            17.     In addition to the briefer interviews conducted cell-front with prisoners, I

     conducted separate confidential interviews, in a private setting, with individual prisoners

     whom I selected. The face-to-face interviews with IDOC prisoners in restrictive housing

     were conducted in all of the various institutions that I toured, and they included prisoners

     housed in disciplinary segregation, administrative detention, and investigative status.

            IV.     Summary of Conclusions

            18.     It is my expert opinion that being housed in solitary confinement/restrictive

     housing produces a number of negative psychological effects that place prisoners at

     significant risk of serious psychological harm. I believe that these effects are now well

     understood and described in the scientific literature. Scientific knowledge of these effects

     derives from numerous empirical studies. The findings are “robust”—that is, they come

     from studies that were conducted by researchers and clinicians from diverse backgrounds

     and perspectives, were completed and published over a period of many decades, and are

     empirically very consistent. With remarkably few exceptions, virtually every one of these

     studies has documented the pain and suffering that isolated prisoners endure and the risk

     of psychological harm that they confront.

            19.     In addition, the empirical conclusions drawn from direct studies of solitary

     confinement/restrictive housing are entirely consistent with an extensive scientific

     literature generated outside the context of prison. That is, numerous studies have


                                                   7
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     established the importance of social contact, social interaction, and social activity and have

     documented the wide range of harmful psychological and even physical effects that people

     suffer when they are deprived of these things.

            20.     Thus,    what    we   know     about   the   harmful    effects   of   solitary

     confinement/restrictive housing should be interpreted in the larger context of this

     empirically well-documented and theoretically sound scientific framework. The fact that

     social deprivation and isolation are known to produce adverse psychological and physical

     effects in contexts other than prison underscores how and why these conditions and

     experiences produce similar outcomes in correctional settings (where, if anything, the

     social deprivation and isolation are far more extreme and forcefully and pejoratively

     applied).

            21.     There are also sound theoretical reasons to expect that prisoners who suffer

     from serious mental illness (“SMI”) would have a more difficult time tolerating the painful

     experience of solitary confinement/restrictive housing. This is in part because of the greater

     vulnerability of the mentally ill in general to stressful, traumatic conditions, and in part

     because some aspects of solitary confinement/restrictive housing have direct adverse

     impacts on the particular symptoms from which mentally ill prisoners suffer (such as

     depression) or directly aggravate aspects of their pre-existing psychiatric conditions.

            22.     It is also my opinion that the conditions of confinement in restrictive

     housing in the various IDOC units that I observed clearly constitute what is meant by

     “solitary confinement” in the scientific, legal, and human rights literature as well is in

     common correctional parlance. I reached this conclusion based on what I saw directly in

     the various restrictive housing units I toured and inspected, what I read about them in the




                                                   8
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     documents that I reviewed (including various applicable IDOC policies and practices), and

     what was described to me in the interviews of IDOC prisoners and staff that I conducted.

     These IDOC units subject prisoners to exactly the type of conditions that my own research

     and professional experience and the scientific studies conducted by others over a period of

     many decades indicate are hurtful and harmful. They place all prisoners at significant risk

     of serious harm, regardless of their pre-existing mental health status.

                23.        The IDOC subjects prisoners to restrictive housing under several different

     rubrics. By far the largest group of restricted housing prisoners are designated “disciplinary

     segregation” prisoners. For example, according to June 2018 data, of the                prisoners

     in the IDOC subjected to restrictive housing,                    were assigned to disciplinary
                       9
     segregation.            The    remaining    groups—“administrative      detention,”   “temporary

     confinement,” and “investigation status”—each have                                    prisoners in

     them. With relatively minor differences in living conditions and daily routine between

     prisoners in different designations and between prisoners housed in different prisons (as

     noted in greater detail later in this Declaration), the conditions of confinement and the

     nature of the practices and procedures in all IDOC restrictive housing units are essentially

     the same. They are problematic and dangerous in much the same ways.

                24.        In addition, many of the solitary confinement/restrictive housing units that

     I observed within IDOC are especially severe. They subject prisoners to conditions and

     forms of treatment that go beyond being painful, unpleasant, and potentially harmful to

     being outright dangerous to prisoners’ mental health and well-being.




     9
         Declaration of Matthew R. DalSanto, paragraph 10.


                                                             9
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             25.     As a result, all IDOC prisoners subjected to solitary confinement/restrictive

     housing are at significant risk of serious psychological harm as a result of the conditions,

     practices, and policies to which they are subjected. Indeed, the restrictive housing units that

     I observed and where I interviewed prisoners subjected them to severe forms of social

     deprivation. In addition, these units subject prisoners to a range of other harsh living

     conditions, severe restrictions, and additional deprivations that exacerbate the harmful

     effects of social isolation.

             26.     Not surprisingly, the prisoners whom I encountered in the course of my

     facility tours and inspections—both those briefly interviewed cell-front and those with

     whom I conducted longer, confidential interviews—reported that they are suffering under

     the harsh conditions and forms of treatment to which they are subjected in restrictive

     housing. There were frequent and consistent complaints about the draconian and degraded

     conditions of confinement in which prisoners are forced to live, the profound levels of

     idleness and inactivity to which they are subjected and, in the case of mentally ill prisoners,

     the lack of meaningful (or, in some instances, any) mental health care. These complaints

     surfaced repeatedly in the cell-front interviews and were corroborated and amplified in the

     individual, confidential interviews I conducted.

             27.     The data I obtained through the confidential interviews that I conducted

     produced evidence that there is a high prevalence of problematic psychological symptoms

     among IDOC prisoners in solitary confinement/restrictive housing, including symptoms

     associated with toxic levels of stress and the psychopathological effects of isolation (which

     I will elaborate on later in this Declaration).




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                28.     It is important to acknowledge that a prison system’s use of solitary

     confinement/restrictive housing does not occur in a vacuum. Instead, it is typically related

     to other forms of correctional dysfunction, including overcrowding, a lack of funding for

     positive programming, a substandard mental healthcare delivery system, a combination of

     these things, or some other deeper systemic problem or set of problems. The use of solitary

     confinement/restrictive housing is a reflection of those problems and is sometimes

     employed in an ill-advised attempt to solve them. The IDOC is no exception.

                29.     Although the overall population in the IDOC has slowly decreased over the

     last decade, and the total number of prisoners in restrictive housing has correspondingly

     declined somewhat,10 the percentage of mentally ill prisoners in restrictive housing is

     extremely high. Based on the most current data to which I have access, an estimated 80%

     of prisoners in IDOC solitary confinement/restrictive housing units are mentally ill.11 The

     combination of widespread problematic conditions, lack of adequate programming and

     service, and the high concentration of mentally ill prisoners in solitary confinement/

     restrictive housing appears to be related to the continuing dysfunctionality that plagues the

     IDOC’s mental health care system-wide.12

                30.     The opinions expressed herein are based on a reasonable degree of

     professional certainty.



     10
       According to documents produced to counsel in Rasho v. Walker, 07-cv-1298, in November 2017 there
     were 1105 prisoners in segregation in Illinois Department of Corrections, in July 2018 there were 1132
     prisoners in segregation in Illinois Department of Corrections.
     11
       According to documents produced to counsel and present in court in Rasho v. Walker, 07-cv-1298 in
     2017 there were 1105 prisoners in segregation in the Illinois Department of Corrections, 897 of whom were
     considered mentally ill.
     12
          For example, see Rasho v. Walker, 2018 WL 2392847 (C.D. Ill. 2018).



                                                         11
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                 V.       The Adverse Psychological Effects of Solitary Confinement

                 31.      “Solitary confinement” and “restrictive housing” are terms of art in

     correctional practice and scholarship. In this case, as I noted above, I will use the terms

     together and synonymously. Conditions of confinement and the policies and practices that

     govern restrictive housing in the IDOC are essentially what is meant by the more

     conventional term, solitary confinement. Both terms refer to conditions of severe (but not

     total) isolation from others. For perhaps obvious reasons, total and absolute solitary

     confinement—literally complete isolation from any form of human contact—does not exist

     in prison and never has.

                 32.      Solitary confinement/restrictive housing is presumably designed to limit

     and control disciplinary infractions and violence by keeping prisoners isolated from one

     another. Unfortunately, research indicates that it often fails to accomplish its ostensible

     goals.13 It also comes at a significant price: it subjects prisoners to especially harsh and

     deprived conditions of isolated confinement that place them at a significant risk of serious

     psychological harm. As a general matter, psychologists have long known from numerous

     studies conducted in settings outside prison that social isolation, social exclusion, and

     loneliness in general are potentially very harmful and can cause irreparable damage to a

     person’s overall psychological and physical functioning.14 Of course, there is no reason to

     believe that these conditions and experiences, which are known to be extremely harmful

     outside prison, are any less harmful inside. In fact, there are many reasons to believe that,




     13
       There is no reliable empirical evidence that the use of solitary confinement/restrictive housing reduces
     violence or gang activity or has any positive effects on the behavior of prisoner subjected to it.
     14
          I will discuss this literature in the next section of this Declaration.



                                                                12
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     all other things being equal, the harsh, forceful ways that social deprivation is involuntarily

     imposed in correctional settings and the other restrictions that typically accompany it will

     result in even more psychological trauma and other impairments.

                    A.      The Scientific Status of Social Isolation

            33.     Although solitary confinement/restrictive housing is often discussed as if it

     existed in an empirical and theoretical vacuum, it does not. In fact, what we know about

     the negative psychological effects of prison isolation is actually situated in an even larger

     scientific literature about the harmful effects of social isolation and exclusion in society

     more generally. That is, there is now a wealth of scientific knowledge about the harmful

     effects of social isolation and exclusion in contexts and settings outside of prison. Absent

     the security-related and other constraints that prison researchers often face, scientists in the

     world outside prison have been able to conduct a vast number of studies on the effects of

     social isolation and exclusion. Thus, that much larger scientific literature forms the

     empirical and theoretical framework in which the results of research on solitary

     confinement/restrictive housing in prison can and should be understood and interpreted.

            34.     In fact, there has been a great deal of methodologically sophisticated

     research – much of it done in the last two decades – that has produced an extremely

     impressive scientific database very carefully documenting what many of us who have been

     studying prison solitary confinement already knew – namely, that meaningful social

     contact is a fundamental human need whose deprivation can result in serious and negative

     psychological and even physical effects.

            35.     The scientific database on the negative effects of isolation is too extensive

     to comprehensively review in this Declaration. Instead, I will summarize a representative

     sample of the research and its most important conclusions. Even this brief summary


                                                   13
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     establishes that there is a larger empirical and theoretical scientific framework through

     which the nature and significance of the adverse effects of solitary confinement/restrictive

     housing in the IDOC can and should be understood.

             36.      The need to belong, to be socially connected, and to have social contact with

     others has been recognized for several decades in psychology and other behavioral

     sciences. 15 Psychologists have long known that social contact is fundamental to

     establishing and maintaining emotional health and well-being. Years ago, social

     psychologist Herbert Kelman argued that denying persons contact with others was a form

     of dehumanization.16 As one researcher put it more recently: “Since its inception, the field

     of psychology emphasized the importance of social connections.” 17 “Affiliation” – the

     opportunity to have meaningful contact with others – helps us reduce anxiety in the face of

     uncertainty or fear-arousing stimuli.18

             37.      Indeed, one of the ways that people determine the appropriateness of their

     feelings – how we establish the very nature and tenor of our emotions – is through contact

     with others. 19 Thus, prolonged social deprivation is painful and destabilizing, in part


     15
        For example, see Baumeister, R., & Leary, M. (1995). The need to belong: Desire for interpersonal
     attachments as a fundamental human motivation. Psychological Bulletin, 117, 497-529.
     16
       Kelman, H., Violence Without Restraint: Reflections on the Dehumanization of Victims and Victimizers.
     In G. Kren & L. Rappaport (Eds.), Varieties of Psychohistory (pp. 282-314). New York: Springer (1976).
     17
      DeWall, C., Looking Back and Forward: Lessons Learned and Moving Forward, in C. DeWall (Ed.), The
     Oxford Handbook of Social Exclusion (pp. 301-03). New York: Oxford University Press (2013), at p. 301.
     18
       For example, see Stanley Schachter, The Psychology of Affiliation: Experimental Studies of the Sources
     of Gregariousness. Stanford, CA: Stanford University Press (1959); Irving Sarnoff & Philip Zimbardo,
     Anxiety, Fear, and Social Affiliation, Journal of Abnormal Social Psychology, 62, 356-363 (1961); Philip
     Zimbardo & Robert Formica, Emotional Comparison and Self-Esteem as Determinants of Affiliation, Journal
     of Personality, 31, 141-162 (1963).
     19
       For example, see A. Fischer, A. Manstead, & R. Zaalberg, Social Influences on the Emotion Process, in
     M. Hewstone & W. Stroebe (Eds.), European Review of Social Psychology (pp. 171-202). Volume 14. Wiley
     Press (2004); C. Saarni, The Development of Emotional Competence. New York: Guilford Press (1999);
     Stanley Schachter & Jerome Singer, Cognitive, Social, and Physiological Determinants of Emotional State,


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     because it deprives persons of the opportunity to ground their thoughts and emotions in a

     meaningful social context – to know what they feel and whether those feelings are

     appropriate.

                38.     Not surprisingly, then, numerous scientific studies have established the

     psychological significance of social contact, connectedness and belongingness. They have

     concluded, among other things, that the human brain is literally “wired to connect” to

     others.20 Thwarting this “need to connect” not only undermines psychological well-being,

     but also increases physical morbidity and mortality. Indeed, in part out of recognition of

     the importance of the human need for social contact, connection, and belongingness, social

     psychologists and others have written extensively about the harmful effects of its

     deprivation – what happens when people are subjected to social exclusion and isolation.

                39.     Some of the most dramatic demonstrations of the harmful effects of social

     deprivation have been found in animal research, where certain kinds of more intrusive

     scientific procedures and controls are possible to employ. Numerous animal studies have

     documented the neurological consequences of social isolation, measured in ways that they

     could not be in humans. They have found that social isolation actually has the capacity to

     alter the brain’s neurochemistry, structure, and function. Thus, social isolation leads to

     anxiety-like behavior in animals, impairs their working memory, and disrupts their brain

     activity,21 as well as altering their neuroendocrinal responses in ways that that exacerbate


     Psychological Review, 69, 379-399 (1962); L. Tiedens & C. Leach (Eds.), The Social Life of Emotions. New
     York: Cambridge University Press (2004); and S. Truax, Determinants of Emotion Attributions: A Unifying
     View, Motivation and Emotion, 8, 33-54 (1984).
     20
          Lieberman, M., Social: Why Our Brains Are Wired to Connect. New York: Random House (2013).
     21
       For example, see Zorzo, C., Mendez-Lopez, M., Mendez, M., & Arias, J. (2018). Adult social isolation
     leads to anxiety and spatial memory impairment: Brain activity pattern of COx and c-Fos. Behavioural Brain
     Research, 365, 170-177.


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     the effects of stress.22 Social isolation represents a chronic stressor that also changes animal

     brain chemistry in ways that negatively affect the cellular mechanisms of aging, 23

     precipitates depression-like behavior in mammals,24 and suppresses the animal immune

     response to illness.25

              40.      In fact, the damaging effects of social isolation on laboratory animals are so

     well-documented that they have led governmental and scientific funding organizations—

     for example, the National Institute of Health—to prohibit researchers from placing them in

     completely isolated conditions for prolonged periods. It is considered unethical to do so

     and a basis for denying or revoking funding to scientists who violate this prohibition. As a

     result, university research facilities that conduct animal research have “institutional animal

     care and use committees” that promulgate guidelines for conducting animal research,

     virtually all of which include limitations on the degree to which laboratory animals can be

     subjected to any form of social isolation.26




     22
       For example, see Frietas, B., Antoniazzi, V., dos Santos, C., et al. (2019). Social isolation and social support
     at adulthood affect epigenetic mechanisms, brain-derived neurotrophic factor levels and behavior of
     chronically stressed rats. Behavioural Brain Research, 366, 36-44.
     23
        For example, see Stevenson, J., McMahon, E., Boner, W., & Haussmann, M. (2019). Oxytocin
     administration prevents cellular aging caused by social isolation. Psychoneuroendrocrinology, 103, 52-60.
     24
        For example, see Gong, Y., Tong, L., Yang, R., et al. (2018). Dynamic changes in hippocampal microglia
     contribute to depressive behavior induced by early social isolation. Neuropharmacology, 135, 223-233.
     25
       For example, see Wu, W., Yamaura, T., Murakami, K., et al. (2000). Social isolation stress enhances liver
     metastasis of murine colon 26-L5 carcinoma cells by suppressing immune response in mice. Life Sciences,
     66, 1827-1838.
     26
        For example, the Emory University’s guidelines mandate “environmental enrichment” for nonhuman
     primates used in research. The enrichment is aimed at “identifying and providing the environmental stimuli
     necessary for psychological and physiological wellbeing.” The Emory guidelines mandate that “all
     nonhuman primates must be housed with one or more members of the same species.” Any exception to this
     policy requires advanced approval and is “reviewed by the Attending Veterinarian every 30 days.”
     http://www.iacuc.emory.edu/documents/policies/360_Environmental_Enrichment_for_Nonhuman_Primate
     s.pdf



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              41.      Of course, the results of animal studies are not directly transferable to

     human populations. However, literally hundreds of studies done with human participants

     have reached many of the same conclusions. For example, scientists have established that

     social isolation in society at large is a significant risk factor for depression and anxiety

     among adolescents and adults, 27 and is related as well to psychosis, 28 paranoia, 29 and

     suicidal behavior.30 It also can lead to reduced cognitive functioning.31 Among people who

     already have been diagnosed or identified as mentally ill in settings outside prison, isolation




     27
        For example, see Ge, L., Chun, W., Ong, R., & Heng, B. (2017). Social isolation, loneliness and their
     relationship with depressive symptoms: A population-based study. PLoS ONE, 12(8), e0182145.
     https://doi.org/10.1371/journal.pone.0182145; Hafner, S., et al., Association Between Social Isolation and
     Inflammatory Markers in Depressed and Non-depressed Individuals: Results from the MONICA/KORA
     Study, Brain, Behavior, and Immunity, 25, 1701-1707 (2011); Richardson, C., Oar, E., Fardouly, J. et al.
     (2019). The moderating role of sleep in the relationship between social isolation and internalising problems
     in early adolescence. Child Psychiatry & Human Development, 1-10 https://doi.org/10.1007/s10578-019-
     00901-9; van Beljouw, I. M., van Exel, E., de Jong Gierveld, J., Comijs, H. C., Heerings, M., Stek, M.L., et
     al. (2014). "Being all alone makes me sad": Loneliness in older adults with depressive symptoms.
     International Psychogeriatrics, 9, https://doi.org/10.1017/S1041610214000581 1-11.1; Wang, J., Lloyd-
     Evans, B., Giacco, D. et al. (2017). Social isolation and mental health: A conceptual and methodological
     review. Social Psychiatry and Psychiatric Epidemiology, 52, 1451-1461.
     28
       For example, see DeNiro, D. (1995). Perceived alienation in individuals with residual-type schizophrenia.
     Issues in Mental Health Nursing, 16(3), 185-200.*
     29
        For example, see Butter, S., Murphy, J., Shelvin, M., & Houston, J. (2017). Social isolation and psychosis-
     like experiences: A UK general population analysis. Psychosis: Psychological, Social and Integrative
     Approaches, 9(4), 291-300.
     30
       For example, see Goldsmith, S., Pellmar, T., Kleinman, A., & Bunney, W. (2002). Reducing suicide: A
     national imperative. Washington, DC: National Academy Press.
     31
       For example, see Fratiglioni, L., Wang, H., Ericsson, K., Maytan, M., & Winblad, B. (2000). Influence of
     social network on occurrence of dementia: A community-based longitudinal study. Lancet, 355, 1315-1319;
     Shankar, A., Hamer, M., McMunn, A., & Steptoe, A. (2013). Social isolation and loneliness: Relationships
     with cognitive function during 4 years of follow-up in the English Longitudinal Study of Ageing.
     Psychosomatic Medicine, 75, 161-170;



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     has been implicated in the maintenance of delusional or psychotic beliefs, 32 a lack of

     insight into one’s psychiatric symptoms,33 and a higher rate of hospital usage.34

              42.      In addition, social isolation also adversely impacts the functioning of the

     human immune system35 and undermines health outcomes in general.36 Not surprisingly,

     it has been linked to higher rates of mortality; that is, the experience of social isolation

     literally lowers the age at which people die.37 In fact, researchers have concluded that the




     32
       For example, see Garety, P., Kuipers, E., Fowler, D., Freeman, D., & Bebbington, P. (2001). A cognitive
     model of the positive symptoms of psychosis. Psychological Medicine, 31(2), 189-195, who wrote about the
     way that social marginalization contributes to beliefs about the self as “vulnerable to threat, or about others
     as dangerous” (p. 190) and the way that “social isolation contributes to the acceptance of… psychotic
     appraisal by reducing access to alternative move normalizing explanations” (p. 191).
     33
        For example, see White, R., Bebbington, P., Person, J., Johnson, S., & Ellis, D. (2000). The social context
     of insight in schizophrenia. Social Psychiatry and Psychiatric Epidemiology, 35(11), 500-507.
     34
       For example, see Mgutshini, T. (2010). Risk factors for psychiatric re-hospitalization: An exploration.
     International Journal of Mental Health Nursing, 19(4), 257-267; and Thornicroft, G. (1991). Social
     Deprivation and Rates of Treated Mental Disorder: Developing Statistical Models to Predict Psychiatric
     Service Utilisation, British Journal of Psychiatry, 158, 475-484.
     35
        For example, see Pressman, S., Cohen, S., Miller, G., et al., (2005). Loneliness, social network size, and
     immune response to influenza vaccination in college freshmen. Health Psychology, 24, 297-306; and
     36
       For example, see Beller, J., & Wagner, A. (2018). Loneliness, social isolation, their synergistic interaction,
     and mortality. Health Psychology, 37(9), 808-813; Fiorillo, D., & Fabio Sabatini, F. (2011). Quality and
     Quantity: The Role of Social Interactions in Self-Reported Individual Health. Social Science & Medicine,
     73, 1644-1652.
     37
        For example, see Coyle, & Dugan, (2012); and Elovainio, M., Hakulinen, C., Pulkki-Raback, L., et al.
     (2017). Contribution of risk factors to excess mortality in isolated and lonely individuals: An analysis of data
     from the U.K. Biobank cohort study. The Lancet Public Health, 2, e260-e266; Hawkley, L., & Cacioppo, J.
     (2010). Loneliness matters: A theoretical and empirical review of consequences and mechanisms. Annals of
     Behavioral Medicine, 40, 218-227; Heinrich, L., & Gullone, E. (2006). The clinical significance of
     loneliness: A literature review. Clinical Psychology Review, 26, 695-718; Marcus, A., Illescas, A., Hohl, B.,
     & Llanos, A. (2017). Relationships between social isolation, neighborhood poverty, and cancer mortality in
     a population-based study of US adults. PLoS ONE, 12(3), e0173370. doi: 10.1371/journal.pone.0173370;
     Pantell, M., Rehkopf, D., Jutte, D., et al. (2013). Social isolation: A predictor of mortality comparable to
     traditional clinical risk factors. American Journal of Public Health, 30, 241-256; and Tanskanen, J., & Anttila,
     T. (2016). A prospective study of social isolation, loneliness, and mortality in Finland. American Journal of
     Public Health, 106(11), 2042-2048.



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     health risk of social isolation on mortality rates is comparable to that caused by smoking

     cigarettes.38

              43.      In part because of its dramatic, life-shortening effects, social isolation is

     increasingly recognized as a serious public health concern. For example, the social

     isolation of older adults was the focus of two of the Canadian National Seniors Council

     most recent reports.39 The negative effects of social isolation on psychological and physical

     well-being in general have led to it being targeted internationally in major public health

     initiatives.40

              44.      There is a closely related and well-developed body of literature on “social

     exclusion” – what happens when people are involuntarily separated from others (as they

     are in most prison solitary confinement/administrative segregation units). These studies,

     too, show that being separated from others produces a host of serious negative

     consequences. Researchers have documented the fact that excluding persons from contact

     with others is not only “painful in itself,” but also “undermines people’s sense of belonging,



     38
        For example, see Holt-Lunstad, J., Smith, T. B., & Layton, B. (2010). Social relationships and mortality
     risk: A meta-analytic review. PLoS Medicine, 7, 1–20. Holt-Lunstad, J., Smith, T. B., Baker, M., Harris, T.,
     & Stephenson, D. (2015). Loneliness and social isolation as risk factors for mortality: A meta-analytic review.
     Perspectives on Psychological Science, 10, 227–237.
     39
       See National Seniors Council. (2014). Report on the social isolation of seniors 2013-2014. Retrieved from
     http://www.seniorscouncil.gc.ca/eng/research_publications/social_isolation/page00. shtml
     National Seniors Council. (2017). Who’s at risk and what can be done about it? A review of the literature on
     the social isolation of different groups of seniors. Retrieved from https://www. canada.ca/en/national-seniors-
     council/programs/publications-reports/2017/review-social-isola tion-seniors.html
     40
       For example, see Leigh-Hunt, N., Bagguley, D., Bash, K., et al. (2017). An overview of systematic reviews
     on the public health consequences of social isolation and loneliness. Public Health, 152, 157-171. In fact, an
     international commission formed by former French President, Nicholas Sarkozy, and led by Nobel Prize
     winners Joseph Stiglitz and Amartya Sen and economist Jean-Paul Fitoussi to identify key indicators of social
     progress, quality of life, and well-being identified social connectedness as one of the key dimensions that
     nations should take into account. Stiglitz, J., Sen, A., Fitoussi, J., et al. (2008). Report by the Commission on
     the Measurement of Economic Performance and Social Progress. Paris, France: The Commission
     http://ec.europa.eu/eurostat/documents/118025/118123/Fitoussi+Commission+report



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     control, self-esteem, and meaningfulness, reduces pro-social behavior, and impairs

     self-regulation.”41 Indeed, the subjective experience of social exclusion results in what has

     been called “cognitive deconstructive states” in which there is emotional numbing, reduced

     empathy, cognitive inflexibility, lethargy, and an absence of meaningful thought.42

              45.      Social exclusion has been shown to heighten people’s feelings of physical

     vulnerability and the expectation that they will experience physical harm in the future,43

     and may precipitate aggressive behavior – “action-oriented coping” – in response.44 As two

     authors noted in summarizing these overall effects:

                       Social exclusion is detrimental and can lead to depression,
                       alienation, and sometimes even to violent behaviour.
                       Laboratory studies show that even a brief episode of
                       exclusion lowers mood, causes social pain, which is
                       analogous to physical pain, and elicits various behavioural
                       responses, such as aggressive behaviour or affiliation‐
                       seeking behavior.45

              46.      In fact, the editor of an authoritative Oxford Handbook of Social Exclusion

     concluded the volume by summarizing the “serious threat” that social exclusion represents

     to psychological health and well-being, including “increased salivary cortisol levels… and


     41
       Bastian, B., & Haslam, N. (2010). Excluded from Humanity: The Dehumanizing Effects of Social
     Ostracism. Journal of Experimental Social Psychology, 46, 107-113, p. 107, internal references omitted.
     42
       Twenge, J., Catanese, K., & Baumeister, R. (2003). Social Exclusion and the Deconstructed State: Time
     Perception, Meaninglessness, Lethargy, Lack of Emotion, and Self Awareness. Journal of Personality and
     Social Psychology, 85, 409-423 (2003).
     43
       For example, see Dean, K., Wentworth, G., & LeCompte, N. (2016). Social exclusion and perceived
     vulnerability to physical harm. Self and Identity, 18(1), 87-102.
     44
        Reiter-Scheidl, K., Poapousek, I., Lackner, H., et al. (2018). Aggressive behavior after social exclusion is
     linked with the spontaneous initiation of more action-oriented coping immediately following the exclusion
     episode. Physiology & Behavior, 195, 142-150
     45
        Syrjamaki, A., & Hietanen, J., (2018). The effects of social exclusion on processing of social information—
     A cognitive psychology perspective. British Journal of Social Psychology, DOI:10.1111/bjso.12299 (internal
     citations omitted). See, also: DeWall, et al. (2011). Belongingness as a Core Personality Trait: How Social
     Exclusion Influences Social Functioning and Personality Expression, Journal of Personality, 79, 979-1012.



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     blood flow to brain regions associated with physical pain,” “sweeping changes” in

     attention, memory, thinking, and self-regulation, as well as changes in aggression and

     prosocial behavior. As he put it: “This dizzying array of responses to social exclusion

     supports the premise that it strikes at the core of well-being.”46

             47.      In addition to subjecting prisoners to social isolation and social exclusion,

     solitary confinement/restrictive housing often greatly limits or completely deprives them

     of the opportunity to give and receive caring human touch. Isolated prisoners may go for

     days, weeks, months, or even years without ever touching another person with affection.

     This, too, is an established area of scientific study in which researchers outside of the prison

     context has accumulated extensive data on harmful effects.

             48.      Thus, psychologists have long known that: “Touch is central to human

     social life. It is the most developed sensory modality at birth, and it contributes to cognitive,

     brain, and socioemotional development throughout infancy and childhood.”47 The need for

     caring human touch is so fundamental that early deprivation is a risk factor for

     neurodevelopmental disorders, depression, suicidality, and other self-destructive

     behavior. 48 Later deprivation is associated with violent behavior in adolescents. 49


     46
       DeWall, supra note 17, at p. 302. See, also: Johan Karremans, et al. (2011). Secure Attachment Partners
     Attenuate Neural Responses to Social Exclusion: An fMRI Investigation. International Journal of
     Psychophysiology, 81, 44-50 (2011).
     47
       Hertenstein, M., Keltner, D., App, B., Bulleit, B, & Jaskolka, A., Touch Communicates Distinct Emotions.
     Emotion, 6, 528-533 (2006), at p. 528. See, also: Hertenstein, M., & Weiss, S. (Eds.), The Handbook of
     Touch: Neuroscience, Behavioral, and Health Perspectives. New York: Springer (2011).
     48
       For example, see Cascio, C., Somatosensory Processes in Neurodevelopmental Disorders, Journal of
     Neurodevelopmental Disorders, 2, 62-69 (2010); Field, S., Touch Deprivation and Aggression Against Self
     Among Adolescents, in Stoff, D. & Susman, E. (Ed.), Developmental psychobiology of aggression (117-
     140). New York: Cambridge (2005).
     49
       Field, T., Violence and Touch Deprivation in Adolescents, Adolescence, 37, 735-749 (2002). Recent
     theory and research now indicate that “touch is a primary platform for the development of secure attachments
     and cooperative relationships,” is “intimately involved in patterns of caregiving,” is a “powerful means by


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     Conversely, a number of experts have argued that caring human touch is so integral to our

     well-being that it is actually therapeutic. Thus, it has been recommended to treat a host of

     maladies including depression, suicidality, and learning disabilities.50

             49.      If anything, the kind of social isolation, social exclusion, and the deprivation

     of caring touch that occurs in solitary confinement/restrictive housing in prisons and jails

     is far more stressful, harmful, and dangerous than in the larger society where these

     deleterious effects have been elaborately documented. Prison and jail isolation is enforced

     isolation (indeed, prisoners are often forcibly removed from their cells and taken to solitary

     confinement/restrictive housing), it is pejoratively imposed (i.e., there is stigma and often

     gratuitous humiliation associated with it), and it is accompanied by a host of additional

     deprivations beyond the sheer deprivation of meaningful social contact. Those deprivations

     commonly include the lack of positive environmental stimulation, severe restrictions on

     property, and a dearth or complete absence of meaningful activity and programming.

             50.      Thus, there is every reason to believe that the adverse psychological and

     physical effects of social isolation and exclusion and the deprivation of caring touch that




     which individuals reduce the suffering of others,” and also “promotes cooperation and reciprocal altruism.”
     Goetz, J., Keltner, D., & Simon-Thomas, E., Compassion: An Evolutionary Analysis and Empirical Review,
     Psychological Bulletin, 136, 351-374 (2010), at p. 360. The uniquely prosocial emotion of compassion “is
     universally signaled through touch,” so that persons who live in a world without touch are denied the
     experience of receiving or expressing compassion in this way. Stellar, J., & Keltner, D., Compassion, in
     Tugade, M., Shiota, M., & Kirby, L. (Eds.), Handbook of Positive Emotions (pp. 329-41). New York:
     Guilford (2014). Researchers have found that caring human touch mediates a sense of security and place, a
     sense of shared companionship, of being and nurturing, feelings of worth and competence, access to reliable
     alliance and assistance, and guidance and support in stressful situations. Weiss, R., The Attachment Bond in
     Childhood and Adulthood, in C. Parkes, J. Stevenson-Hinde, & P. Marris (Eds.), Attachment Across the Life
     Cycle (66-76). London: Routledge (1995).
     50
       For example, see Dobson, S., Upadhyaya, S., Conyers, I., & Raghavan, R., Touch in the Care of People
     with Profound and Complex Needs, Journal of Learning Disabilities, 6, 351-362 (2002); Field, T.,
     Deprivation and Aggression Against Self Among Adolescents. In D. Stoff & E. Susman (Eds.),
     Developmental Psychobiology of Aggression (pp. 117-40). New York: Cambridge (2005).


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     occur in the course of solitary confinement/restrictive housing in correctional settings are

     far worse than in society at large, where those effects have proven to be severe.

                       B.       Research on the Adverse Effects of Solitary Confinement Per
                                Se

              51.      In addition to the extensive research conducted outside of prison settings,

     there is a large and growing direct literature on the many ways that solitary

     confinement/restrictive housing per se can very seriously damage the overall mental and

     physical health of prisoners. The long-term absence of meaningful human contact and

     social interaction, the enforced idleness and inactivity, and the oppressive security and

     surveillance procedures (and the weapons, hardware, and other paraphernalia that go along

     with them) all combine to create starkly deprived conditions of confinement. These

     conditions predictably impair the psychological functioning of many prisoners who are

     subjected to them.51 There is a wide range of measured effects that include forms and

     degrees of cognitive, emotional, and behavioral impairments. For some prisoners, these

     impairments can be permanent and life-threatening.




     51
       For example, see Bruce Arrigo & J. Bullock, The Psychological Effects of Solitary Confinement on
     Prisoners in Supermax Units: Reviewing What We Know and What Should Change, International Journal of
     Offender Therapy and Comparative Criminology, 52, 622-640 (2008); Kristin Cloyes, David Lovell, David
     Allen & Lorna Rhodes, Assessment of Psychosocial Impairment in a Supermaximum Security Unit Sample,
     Criminal Justice and Behavior, 33, 760-781 (2006); Stuart Grassian, Psychiatric Effects of Solitary
     Confinement, Washington University Journal of Law & Policy, 22, 325-383 (2006); Craig Haney, Mental
     Health Issues in Long-Term Solitary and “Supermax” Confinement. Crime & Delinquency, 49, 124-156
     (2003); Craig Haney, Restricting the Use of Solitary Confinement, Annual Review of Criminology, 1, 285-
     310 (2018); Craig Haney & Mona Lynch, Regulating Prisons of the Future: The Psychological Consequences
     of Solitary and Supermax Confinement, New York Review of Law & Social Change, 23, 477-570 (1997);
     and Peter Smith, The Effects of Solitary Confinement on Prison Inmates: A Brief History and Review of the
     Literature, in Michael Tonry (Ed.), Crime and Justice (pp. 441-528). Volume 34. Chicago: University of
     Chicago Press (2006). There are a few outlier studies that purport to find few if any negative effects. For a
     detailed discussion of the serious methodological flaws that plague these studies, see: Craig Haney, The
     Psychological Effects of Solitary Confinement: A Systematic Critique, Crime and Justice, 47, 365-416
     (2018).



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                52.       As I alluded to in passing above, direct research on the effects of solitary

     confinement/restrictive housing is challenging to conduct. This is largely because access

     to places and people in these units is greatly restricted and control over where people are

     housed and for how long is exercised for correctional rather than research reasons. In the

     admitted absence of a single “perfect” study of the phenomenon,52 the substantial body of

     published literature clearly documents the distinctive patterns of psychological harm that

     can and do occur when persons are placed in solitary confinement/restrictive housing.

     These broad patterns have been consistently identified in personal accounts written by

     persons confined in isolation, in descriptive studies authored by mental health professionals

     who worked in many such places, and in systematic research conducted on the nature and

     effects of solitary confinement/restrictive housing. The studies span a period of over many

     decades, and were conducted in locations across several continents by researchers with

     different professional expertise, ranging from psychiatrists to sociologists and architects.53

                53.       For example, mental health and correctional staff who have worked in

     solitary confinement/restrictive housing units have reported observing a range of


     52
        The “perfect” study of the effects of solitary confinement is relatively straightforward to design but
     impossible to implement. It would include: dividing a representative sample of prisoners (who had never
     been in solitary confinement) into two groups by randomly assigning half to either a treatment condition (a
     significant period in solitary confinement) or a control condition (the same length of time residing in a typical
     prison housing unit), and conducting longitudinal assessments of both groups (i.e., before, during, and after
     their experiences), by impartial researchers skilled at gaining the trust of prisoners (including ones perceived
     by the prisoner-participants as having absolutely no connection to the prison administration), in a fashion
     that minimized or eliminated “practice effects” (that come about as a result of repeated testing).
     Unfortunately, the realities of prison life and the practical and ethical challenges of conducting research in
     prisons render such a study impossible to ever conduct. Moreover, any prison system that allowed truly
     independent, experienced researchers to perform even a reasonable approximation of such a study would be,
     almost by definition, so atypical as to call the generalizability of the results into question. Keep in mind also
     that the assessment process itself—depending on who carried it out, how often it was done, and in what
     manner—might well provide the solitary confinement participants with more meaningful social contact than
     they are currently afforded in a number of such units with which I am familiar, thereby significantly changing
     (and improving) the conditions of their confinement.
     53
          For example, see the studies referenced in the review articles listed in footnote 51 above.



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     problematic symptoms manifested by the prisoners confined in these places.54 The authors

     of one of the early studies of solitary confinement/restrictive housing summarized their

     findings by concluding that “[e]xcessive deprivation of liberty, here defined as near

     complete confinement to the cell, results in deep emotional disturbances.”55

                  54.   A decade later, Professor Hans Toch’s large-scale psychological study of

     prisoners “in crisis” in New York State correctional facilities included important

     observations about the effects of isolation.56 After he and his colleagues had conducted

     numerous in-depth interviews of prisoners, Toch concluded that “isolation panic” was a

     serious problem in solitary confinement. The symptoms that Toch reported included rage,

     panic, loss of control and breakdowns, psychological regression, and a build-up of

     physiological and psychic tension that led to incidents of self-mutilation.57 Professor Toch

     noted that although isolation panic could occur under other conditions of confinement it

     was “most sharply prevalent in segregation.” Moreover, it marked an important dichotomy

     for prisoners: the “distinction between imprisonment, which is tolerable, and isolation,

     which is not.”58


     54
       Here, too, discussions of and citations to these studies appear in the review articles listed in
     footnote 51 above.
     55
       Bruno Cormier & Paul Williams, Excessive Deprivation of Liberty, Canadian Psychiatric
     Association Journal, 11, 470-484 (1966), at p. 484. For other early studies of solitary confinement,
     see: Paul Gendreau, N. Freedman, G. Wilde, & George Scott, Changes in EEG Alpha Frequency
     and Evoked Response Latency During Solitary Confinement, Journal of Abnormal Psychology, 79,
     54-59 (1972); George Scott & Paul Gendreau, Psychiatric Implications of Sensory Deprivation in a
     Maximum Security Prison, Canadian Psychiatric Association Journal, 12, 337-341 (1969); Richard
     H. Walters, John E. Callagan & Albert F. Newman, Effect of Solitary Confinement on Prisoners,
     American Journal of Psychiatry, 119, 771-773 (1963).
     56
       Hans Toch, Men in Crisis: Human Breakdowns in Prisons. Aldine Publishing Co.: Chicago
     (1975).
     57
          Id. at 54.
     58
          Ibid.



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              55.      More recent studies have identified other symptoms that appear to be

     produced by these conditions. Those symptoms include: appetite and sleep disturbances,

     anxiety, panic, rage, loss of control, paranoia, hallucinations, and self-mutilations.

     Moreover, direct studies of prison isolation have documented an extremely broad range of

     harmful psychological reactions. These effects include increases in the following

     potentially damaging symptoms and problematic behaviors: anxiety, withdrawal,

     hypersensitivity, ruminations, cognitive dysfunction, hallucinations, loss of control,

     irritability, aggression, rage, paranoia, hopelessness, a sense of impending emotional

     breakdown, self-mutilation, and suicidal ideation and behavior.59


     59
        In addition to the numerous studies cited in the articles referenced supra at note 51, there is a
     significant international literature on the adverse effects of solitary confinement. For example, see
     Henri Barte, L’Isolement Carceral, Perspectives Psychiatriques, 28, 252 (1989). Barte analyzed
     what he called the “psychopathogenic” effects of solitary confinement in French prisons and
     concluded that prisoners placed there for extended periods of time could become schizophrenic
     instead of receptive to social rehabilitation. He argued that the practice was unjustifiable,
     counterproductive, and “a denial of the bonds that unite humankind.” In addition, see: Reto Volkart,
     Einzelhaft: Eine Literaturubersicht (Solitary confinement: A literature survey), Psychologie -
     Schweizerische Zeitschrift fur Psychologie und ihre Anwendungen, 42, 1-24 (1983) (reviewing the
     empirical and theoretical literature on the negative effects of solitary confinement); Reto Volkart,
     Adolf Dittrich, Thomas Rothenfluh, & Paul Werner, Eine Kontrollierte Untersuchung uber
     Psychopathologische Effekte der Einzelhaft (A controlled investigation on psychopathological
     effects of solitary confinement), Psychologie - Schweizerische Zeitschrift fur Psychologie und ihre
     Anwendungen, 42, 25-46 (1983) (when prisoners in “normal” conditions of confinement were
     compared to those in solitary confinement, the latter were found to display considerably more
     psychopathological symptoms that included heightened feelings of anxiety, emotional
     hypersensitivity, ideas of persecution, and thought disorders); Reto Volkart, et al., Einzelhaft als
     Risikofaktor fur Psychiatrische Hospitalisierung (Solitary confinement as a risk for psychiatric
     hospitalization), Psychiatria Clinica, 16, 365-377 (1983) (finding that prisoners who were
     hospitalized in a psychiatric clinic included a disproportionate number who had been kept in solitary
     confinement); Boguslaw Waligora, Funkcjonowanie Czlowieka W Warunkach Izolacji Wieziennej
     (How men function in conditions of penitentiary isolation), Seria Psychologia I Pedagogika NR 34,
     Poland (1974) (concluding that so-called “pejorative isolation” of the sort that occurs in prison
     strengthens “the asocial features in the criminal’s personality thus becoming an essential cause of
     difficulties and failures in the process of his resocialization”). See, also, Ida Koch, Mental and
     Social Sequelae of Isolation: The Evidence of Deprivation Experiments and of Pretrial Detention in
     Denmark, in The Expansion of European Prison Systems, Working Papers in European
     Criminology, No. 7, 119 (Bill Rolston & Mike Tomlinson eds. 1986) who found evidence of “acute
     isolation syndrome” among detainees that occurred after only a few days in isolation and included
     “problems of concentration, restlessness, failure of memory, sleeping problems and impaired sense
     of time an ability to follow the rhythm of day and night” (at p. 124). If the isolated confinement
     persisted—“a few weeks” or more—there was the possibility that detainees would develop “chronic
     isolation syndrome,” including intensified difficulties with memory and concentration,


                                                          26
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              56.      In addition, there are correlational studies of the relationship between

     housing type and various kinds of incident reports in prison. They show that self-mutilation

     and suicide are more prevalent in isolated, punitive housing units such as administrative

     segregation and security housing where prisoners are subjected to solitary-like conditions

     of confinement. For example, clinical researchers Ray Patterson and Kerry Hughes

     attributed higher suicide rates in solitary confinement-type units to the heightened levels

     of “environmental stress” that are generated by the “isolation, punitive sanctions, [and]

     severely restricted living conditions” that exist there.60 These authors reported that “the

     conditions of deprivation in locked units and higher-security housing were a common

     stressor shared by many of the prisoners who committed suicide.”61 In addition, signs of

     deteriorating mental and physical health (beyond self-injury), other-directed violence, such

     as stabbings, attacks on staff, and property destruction, and collective violence are also

     more prevalent in these units.62



     “inexplicable fatigue,” a “distinct emotional lability” that can include “fits of rage,” hallucinations,
     and the “extremely common” belief among isolated prisoners that “they have gone or are going
     mad” (at p. 125). See, also: Michael Bauer, Stefan Priebe, Bettina Haring & Kerstin Adamczak,
     Long-Term Mental Sequelae of Political Imprisonment in East Germany, Journal of Nervous &
     Mental Disease, 181, 257-262 (1993), who reported on the serious and persistent psychiatric
     symptoms suffered by a group of former East German political prisoners who sought mental health
     treatment upon release and whose adverse conditions of confinement had included punitive
     isolation.
     60
        Raymond Patterson & Kerry Hughes, Review of Completed Suicides in the California
     Department of Corrections and Rehabilitation, 1999-2004, Psychiatric Services, 59, 676-682
     (2008), at p. 678.
     61
       Ibid. See also Lindsay M. Hayes, National Study of Jail Suicides: Seven Years Later. Special
     Issue: Jail Suicide: A Comprehensive Approach to a Continuing National Problem, Psychiatric
     Quarterly, 60, 7 (1989); Alison Liebling, Vulnerability and Prison Suicide, British Journal of
     Criminology, 36, 173-187 (1995); and Alison Liebling, Prison Suicide and Prisoner Coping, Crime
     and Justice, 26, 283-359 (1999).
     62
       For example, see Howard Bidna, Effects of Increased Security on Prison Violence, Journal of
     Criminal Justice, 3, 33-46 (1975); K. Anthony Edwards, Some Characteristics of Prisoners
     Transferred from Prison to a State Mental Hospital, Behavioral Sciences and the Law, 6, 131-137
     (1988); Elmer H. Johnson, Felon Self-Mutilation: Correlate of Stress in Prison, in Bruce L. Danto


                                                            27
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              57.      The painfulness and damaging potential of solitary confinement/restrictive

     housing is underscored by the fact that extreme forms are used in so-called “brainwashing”

     and certain forms of torture. In fact, many of the negative effects of solitary confinement

     are analogous to the acute reactions suffered by torture and trauma victims, including post-

     traumatic stress disorder (“PTSD”) and the kind of psychiatric sequelae that plague victims

     of what are called “deprivation and constraint” torture techniques.63

              58.      The prevalence of psychological symptoms (that is, the extent to which

     prisoners who are placed in these units suffer from these and related symptoms) is often

     very high. For example, in the early 1990s I conducted a study of a representative sample

     of one hundred prisoners who were housed in the Security Housing Unit (“SHU”) at

     Pelican Bay Prison in California. I found that every symptom of psychological distress that

     I measured but one (fainting spells) was suffered by more than half of the prisoners who




     (Ed.) Jail House Blues. Michigan: Epic Publications (1973); Anne Jones, Self-Mutilation in Prison:
     A Comparison of Mutilators and Nonmutilators, Criminal Justice and Behavior, 13, 286-296 (1986);
     Peter Kratcoski, The Implications of Research Explaining Prison Violence and Disruption, Federal
     Probation, 52, 27-32 (1988); Ernest Otto Moore, A Prison Environment: Its Effect on Health Care
     Utilization, Dissertation Abstracts, Ann Arbor, Michigan (1980); Frank Porporino, Managing
     Violent Individuals in Correctional Settings, Journal of Interpersonal Violence, 1, 213-237 (1986);
     and Pamela Steinke, Using Situational Factors to Predict Types of Prison Violence, 17 Journal of
     Offender Rehabilitation, 17, 119-132 (1991).
     63
        Solitary confinement is among the most frequently used psychological torture techniques. In D.
     Foster, Detention & Torture in South Africa: Psychological, Legal & Historical Studies, Cape Town:
     David Philip (1987), Psychologist Foster listed solitary confinement among the most common
     “psychological procedures” used to torture South African detainees (at p. 69), and concluded that
     “[g]iven the full context of dependency, helplessness and social isolation common to conditions of
     South African security law detention, there can be little doubt that solitary confinement under these
     circumstances should in itself be regarded as a form of torture” (at p. 136). See also: Matthew
     Lippman, The Development and Drafting of the United Nations Convention Against Torture and
     Other Cruel, Inhuman or Degrading Treatment or Punishment, Boston College International &
     Comparative Law Review, 27, 275 (1994); Tim Shallice, Solitary Confinement—A Torture
     Revived? New Scientist, November 28, 1974; F.E. Somnier & I.K. Genefke, Psychotherapy for
     Victims of Torture, British Journal of Psychiatry, 149, 323-329 (1986); and Shaun R. Whittaker,
     Counseling Torture Victims, The Counseling Psychologist, 16, 272-278 (1988).



                                                          28
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     were interviewed.64 Many of the symptoms were reported by two-thirds or more of the

     prisoners assessed in this isolation housing unit, and some were suffered by nearly

     everyone. Well over half of the Pelican Bay isolated prisoners in this study reported a

     constellation of symptoms—headaches, trembling, sweaty palms, and heart palpitations—

     that is commonly associated with hypertension.

             59.      With respect to a separate set of symptoms—those that have been identified

     in the literature as direct psychopathological effects of isolation—I also found that almost

     all of the prisoners whom I evaluated reported ruminations or intrusive thoughts, an

     oversensitivity to external stimuli, irrational anger and irritability, difficulties with

     attention and often with memory, and a tendency to socially withdraw. Almost as many

     prisoners reported a constellation of symptoms indicative of mood or emotional

     disorders—concerns over emotional flatness or losing the ability to feel, swings in

     emotional responding, and feelings of depression or sadness that did not go away. Finally,

     sizable minorities of the prisoners reported symptoms that are typically only associated

     with more extreme forms of psychopathology—hallucinations, perceptual distortions, and

     thoughts of suicide.

             60.      I have replicated this same procedure with representative samples of

     prisoners in solitary confinement/restrictive housing units in a number of states in

     jurisdictions across the country and found very similar results—high prevalence rates

     among isolated prisoners on most of the symptoms of psychological distress and the

     psychopathological effects of isolation.


     64
       See discussions of these data in Craig Haney, Mental Health Issues in Long-Term Solitary and
     “Supermax” Confinement (2003), and more recent data collected at the same facility, showing much
     the same pattern of results, Craig Haney, Restricting the Use of Solitary Confinement (2018), both
     of which were cited in footnote 51 above.


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             61.      In addition, in a subsequent study that I conducted at the Pelican Bay SHU

     some two decades after my original study in the early 1990s, I found that very similar

     symptom patterns were not only equally or more prevalent among a sample of extremely

     long-term isolated prisoners, but also were experienced at much higher levels and greater

     intensities compared to a sample of long-term general population prisoners. Using the same

     structured interview and systematic assessment format as before, this study compared the

     prevalence and intensity of symptoms of psychological stress, trauma, and isolation-related

     psychopathology in a randomly selected sample (N=41) of long-term SHU prisoners (i.e.,

     who had spent ten years or more in continuous solitary confinement at the facility) with a

     randomly selected sample (N=25) of long-term general population (“GP”) prisoners (i.e.,

     who were housed in the adjoining maximum security prison and had spent ten years or

     more of continuous imprisonment). 65 No prisoner in either sample was suffering from

     diagnosed mental health problems at the time the study was conducted.66

             62.      An additional factor that added to the stringency of this comparison was the

     fact that many GP prisoners had spent long periods (some, years) confined in one or another

     solitary confinement unit before their current GP housing assignment. For some of them,

     this included previously having spent time in the SHU unit that was under study. As an

     aside, many of GP prisoners I interviewed acknowledged the lasting aftereffects of their

     time in isolation, attributing at least some of their current problems and symptoms to the



     65
       Access to both groups was permitted pursuant to a court order in Ashker v. Governor of California (2014).
     All of the prisoners in both groups were otherwise mentally healthy; that is, no one from either group was
     currently on the prison system’s mental health caseload.
     66
       Largely as a result of a federal court decision, Madrid v. Gomez, 889 F.Supp. 1146 (N.D. Cal. 1995), no
     prisoner on the California Department of Corrections and Rehabilitation’s mental health caseload was
     permitted to be housed in the Pelican Bay SHU. To ensure comparability of the samples in this respect, no
     long-term GP prisoner currently on the mental health caseload was included in the study.


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     time that they had spent in solitary confinement. They described their struggle to overcome

     these effects once released from isolation, and acknowledged varying degrees of success

     in doing so. The GP prisoners who had been in solitary confinement also reported that the

     discomfort they felt in the presences of others had not necessarily dissipated quickly; they

     felt that it continued to interfere with some of their social relations and left them “lonely”

     in ways that approximated the feelings of the prisoners who were still in SHU (although to

     a much lesser degree).

              63.      Given the severity of the overall conditions to which both groups of

     prisoners were subjected, it was not surprising to learn that they all acknowledged some

     degree of suffering and distress. Yet there was absolutely no comparison in the levels

     reported by the GP versus the SHU prisoners. On nearly every single specific dimension

     measured, the prisoners in SHU were in significantly more pain, were more traumatized

     and stressed, and manifested far more isolation-related pathological reactions.67 They also

     differed dramatically in terms of the intensity with which they were bothered by these

     symptoms. The mean intensities of the reported symptoms were not only significantly

     different between the groups but were nearly or more than double for the SHU prisoners

     compared to those prisoners housed in GP.68


     67
        Here, of the 25 specific symptoms, the currently isolated long-term SHU prisoners were significantly more
     likely than long-term GP prisoners to report experiencing 18 of them, including 11 of the 13 symptoms of
     isolation-related pathology. In fact, the SHU prisoners reported significantly more symptoms overall
     (M=15.30 vs. 7.75, t=6.44, df=62, p<.001, Cohen's D = 1.65), including significantly more stress and trauma
     related symptoms (M=6.88 vs. 3.58, t=5.36, , df=62, p<.001, Cohen's D = 1.36), and significantly more
     isolation-related indices of pathology (M=8.44 vs. 4.24, t=6.63, , df=64, p<.001, Cohen's D = 1.66). In
     addition to the highly statistically significant nature of these differences, the orders of magnitude were quite
     large—nearly twice as many symptoms overall as well as for the two separate categories of symptoms were
     suffered by SHU prisoners as opposed to those in GP.
     68
        With the exception of headaches (which were reported at reasonably high levels of intensity for both
     groups), the only symptoms on which there were not significant differences between the SHU and GP
     prisoners pertained almost exclusively to symptoms that were reported very infrequently by both groups (e.g.,
     fainting, suicidality). Thus, the long-term SHU prisoners reported suffering much greater stress- and trauma-


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             64.     Although these specific symptoms of psychological stress and the

     psychopathological reactions to isolation are numerous and well-documented in these

     studies and the others to which I have referred, and certainly provide one index of the

     magnitude of the risk of harm that being placed in solitary confinement/restrictive housing

     presents, they do not encompass all of the psychological pain and dysfunction that the

     experience can incur, the magnitude of the negative changes it may bring about, or even

     the full range of the risk of harm it represents. Among other things, such extreme

     deprivation of social contact can undermine an individual’s social identity, destabilize his

     or her sense of self, and ultimately destroy one’s ability to function normally in free society.

             65.     In a broader sense, the social deprivation and social exclusion imposed by

     solitary confinement/restrictive housing engenders forms of social pathology – necessary

     adaptations that prisoners must make to live in an environment that is devoid of normal

     social contact – that is, to exist and function in the absence of meaningful interaction and

     closeness with others. In this socially pathological environment, prisoners have no choice

     but to adapt in socially pathological ways. Over time, they gradually change their patterns

     of thinking, acting and feeling to cope with the profoundly asocial world in which they are

     forced to live, accommodating to the absence of social support and the routine feedback

     that comes from normal, meaningful social contact.

             66.     Solitary confinement/restrictive housing is a socially pathological

     environment that forces long-term inhabitants to develop their own socially pathological

     adaptations—ones premised on the absence of meaningful contact with people—in order

     to function and survive. As a result, prisoners gradually change their patterns of thinking,


     related symptom intensity (M=17.7 vs. 7.79, t=5.7, df=62, p<.001, Cohen's D = 1.53), and much greater
     intensity of isolation-related pathology (M=21.66 vs. 9.00, t=7.46, df=64, p<.001, Cohen's D = 1.91).


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     acting and feeling to cope with their largely asocial world and the impossibility of relying

     on social support or the routine feedback that comes from normal contact with others.

     Clearly, then, these adaptations represent “social pathologies” brought about by the socially

     pathological environment of isolation. However, although they are functional and even

     necessary under these circumstances, they can become especially painful and disabling if

     taken to extremes, or if and when they are internalized so deeply that they persist long after

     time in isolation has ended.

            67.     For example, some prisoners cope with the asociality of their daily existence

     by paradoxically creating even more. That is, they socially withdraw further from the world

     around them, receding even more deeply into themselves than the sheer physical isolation

     of solitary confinement and its attendant procedures require. Others move from initially

     being starved for social contact to eventually being disoriented and even frightened by it.

     As they become increasingly unfamiliar and uncomfortable with social interaction, they

     are further alienated from others and made anxious in their presence.

            68.     Although social deprivation is at the core of solitary confinement/restrictive

     housing, and what seemingly accounts for its most intense psychological pain and the

     greatest risk of harm, prison isolation units also deprive prisoners of more than social

     contact. Thus, there are characteristically high levels of repressive control, enforced

     idleness, reduced positive environmental stimulation, and physical and material

     deprivations that also lead to psychological distress and can create even more lasting

     negative consequences. Indeed, most of the things that we know are beneficial to

     prisoners—such as increased participation in institutional programming, visits with




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     persons from outside the prison, physical exercise, and so on69—are either functionally

     denied or greatly restricted in solitary confinement/restrictive housing units. In addition to

     the social pathologies that are created by the deprivation of normal, meaningful social

     contact, these other stressors also can produce additional negative psychological effects.

              69.      In addition, of course, people require a certain level of mental and physical

     activity in order to remain healthy. The near total lack of movement and opportunity for

     exercise experienced by most prisoners in isolation unquestionably impacts their mental

     health. Simply put, human beings need movement and exercise to maintain healthy mental

     functioning—without the possibility for such normal and necessary human activity,

     prisoners in isolation suffer a risk of serious mental harm.

              70.      Apart from the profound social, psychological, and physical deprivations

     that solitary confinement/restrictive housing imposes, prisoners placed in these units

     experience prolonged periods of monotony and idleness. Many of them experience a form

     of sensory deprivation—there is an unvarying sameness to the physical stimuli that

     surround them, they exist within the same limited spaces and are subjected to the same

     repetitive routines, and there is little or no external variation to the experiences they are

     permitted to have or can create for themselves. This loss of perceptual and cognitive or

     mental stimulation may result in the atrophy of important related skills and capacities.70

              71.      Of course, not literally every isolated prisoner will experience all or even

     necessarily most of the range of adverse reactions that I have described above. But the


     69
       John Wooldredge, Inmate Experiences and Psychological Well-Being, Criminal Justice and
     Behavior, 26, 235-250 (1999).
     70
       See the articles cited in the reviews referenced in footnote 51. In addition, see: Stanley Brodsky
     & Forrest Scogin, Inmates in Protective Custody: First Data on Emotional Effects, Forensic Reports,
     1(4): 267-289 (1988)



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     nature and magnitude of the negative psychological consequences themselves underscore

     the stressfulness of this kind of confinement, the lengths to which prisoners must go to

     adapt and adjust to it, and the risk of harm that is created by isolation and its broad range

     of severe stressors and deprivations. The devastating effects of the conditions typically

     found in isolation units are repeatedly played out in the characteristically high numbers of

     suicide deaths and incidents of self-harm and self-mutilation.

               72.   Given the years of sustained research on solitary confinement/restrictive

     housing and the observable outcomes produced by this form of incarceration across time

     and locality, there can be no doubt that the negative psychological impact of confinement

     in these environments is often severe and, for some prisoners, sets in motion a set of

     cognitive, emotional, and behavioral changes that are long-lasting. Indeed, they can persist

     beyond the time that prisoners are housed in isolation and, for some, will prove irreversible.

                     C.     The Exacerbating Effects of Isolation on Mental Illness

               73.   Although isolated confinement creates obvious risks of harm for all, most

     experts     acknowledge    that    the   adverse    psychological     effects   of    solitary

     confinement/restrictive housing vary as a function not only of the specific nature and

     duration of the isolation (such that more deprived conditions experienced for longer

     amounts of time are likely to have more detrimental consequences), but also as a function

     of the characteristics of the prisoners subjected to it. Unusually resilient prisoners may be

     able to withstand even harsh forms of solitary confinement/restrictive housing with few or

     minor adverse effects. Conversely, some prisoners are especially vulnerable to the

     psychological pain and pressure of solitary confinement.




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                  74.    Mentally ill prisoners are particularly at risk in these environments and have

     been precluded from them precisely because of this.71 This is of particular significance in

     a prison system such as the IDOC, where, for example, at Dixon, Menard, and Pontiac,

     there were          prisoners who had been categorized as seriously mentally ill (“SMI”) at the

     some point during 2018. 72 Of these                 SMI prisoners,            SMI prisoners were in

     restrictive housing for 1 or more days in 2018,                  SMI prisoners were in restrictive

     housing for 30 or more days in 2018,             SMI prisoners were in restrictive housing for 90

     or more days in 2018,           SMI prisoners were in restrictive housing for 180 or more days

     in 2018,           SMI prisoners were in restrictive housing for 270 or more days in 2018, and

             SMI prisoners were in restrictive housing for all of 2018.73

                  75.    There are several explanations for why mentally ill prisoners are especially

     vulnerable to solitary confinement/restrictive housing. For one, as I have noted, isolation

     is significantly more stressful and psychologically painful than other forms of prison

     confinement. Mentally ill prisoners are generally more sensitive and reactive to

     psychological stressors and emotional pain. In many ways, the harshness and severe levels

     of deprivation that are imposed on them in isolation are the antithesis of the benign and

     socially supportive atmosphere that mental health clinicians seek to create within

     therapeutic environments. Not surprisingly, mentally ill prisoners generally deteriorate and

     decompensate when they are placed in isolation units.


     71
       For example, see Madrid v. Gomez, 889 F.Supp. 1146 (N.D. Cal. 1995); Ruiz v. Johnson, 37 F.Supp.2d
     855 (S.D. Tex. 1999); Jones’El v. Berge, 164 F. Supp.2d 1096 (W.D. Wisc. 2001); and Ind. Protection and
     Advocacy Comm’n v. Comm’r, Ind. Dep’t of Corr., No. 1:08-CV-01317-TWP, 2012 WL 6738517 (S.D. Ind.
     2012).
     72
        Declaration of Matthew R. DalSanto in Support of Plaintiffs’ Motion for Class Certification, September
     6, 2019, paragraph 11.
     73
          Ibid.


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              76.      Some of the exacerbation of mental illness that occurs in solitary

     confinement/restrictive housing comes about as a result of the critically important role that

     social contact and social interaction play in maintaining psychological equilibrium. The

     esteemed psychiatrist Harry Stack Sullivan once summarized the clinical importance of

     meaningful social contact by observing that “[w]e can’t be alone in things and be very clear

     on what happened to us, and we… can’t be alone and be very clear even on what is

     happening in us very long—excepting that it gets simpler and simpler, and more primitive

     and more primitive, and less and less socially acceptable.” 74 Social contact and social

     interaction are essential components in the creation and maintenance of normal social

     identity and social reality.

              77.      For this reason, one of the most fundamental ways that solitary

     confinement/restrictive housing psychologically destabilizes prisoners is by undermining

     their sense of self or social identity and eroding their connection to a shared social reality.

     Isolated prisoners have few if any opportunities to receive feedback about their feelings

     and beliefs, which become increasingly untethered from any normal social context. As

     Cooke and Goldstein put it:

              A socially isolated individual who has few, and/or superficial contacts with
              family, peers, and community cannot benefit from social comparison. Thus,
              these individuals have no mechanism to evaluate their own beliefs and
              actions in terms of reasonableness or acceptability within the broader
              community. They are apt to confuse reality with their idiosyncratic beliefs
              and fantasies and likely to act upon such fantasies, including violent ones.[75]




     74
        Harry Stack Sullivan, The Illusion of Personal Individuality, Psychiatry, 12, 317-332 (1971), at
     p. 326.
     75
       Compare, also, Margaret Cooke & Jeffrey Goldstein, Social Isolation and Violent Behavior,
     Forensic Reports, 2, 287-294 (1989), at p. 288.



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             78.    In extreme cases, a related pattern emerges: isolated confinement becomes

     so painful, so bizarre, and so impossible to make sense of that some prisoners create their

     own reality—they live in a world of fantasy instead of the intolerable one that surrounds

     them.

             79.    Finally, many of the direct negative psychological effects of social isolation

     are themselves very similar if not identical to certain symptoms of mental illness. Even

     though these specific effects are typically thought to be less chronic or persistent when

     produced by the prisoner’s conditions of confinement than those that derive from a

     diagnosable mental illness, when they occur in combination they are likely to exacerbate

     not only the outward manifestation of the symptoms but also the internal experience of the

     disorder.

             80.    For example, many studies have documented the degree to which isolated

     confinement contributes to feelings of lethargy, hopelessness, and depressed mood. For

     clinically depressed prisoners, these situational effects are likely to exacerbate their pre-

     existing chronic condition and lead to worsening of their depressed state. Similarly, the

     mood swings that some prisoners report in isolation would be expected to amplify the

     emotional instability that prisoners diagnosed with bi-polar disorder suffer. Prisoners who

     suffer from disorders of impulse control would likely find their pre-existing condition made

     worse by the frustration, irritability, and anger that many isolated prisoners report

     experiencing. And prisoners prone to psychotic breaks may suffer more in isolated

     confinement due to conditions that deny them the stabilizing influence of social feedback.

             81.    As a result of the special vulnerability of mentally ill prisoners to the

     psychological effects of solitary confinement/restrictive housing, corrections officials and




                                                  38
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     courts that have considered the issue have prohibited them from being placed in such

     units.76 In addition, mental health staff in most prison systems with which I am familiar are

     charged with the responsibility not only of screening prisoners in advance of their possibly

     being placed in isolation (so that the mentally ill can be excluded), but also of monitoring

     prisoners who are currently housed in solitary confinement for signs of emerging mental

     illness (so that they, too, can be removed).

                  82.     For example, one court that was presented with systematic evidence of the

     psychological risk of harm that solitary confinement entailed concluded that the seriously

     mentally ill must be excluded from such environments. Thus, the court noted that those

     prisoners for whom the psychological risks were “particularly”—and unacceptably—high

     included anyone suffering from “overt paranoia, psychotic breaks with reality, or massive

     exacerbations of existing mental illness as a result of the conditions in [solitary

     confinement].”77 The court elaborated on this conclusion by noting that those who should

     be excluded from solitary confinement/ restrictive housing included:

                  [T]he already mentally ill, as well as persons with borderline personality
                  disorders, brain damage or mental retardation, impulse-ridden personalities,
                  or a history of prior psychiatric problems or chronic depression. For these
                  inmates, placing them in [isolated confinement] is the mental equivalent of
                  putting an asthmatic in a place with little air to breathe. The risk is high
                  enough, and the consequences serious enough, that we have no hesitancy in
                  finding that the risk is plainly “unreasonable.”[78]

                  83.     The accumulated weight of the scientific evidence that I have cited to and

     summarized above demonstrates the negative psychological effects of confinement



     76
          See the cases cited in footnote 71.
     77
          Madrid v. Gomez, 889 F. Supp. 1146, 1265 (N.D. Cal. 1995) (citation omitted).
     78
          Ibid.



                                                          39
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     confinement/restrictive housing—what happens to people who are deprived of normal

     social contact for extended periods of time. This evidence underscores the dangers that

     social isolation creates for human beings; it produces mental pain and suffering and

     increases tendencies towards self-harm and suicide. This evidence further underscores the

     psychological importance of meaningful social contact and interaction, and in essence

     establishes these things as identifiable human needs. Over the long-term, they may be as

     essential to a person’s psychological well-being as adequate food, clothing, and shelter are

     to his or her physical well-being.

              VI.      The Use of Solitary Confinement/Restrictive Housing in the Illinois
                       Department of Corrections79

              84.      As I noted above, the adverse psychological effects of restrictive housing

     are thought to vary as a function of the specific nature and duration of the isolated

     conditions to which prisoners are exposed. In this regard, there are better and worse

     restrictive housing units, including some that seek to ameliorate the harsh conditions that

     they impose and try minimize the harm that they inflict on prisoners. As I also noted, there

     are more and less resilient prisoners, including some who seem able to withstand the

     painfulness of these environments and to recover from the experience with few if any

     lasting effects. But neither of these facts undercuts the overall consensus that has emerged

     on the harmful effects of long-term isolation and the serious risk of such harm that this

     form of prison confinement poses for all prisoners who are subjected to it.

              85.      Although the different categories of restrictive housing within IDOC may

     differ in the duration of the isolation and the purpose for which someone is subjected and


     79
       From this point forward in this Declaration, I will use the term “restrictive housing,” with the understanding
     that it means the same thing as “solitary confinement” and that the two terms can be used interchangeably.



                                                           40
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     the exact place where it occurs, all of the variations in the nature of isolated confinement

     in the Illinois prison system are similar in a number of very basic and very problematic

     respects: they all deprive prisoners of meaningful social contact and impose other

     extremely harsh restrictions, varying primarily only in terms of the length of time to which

     prisoners are subjected to them. 80 Moreover, it should be noted that in some instances

     prisoners classified as disciplinary segregation and prisoners classified as administrative

     detention are not separated into different units; they are all housed in the same restrictive

     housing units regardless of classification. And, even when prisoners in different categories

     of restrictive housing were housed in different units, I found that the conditions of

     confinement in those units were substantially the same.

              86.      The conditions of confinement in all of the restrictive housing units that I

     toured are severe. Although they vary considerably in age (primarily because two of the

     prisons – Pontiac and Menard – are extremely old and in various stages of dilapidation.

     Although Stateville is almost as old, it houses fewer prisoners in restrictive housing), and

     vary somewhat in terms of exactly how inhospitable their living conditions are, the physical

     plants of each of the housing units is similar in design, in terms of the level of social




     80
        For example, based on the IDOC February, 2019 Assignment History File,                  prisoners spent 180 or
     more days in restrictive housing in 2017. A total of       spent 365 days in restrictive housing during that same
     year. Based on the same data file, in 2018 there were         prisoners who spent 180 days or more in restrictive
     housing. A total of       spent 365 days in restrictive housing in 2018. See Declaration of Matthew R. DalSanto
     in Support of Plaintiffs’ Motion for Class Certification, September 6, 2019, paragraphs 7-8. These data appear
     to reflect a reduction in the average length of stay in restrictive housing. While reducing time in isolation is
     a positive step, it is insufficient to ameliorate the myriad risks of harm that I have identified in the present
     Declaration. The severity of the conditions, the practice of isolating vulnerable prisoners, and the still-
     extended duration of isolation continue to pose serious risks of harm for the prisoners subjected to extreme
     isolation in the IDOC.



                                                           41
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     isolation and environmental deprivation inflicted on prisoners housed in them, and in the

     practices and procedures by which the units themselves operate.81

                87.      In all of the restrictive housing units that I viewed, in all of the prisons I

     toured, the units are severe and isolating, the cells are small and most afford the prisoners

     very little interior space (despite the fact that they confined in them nearly around-the-

     clock), 82 many of them are inadequate for even a single prisoner to be confined for such

     extended periods of time but are double-celled nonetheless, the programming space and

     programming itself is sparse or non-existent, and the recreation areas that I saw were

     concrete-floored, fenced-in cages with little or no exercise equipment inside them that were

     “yards” in name only.83 Again, except for the extreme age and disrepair of several of the

     prisons, one would be hard-pressed to distinguish the harsh, deprived, and inhospitable

     living conditions that exist in any one of these severe restrictive housing units from

     another.84

                         A.          Conditions of Confinement

                88.      Description of cells – The restrictive housing cells that I saw throughout the

     facilities that I inspected severely limited a prisoner’s contact with other prisoners and with

     staff. In some cases, the cell doors were solid or covered with sheets of plexiglass, not



     81
       See generally Exhibit 3, Photographs of Solitary Restrictive Housing units at Stateville, Pontiac, Dixon,
     Menard, Lawrence, and Logan. Specifically, see 134920 and 134947 (Stateville), 134689 and 134797
     (Pontiac), 134669 and 134676 (Dixon), 039220 and 0349224 (Mendard), 134668 (Lawrence), 135022 and
     135153 (Logan), which are photographs of individual cells in which prisoners on restrictive housing reside.
     82
      See generally Exhibit 3, Photographs of Solitary Restrictive Housing units at Stateville, Pontiac, Dixon,
     Menard, Lawrence and Logan.
     83
        See Exhibit 3. Photographs of the outdoor recreation areas for the prison facilities toured, specifically
     134898 (Stateville), 134854 (Pontiac), 0347227 and 0349281 (Menard), 0125012 (Logan).
     84
          See generally Exhibit 3.



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     only impeding social contact but also air flow. Some had no windows. Many prisoners

     reported that their restrictive housing cells became unbearably hot in the summer months.

              89.      All of the restrictive housing cells at every facility that I toured impeded

     communication with persons who were outside of the cells. Among other things, this

     interfered with the nature and quality of staff’s monitoring of prisoners, and compromised

     the “cell front” contacts I was told mental health staff routinely used in lieu of individual,

     confidential, out-of-cell evaluations and treatment. I personally experienced these

     impediments as I attempted to interview prisoners in the course of my facility tours.

              90.      Cell size – The cells in the restrictive housing unit at the six facilities that I

     toured varied in size, but they are all extremely small, allowing the prisoner little or no

     ability to move about their cell. Restrictive housing prisoners in the IDOC are confined

     nearly around-the-clock in their cells. The small cells not only add to the limited movement

     and activity they can engage in but prevent them from physically separating their normal

     daily routines (i.e., eating, sleeping, and defecating). Prisoners housed in these confined

     spaces report feeling claustrophobic, anxious, and degraded.

              91.      Despite the small cell sizes, many prisoners in restrictive housing were

     “double-celled”— housed with another prisoner.85 Double-celling does not mitigate, and

     indeed may significantly exacerbate, the psychological impact of isolated confinement.86

     The kind of forced and strained “interactions” that take place between prisoners who are

     confined nearly around-the-clock in a small cell does not constitute meaningful social

     contact. In fact, under these harsh and deprived conditions, the forced presence of another



     85
       A photograph of a double-cell in a restrictive housing unit at Menard Correctional Center is contained in
     Exhibit 3, at 0349224.



                                                         43
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     person may become an additional stressor and source of tension (and even precipitate

     physical conflict); it can worsen the negative psychological effects of the other deprivations

     to which prisoners in restrictive housing are subjected. In fact, in my experience, double-

     celling in restrictive housing units increases the risk of assaults and sometimes lethal

     violence.87

                92.      Lack of meaningful social interaction – Restrictive housing obviously

     significantly limits or eliminates prisoners’ ability to have meaningful social contact with

     one another. However, restrictive housing in the IDOC also limits prisoners’ meaningful

     social contact in other ways. For example, as explained in greater detail below, prisoners

     in restrictive housing in the IDOC lose the ability to make regular phone calls to friends or

     family, or regularly receive visitors.88 In some cases, they are limited to no-contact visits,

     taking away their only real opportunity to experience caring human touch. Further, a

     number of the prisoners to whom I spoke reported that they actually discouraged their

     relatives from visiting because of the conditions their relatives are subjected to during the

     visits.

                93.      Lack of meaningful programming – Prisoners in IDOC restrictive housing

     have very limited or no access to religious, educational, or vocational programming.89 For

     perhaps obvious reasons, programming in prison is essential to prisoner well-being.

     Programming not only allows prisoners to engage in productive forms of self-improvement


     87
       In fact, this type of violence has already occurred in IDOC restrictive housing units where individuals are
     double-celled and a death resulted. For example, on November 19, 2015 Davis Sessions killed his cellmate,
     Bernard Simmons, at Menard.
     88
          20 Ill. Admin. Code §§ 504.130, 504.620(i).
     89
        See, e.g., Davis Dep. 60:4-61:3;      Dep. 38:8-40:9; Coleman Oct. 21, 2015 Dep. 19:20-22:20,
     40:8-11; Coleman Oct. 28, 2015 Dep. 113:1-11; Gardner Dep. 10:13-11:4.



                                                         44
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     or rehabilitation but also provides them with mental and physical activities in which to

     engage that, in turn, can help prevent debilitation and atrophy. The prisoners I spoke with

     during my tours consistently expressed their desire to participate in meaningful

     programming.

                         B.       IDOC’s Restrictive Housing Classifications

                94.      As noted earlier, “restrictive housing” in the IDOC encompasses primarily

     two separate designations: disciplinary segregation and administrative detention.90

                95.      Disciplinary segregation can be imposed when a prisoner has been found

     guilty of certain disciplinary infractions, and the range of penalties are set forth in the

     formal Administrative Regulation 504. 91 However, this regulation establishes only the

     maximum penalty for each infraction. Separate incidents can and typically do result in

     consecutive time to be served and, in extreme cases, the “stacking” of segregation time can

     result in decades being spent in disciplinary segregation. 92 Indeed, during my on-site

     interviews I encountered many prisoners who reported spending extremely long periods of

     time—months and years—in these severe conditions.

                96.      In addition, all prisoners in disciplinary segregation are also placed in “C

     Grade,” the restrictions of which are also set out in Administrative Regulation 504.93 They

     are subjected to onerous restrictions on their property and privileges, including limited


     90
       Although there are two other restrictive housing designation within IDOC, temporary confinement and
     investigative status, I focus on the two most commonly used and abused designations, disciplinary
     segregation and administrative detention, in this Declaration.
     91
       See 20 Ill. Admin. Code Sec. 504, Table A, online at:
     http://www.ilga.gov/commission/jcar/admincode/020/02000504ZZ9998aR.html
     92
          Deposition of Randy Pfister at 67:8-68:5.
     93
       See 20 Ill. Admin. Code Sec. 504.130(a)(3), available on line here:
     http://www.ilga.gov/commission/jcar/admincode/020/020005040A01300R.html



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     access to commissary, visits, and yard. They do not have the right to a television or radio

     or access to programs and rehabilitative services other than whatever can be obtained in-

     cell.

                97.      Disciplinary segregation prisoners are confined to their cells for extreme

     amounts of time. They are afforded only eight (8) hours a week of out-of-cell yard time,

     divided over no fewer than two days.94 This means that they can be confined in their cells

     continuously for several days at a time. In addition, there are a host of additional restrictions

     on yard time that may be employed, including when yard-related disciplinary infractions

     have been alleged.

                98.      Per the Rasho v. Walker settlement agreement, mentally ill prisoners who

     spend longer than 60 days in disciplinary segregation are supposed to be afforded slightly

     more unstructured out-of-cell or yard time (ten hours instead of eight) and an additional

     ten hours of “structured” time out of their cell (e.g., in group therapy). In the course of my

     interviews at various facilities, there were consistent reports by mentally ill prisoners that

     this amount of out-of-cell time was not being afforded and that, when it did occur,

     “structured” out-of-cell time was typically unrelated to any discernable therapeutic purpose

     or goal. Even in the Dixon STU, which allegedly houses individuals with mental illness so

     acute that they require a residential level of care, access to congregate programming or

     socialization activity of any kind is extremely limited both in practice and under the

     operative policies.

                99.      All visits for prisoners in restrictive housing are conducted on a non-contact

     basis, through a window, often via a phone. Disciplinary segregation prisoners are kept in



     94
          See 20 Ill. Admin. Code Sec. 504.670(a).


                                                      46
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     leg and hand restraints throughout the visits, despite being in secure areas. Generally, the

     policy is that disciplinary segregation offenders get two visits a month, lasting only an

     hour. Administrative detention prisoners’ visits are based upon their particular

     administrative detention phase. Generally they get more visits a month and their hands are

     not restrained, but their visits are still limited to an hour in duration.

                100.     Administrative detention prisoners are supposedly subjected to a

     “nonpunitive” placement that is based on an administrative judgment that they require

     separation from the mainline prison population, as set out in Administrative Regulation

     504.95 The criteria by which this determination is made are extremely vague, referencing

     such things as the “safety and security of the facility,” “the offender’s behavioral and

     disciplinary history,” “reports and recommendations concerning the offender,”

     “institutional order,” and “[o]ther legitimate penological interests.” There is no more

     precision or specificity required or typically provided. In addition to the vagueness of the

     criteria for placement into administrative detention, there are no criteria specified for

     whether or how a prisoner can or should be removed from this kind of onerous

     confinement, where living conditions are required to be “at least” the same as disciplinary

     segregation.96

                101.     In the course of my visits to various IDOC facilities, I conducted cell-front

     interviews with literally dozens prisoners and also interviewed over 50 prisoners on an



     95
          See 20 Ill. Admin. Code Sec. 504.690.
     96
        Although not a part of the formal regulations, there is a “three phase” system where one can gain additional
     privileges. This includes an increase in the number of hours on the yard, the ability to briefly hug a visitor
     before the visit, and other small incentives. Prisoners in administrative detention must progressively complete
     all three phases, reverting back to phase 1 if they receive a disciplinary ticket. In addition, they can remain
     “stuck” in phase 3 indefinitely.



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     individual, confidential basis. Some of the prisoners I interviewed confidentially are named

     plaintiffs in this action. The descriptions of the prisoners’ experiences in restrictive housing

     in IDOC and the harms they have suffered there were consistent in nature and extreme in

     degree. The information that I obtained from the more in-depth confidential interviews was

     cross-corroborated in the dozens of random cell-front interviews that I also conducted

     during the tours and by many of the official IDOC documents that I reviewed.

            102.    Prisoner after prisoner voiced a host of very serious, very similar concerns.

     Many of them described the painfulness of their confinement and the psychological harm

     to which they were being subjected. Their complaints and concerns appeared to me to be

     genuine and heartfelt, justified by the severity of the conditions and levels of deprivation

     to which they were being subjected. They were entirely consistent with those I have

     documented from prisoners in harsh solitary confinement units elsewhere in the country.

     A number of the IDOC prisoners whom I interviewed also complained about the length

     and indefinite nature of their confinement. Although the lengths of stay can vary widely

     among prisoners in the IDOC’s restrictive housing units, most of the units contain prisoners

     who been subjected to isolation for extremely long periods of time. I encountered more

     than a few prisoners who had spent many years in one or another form of IDOC restrictive

     housing.

            103.    Virtually all of the prisoners in solitary confinement/restrictive housing in

     IDOC with whom I spoke complained about the severe levels of idleness to which they

     were subjected. Many prisoners I interviewed told me they were on the prison’s mental

     health caseload, were taking psychotropic medications (typically as treatment for very

     serious forms of mental illness, including schizophrenia, psychosis, bi-polar disorder,




                                                   48
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     major depression, and PTSD). These prisoners complained about severity of the isolated

     conditions under which they were living, the constant stress, and the lack of consistent,

     meaningful mental health treatment.

             104.     A number of them told me about (and showed evidence of) past incidents

     of self-harm and self-mutilation as well as reporting past suicide attempts. Yet they

     remained confined in these harsh and deprived restrictive housing units. These prisoners

     also voiced virtually unanimous complaints about the nature and amount of mental health

     treatment they received.

             105.     Similarly, even the Special Treatment Center (“STC”) at the Dixon

     Correctional Center appears to be run very much like a traditional, very harsh restrictive

     housing unit. There was little or no movement in the unit on the day I was there and

     prisoners seemed mostly confined to their cells (which they told me was not uncommon).

     The outdoor exercise areas, which are the same kind as those used by prisoners in the

     regular restrictive housing unit, were small, fenced-in rec cages with concrete floors that

     hardly resemble an actual outdoor “yard.” I saw no evidence of adequate, out-of-cell

     clinical treatment space. Prisoners reported very little active group programming or

     sufficient non-clinical out-of-cell time for the population with SMI and none was apparent

     the day I toured. Instead, as I say, the conditions on the unit appeared to be the same or

     very nearly the same as those for prisoners in the restrictive housing units.97




     97
       Commonalities of conditions of confinement within and between restrictive housing units in the various
     facilities that I toured and inspected are illustrated in the photographs contained in Exhibit 3.



                                                       49
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                          C.        Summary of Facility-by-Facility Observations and Issues

                 106.     Below are summaries of some of the specific observations and problematic

     issues that I identified in each of the restrictive housing units of the six facilities that I

     toured and inspected and where I interviewed prisoners cell-front and individually on a

     confidential basis.

                 107.     Stateville Correctional Center. The Stateville Correctional Center is a very

     large maximum-security prison that houses approximately 2,500 prisoners overall

     (approximately 1,200 in the main prison and 1,300 in the adjacent receiving unit98). The

     physical plant is very old—the prison first opened in 1925—and foreboding; many of the

     housing units are antiquated and deteriorated. It has a relatively small restrictive housing

     unit that holds approximately 50 prisoners who are serving disciplinary segregation

     sentences. The restrictive housing unit is grim and highly restrictive.99

                 108.     The Stateville restrictive housing unit where prisoners in disciplinary

     segregation are housed (X House) has barred cell doors, some of which are covered with a

     plexiglass exterior. The cells are especially small and fitted with two bunks each.100 Some

     of the prisoners are double-celled. The majority of disciplinary segregation prisoners are

     serving comparatively short (90 days or less) terms in this unit, although I learned that

     some prisoners have stayed for a year or more.




     98
          I did not tour the receiving unit; therefore, my comments are limited to the main prison.
     99
          There is also a small protective custody section of the unit that is not part of this lawsuit.
     100
         Photographs of some of the Stateville cells that are used for prisoners in restrictive housing are
     contained in Exhibit 3, at 134920, 134931, 134947, and 134965. A cell with an exterior Plexiglas covering
     is depicted at 134919.



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              109.     Prisoners suffer significant deprivations in the unit. The prisoners

     complained that they were not given cleaning materials and that the unit was infested with

     roaches and rodents. One (                                ) told me that the roaches come out when it

     gets dark, that the water smells like sewage, and that prisoners were not given proper

     changes of clothes. Several prisoners told me that they had to take precautions (such as

     stuffing their ears with toilet paper when they slept) to prevent the roaches from entering

     body cavities. Prisoners are escorted to showers on the unit floor. The metal on the doors

     are rusted and shower floor appears difficult to keep clean.101 The unit does not have air

     conditioning and, especially the second tier, was extremely hot the day I toured (even

     though the outside temperature was not). Another prisoner in the unit (

               ) had many complaints about the way he and others were being treated there,

     including the fact that there was excrement in his cell. He said the situation in the unit was

     “hopeless,” and that the only way to get proper attention was the “threaten to kill yourself.”

              110.     Except for SMI prisoners (whom I was told have access to groups that meet

     daily for two hours), there is no meaningful programming. The prisoners are not allowed

     televisions or radios, and cannot supplement their diet with commissary. They get no phone

     calls if they are in disciplinary segregation and only two 20-30 minute phone calls per

     month if they are in administrative detention, and two visits per month of one hour each.

     A number of the prisoners reported that they suffered from very serious forms of mental

     illness, including some (e.g.,                                  ) who had come directly out of the

     Illinois supermax, Tamms, when it was closed.




     101
        Photographs of some of the showers in the restrictive housing unit at Stateville are contained in Exhibit
     3, at 134930, 134952, and 134955.


                                                          51
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                111.     I was shown a bizarre “bullpen” area that I was told is used by mental health

     clinicians to see prisoners on a confidential, individual basis. However, in order to do this,

     prisoners are taken to a larger open room. The clinician stands in an adjoining room on the

     other side of a wall and converses with the prisoners through an opening with thick metal

     bars.102 For some reason, this procedure is used in lieu of the clinician sitting in the same

     room with the prisoner. A mental health “group room” is located in the housing unit in an

     area that I was told by staff used to be the execution chamber at the prison. There is a mural

     on the wall that reads: “You are in control of your own destiny.” Prisoners sit on long

     wooden benches with fittings on the bottom that allow them to be handcuffed to the

     benches during groups.103

                112.     Prisoners in the segregation housing unit have access to a fenced-in outdoor

     exercise area. The prisoners are escorted to these “yards” (with their hands cuffed behind

     their back), a distance of about 100 yards from the housing unit.104 Once inside the sally

     port entrance to the fenced-in yards, the cuffs are removed. All of the “yards” have concrete

     floors and are surrounded with high chain link fences with barbed wire at the top.105 They

     have no exercise equipment. Except for a basketball hoop, they are otherwise barren,

     lacking even benches or chairs to sit on; there are no toilets. Our correctional escort officer

     told me that as many as 16 prisoners could be out there at one time, but that many of the



     102
        Photographs of the room in which the clinician stands, and the bars through which he or she converses
     with prisoner/patients, are contained in Exhibit 3, at 134972 and 134973.
     103
           Photographs of the way the room is configured are contained in Exhibit 3, at 134936 and 134939.
     104
           A photograph depicting this procedure is contained in Exhibit 3, at 134893.
     105
       A photograph of the outdoor “yard” used by restrictive housing prisoners at Stateville is depicted in
     Exhibit 3, at 134898.



                                                            52
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     mentally ill prisoners did not use the area at all. Prisoners told me that they get offered

     outdoor exercise two days a week for as much as five hours at a time, but that most typically

     decline because of the harsh conditions and procedures, including the fact that all they are

     able to do is stand in the pens and they are not able use a bathroom during the entire five-

     hour period they are out there.

                113.     While I was in the yard area, I observed a group of prisoners from the

     restrictive housing unit being escorted to the healthcare unit. They were all restrained with

     belly chains and leg restraints and chained together, so that they moved in a single group,

     and very slowly.106 The healthcare unit also contains several “watch cells” where prisoners

     who are in crisis or under suicide watch are located.107

                114.     The segregation visiting room is located in the administration building,

     about 100 yards away from the housing unit itself. It could not be more inhospitable. It was

     intolerably hot inside the day I visited (although, as I noted above, the outside temperature

     was warm but not unbearably hot). In the individual, confidential interviews I conducted

     later, prisoners told me that they would not allow loved ones to visit there and I understood

     why. One prisoner told me that his mother is asthmatic and could not tolerate it at all. The

     individual visiting booths are open and separated by concrete partitions. The visits

     themselves are all non-contact and are conducted over the phone and through glass; visitors

     and prisoners all sit on small stationary metal stools while visiting.108 Prisoners are required




     106
           A photograph of this procedure is contained in Exhibit 3, at 134893.
     107
         Photographs of the Stateville “watch cells” where restrictive housing prisoners can be taken are
     contained in Exhibit 3, at 134890 and 134993.
     108
       The inside of the visiting area, the phones and glass partitions, and the stools on which restrictive
     housing prisoners sit at Stateville are contained in Exhibit 3, at 135007, 135002, 135004 respectively.


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     to enter their “pin numbers” on the phone apparatus before they can begin talking to their

     visitors, which serves as a reminder that their visits are being recorded.

             115.    When I conducted individual, confidential interviews at Stateville, prisoners

     complained consistently about what they believed were the trivial and unsubstantiated

     nature of the infractions that led to their placement in the restrictive housing unit, about the

     severe isolation itself, and the lack of meaningful activity of any kind. Whether or not they

     were on the mental health caseload, a number of the restrictive housing prisoners I

     interviewed reported suffering greatly in this deprived environment.

             116.    For example, one (                           ) told me that he had a significant

     psychiatric history in the freeworld that included being hospitalized in a mental health

     facility for several months before his current incarceration. He said that he is currently on

     several psychotropic medications and has been diagnosed with bi-polar disorder and

     schizophrenia. He said that he sees a mental health provider for no more than about 15-20

     minutes every two weeks and goes to groups when they are offered. But he described the

     groups as “useless,” in large part because the people who run them “don’t even know my

     problems—not even my mental health therapist does—doesn’t seem like she knows me,

     [she] just says, ‘how are you feeling today?’” He reported constant anxiety, and frequent

     ruminations, depression, feelings of deterioration, and social withdrawal.

             117.    Another prisoner (                               ) whom I confidentially

     interviewed at Stateville told me that he, too, had a very significant psychiatric history that

     dated from early childhood, when he was given psychotropic medications while living with

     foster parents. He is currently diagnosed as SMI for major depression, takes several

     psychotropic medications, and has two prior suicide attempts in prison. He described his




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     time in restrictive housing as “making me worse… in seg, you don’t have anything, no TV,

     radio, phone calls [only] two times a month, and they hold on to your mail.” He told me

     that the Stateville unit in which he is currently housed is a “frightening place to live,” and

     said “I have no energy and no focus and no motivation. I have nothing but time to sit in my

     cell to think about being depressed.” He reported being constantly nervous and on edge,

     feeling that he was on the verge of a breakdown, ruminating (“you are stuck in your mind

     like we are stuck in these cells”), and feeling depressed.

             118.     The above paragraphs provide illustrative examples of the numerous

     complaints voiced, suffering described, and very serious psychological symptoms

     acknowledged by the sample of the Stateville prisoners whom I confidentially interviewed.

             119.     Pontiac Correctional Center. The Pontiac Correctional Center is a large,

     sprawling maximum-security prison complex that houses nearly 1500 prisoners,

     approximately          of whom are kept in restrictive housing. 109 The prison has several

     different cellblocks or “houses” that are devoted to some form of isolated confinement,

     including disciplinary segregation and administration detention. Each of the three houses

     that are devoted primarily to segregation—West House, North House, and South House—

     are very large and very old facilities. The cellblocks do not appear to have been created for

     isolated confinement but rather have been converted for that purpose. They are ill-suited

     to the task. All three housing units are extremely problematic, and deprive prisoners housed

     there of meaningful social contact and positive environmental stimulation. The prisoners

     housed in each of these restrictive housing units are at significant risk of serious




     109
        Declaration of Matthew R. DalSanto in Support of Plaintiffs’ Motion for Class Certification, September
     6, 2019, paragraph 10.


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     psychological harm. I discuss each of the Pontiac housing units below, in the order in which

     they were visited.

                120.     West House is an old, extremely large and noisy cellblock. The cellblock

     itself is huge—five tiers high—with a rifle-toting correctional officer on a catwalk that

     rings the outside of the cellblock wall. Prisoners are housed in barred cells that face out to

     the walls of the cellblock.110 They are all the same except for the first floor, where the doors

     are fitted with mesh screens. The insides of the cells are in various states of disrepair,

     deterioration, and dishevelment. 111 The atmosphere on the upper tier was especially

     disturbing.112 It housed many prisoners who appeared to be in obvious distress, sitting on

     the bunks in their disheveled cells, staring vacantly. Prisoners complained that despite

     being placed on the IDOC mental health caseload, they were being denied adequate

     treatment. Areas off the stairwells on several floors in the building contain makeshift
                                                                                                113
     treatment spaces where prisoners are placed in individual cages,                                 including a

     “telepsychiatry” room in which prisoners are restrained and placed inside individual cages

     where they talk to the psychiatrist on the television screen.114 The healthcare area of West

     Block was cleaner and also contained some group therapy spaces where prisoners were



     110
         Photographs of the five tier West Block housing unit where restrictive housing prisoners are confined,
     the gunwalk on the exterior wall of the cellblock, and the “gunshots warning” sign are contained in Exhibit
     3, at 134761, 134762, 134771.
     111
        Photographs of some of the cells in the West Block at Pontiac where restrictive housing prisoners are
     confined are contained in Exhibit 3, at 134689, 134692, 134693, and 134768.
     112
           A photograph of the upper tier in West Block is contained in Exhibit 3, at 134773.
     113
         Photographs of some of these West Block “treatment spaces” are contained in Exhibit 3 at 134695 and
     134996.
     114
        Photographs of the “telepsychiatry” arrangement used for restrictive housing prisoners in West Block
     are contained in Exhibit 3, at 134743, 134745, and 134747.



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     chained to benches or tables during their sessions.115 Some prisoners said that the amount

     of mental health treatment that they had received in comparison to past years had actually

     been reduced, and was now limited to only a single group and two generic movies (that

     lacked psychological content) per week. They also complained that “we have no education,

     no nothing back here.”

                121.     One West House prisoner (                                ) to whom I spoke cell-front

     told me that he had been housed in some form of restrictive housing for nine years. He

     showed me cuts on his arm from recent acts of self-mutilation (that still had staples in

     them). Another (                              ) said that he had been in the prison for over ten years

     and was having serious problems there. He told me, “I bug up [and] when I do, then they

     beat on me and write me up, which keeps me here… I’m SMI and they don’t care.”

                122.     The next housing unit I toured and inspected was North House. It is also a

     very old housing unit. This is where most of the disciplinary segregation prisoners who are

     housed at Pontiac are confined (on the odd side galleries 1, 3, 5, and 7), as well as

     administrative detention prisoners (in galleries 2 and 4). Although the tier floors were

     relatively clean, there was a great deal of noise in the large, several level-high cellblock.116

     The cell doors in North Block have metal screens on them.117 Combined with the noise in

     the unit, the screens on the cell doors made it very difficult to converse with prisoners. It

     was also nearly impossible to see into the prisoners’ cells.



     115
        Photographs of some of the rooms where restrictive housing prisoners in West House can be taken for
     group therapy are contained in Exhibit 3, at 134732 and 134740. The apparatus used to chain them to the
     tables during therapy is depicted in 134739.
     116
           A photograph of the exterior wall of the large North House is contained in Exhibit 3, at 134778.
     117
           Photograph of the screened cell doors in North House is contained in Exhibit 3, at 134792 and 134797.



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                123.     As we entered through the north entrance, I saw a prisoner in a restraint

     cage and clothed in a suicide smock.118 He was nearly incoherent, but was able to confirm

     for me that he was on suicide watch. He could not tell me how long he had been there or

     when he had been last checked on by mental health staff. There was a “one-on-one”

     counseling session taking place nearby, in which a counselor sat talking to a prisoner in a

     restraint cage located in a corner, under a stairwell. There were a number of individual

     treatment cages located in various parts of North Block; with the exception of the one in

     use under the stairwell, none were in use during the time we were in the unit.119

                124.     Upstairs, on the third tier, there was a “group” counseling session

     underway—five prisoners in a large cage, chained behind their backs, sitting on a bench.

     A mental health staff member sat outside the cage on a bench, conversing with the

     prisoners. One prisoner (                             ) told me that he had been attacked by a gang

     member, had Prison Rape Elimination Act (“PREA”) complaint pending, and continuing

     safety concerns, but did not know what his rights were.

                125.     The shower stalls in the middle of the first tier were in terrible condition.120

     In addition, many of the cells were completely dark inside, making it impossible to see in

     them or to observe what the prisoners were doing. Other cells in North House had solid




     118
        A “suicide smock” is a special form of clothing prisoners on suicide watch are typically placed in,
     instead of their normal prison clothing. It is typically one piece, gown-like, and made out of tear proof
     material.
     119
       Photographs of some of the treatment cages in North House are contained in Exhibit 3, at 134819 and
     134823.
     120
           Photographs of the Gallery 1 North House showers are contained in Exhibit 3, at 134810 and 134811.



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     steel doors and small windows.121 A number of the cells in certain units had “food tray

     extenders” protruding from the cell doors.

             126.     There were 12 “crisis cells” located on the bottom tier of the unit. One of

     the prisoners there (                           ) appeared to be very psychologically disturbed.

     He showed me cuts on his arms from self-mutilation. He told me that he had come from

     West House and was not supposed to be in segregation. He complained about what he

     described as a total lack of programming: “I’m not getting any counseling, no yard, no

     soap, no toothpaste, no group.” As he put it, “I am just back here, deteriorating.” He said

     that he was being given daily cell-front checks, but no other treatment.

             127.     On the administrative detention side of North House, there was a large open

     room on the first floor that I was told was used for counseling groups. There were five

     restraint cages with two fixed stools arranged on the outside of the cages (where the

     counselors sat). In another configuration, a table was located in front of the cages and the

     counselor sat behind it.122 One prisoner told me that he had been in segregation for four

     years, two of which were spent in North House. One of the prisoners (

              ) told me that other than yard (three times a week for three hours at a time) and one

     parenting class (that lasts no more than an hour), he had access to no other programming.

     He complained that yard was difficult because prisoners could not use the toilet during the

     three-hour period they were out there. In addition, he described participating in a church




     121
       Photographs of some of the cell configurations in North House are contained in Exhibit 3, at 134797 and
     134833.
     122
        A photograph of one “group therapy” spaces used for restrictive housing prisoners in North House is
     contained in Exhibit 3, at 134820.



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     group once a month, during which time “we sit in cages and [the] religious person sits on

     a stool.”

             128.     As we left this building to head to South House, we passed men on

     administrative detention status who were in the yard. There are several configurations for

     the outdoor rec “yards” used by North House prisoners. Some are brightly painted wire

     cages while others are concrete areas that are fenced in. All have concrete floors, are

     completely enclosed, and lack exercise equipment.123 One of the prisoners I spoke to (

                       ) complained to me that he was being held indeterminately in administrative

     detention on the basis of a write up that was nearly two decades old. He said he was given

     no other explanation for his continued retention in the unit and had no apparent pathway

     out. Another (                         ) told me that he was designated SMI, but was nonetheless

     housed in administrative detention.

             129.     The final housing unit was “South House Mental,” where extensive

     construction was underway. Around the corner from where the construction was taking

     place, on the first floor, there were suicide watch cells that were currently in use. A prisoner

     (                      ) in one of them told me that he had been on suicide watch since June

     7th (approximately six weeks earlier). He told me that, despite his serious diagnosed mental

     illnesses (bi-polar and explosive disorder) he had been physically mistreated by a guard.

             130.     Many of the cells on the first floor of the unit I toured had plexiglass shields

     on them, making it especially difficult to speak with prisoners inside. (Unlike similar cells

     in North House, however, they were better lit and easier to see into.) Many of them had




     123
       Photographs of the different kinds of rec cages/yards used by restrictive housing prisoners in North
     House are contained in Exhibit 3, at 134836 and 134838.


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     food tray extenders protruding from the cell doors.124 However, other units in South House

     had metal screens on the outside of the doors, making it more difficult to see into the

     cells.125 When we moved up to the second tier of the unit, I was told that it was “mental

     health segregation.”126

                131.      One prisoner (                               ) in this mental health/isolation unit

     told me that he was “going home tomorrow,” released directly from prison after having

     been in segregation for over a year. He said Pontiac was “awful,” and that he was still

     “suffering and depressed.” He said he avoided groups because he feared getting another

     write-up and more segregation time. He described very serious mental health problems

     (that included diagnoses of bi-polar disorder, schizophrenia, and PTSD), and listed many

     psychotropic medications he had been prescribed. He also explained that he had been on

     suicide watch just two months earlier, and showed me multiple cuts on his arm. Yet, as I

     say, he was apparently being released directly out of segregation to go home the next

     day.127

                132.      Another prisoner in the unit (                            ) appeared to be extremely

     unstable and distressed. He told me that he had stopped taking his medications earlier and

     “I lost control of my mind.” He explained that he had been diagnosed schizophrenic, bi-


     124
           Photographs of the first floor of this South House unit are contained in Exhibit 3, at 134853 and 134854.
     125
           Photographs of this South House cell configuration are contained in Exhibit 3, at 134860 and 134864.
     126
           A photograph of this South House gallery is contained in Exhibit 3, at 134868.
     127
         For perhaps obvious reasons, releasing prisoners directly from restrictive housing back to the freeworld
     is an extremely problematic and potentially dangerous practice. The transition from living in isolation to
     surviving and adjusting in the intensely social world of free society is extremely difficult and even
     traumatic. Unless they have an extremely conscientious support system (and sometimes even if they do),
     these prisoners are at high risk of failure. For many, the transition entails high levels of psychological
     distress. For some, the attempted adjustment will be unmanageable and can result in self harm, substance
     abuse, and reoffending behavior.



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     polar, and cognitively impaired, was prescribed numerous psychotropic medications in

     prison, and had a long and serious mental health history that dated back to when he was on

     the streets. He complained about a lack of treatment: “I need real help here.” He said he

     went to groups when they were offered, but complained that the prison had “stopped all

     one-on-ones” (i.e., individual treatment or therapy sessions) and that he had no treatment

     plan. Another prisoner (                            ) told me that he did not go to the counseling

     groups offered in the unit because they required prisoners to be handcuffed behind his back

     for an hour and a half and “it hurts.”

             133.     There were several kinds of arrangements for “group therapy” that I saw in

     South House. In one configuration, prisoners were placed inside a large cage and

     handcuffed to the wall or floor. In another, they sat on stools connected to a metal table

     and were handcuffed to the floor. Both were located in inhospitable settings that had a

     makeshift quality to them.128 Before leaving South House, I saw another room where group

     counseling took place and I was able to talk briefly with prisoners who were waiting for a

     session to start. They told me that the groups were relatively free form—the “nurse or

     whoever sits on the stool and does their thing” and that today’s group was focused on

     “world events.”

             134.     In the course of the individual, confidential interviews that I conducted at

     Pontiac, I was struck by how many of the restrictive housing prisoners appeared to be

     profoundly mentally ill, with very significant psychiatric histories, and who reported

     deteriorating significantly in the course of their sometimes very lengthy periods of

     restrictive housing. In addition to suffering in the face of the social isolation and other


     128
       Photographs of the “group therapy” configurations that are used for restrictive housing prisoners in
     South House are contained in Exhibit 3, at 134875, 134876, 134886, and 134887.


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     deprivations to which they were subjected, the prisoners voiced serious complaints about

     the minimal or non-existent mental health care that they received.

             135.    For example, one prisoner (                      ) whom I interviewed from

     North House told me that his psychiatric history dated back to when he was 12 years-old

     and included mental hospitalization. He said that he had come into the prison system at age

     17, and suffers from PTSD from exposure to extreme forms of violence in the freeworld.

     He told me that he has spent most of his 12 years in prison in restrictive housing, and that

     he was at Tamms when it was closed. He said that, despite being designated SMI, “they

     have no programs here, [you] get no help for your problems,” and noted that “I haven’t had

     a treatment plan since I got here.” He reported that he was rarely able to sleep, felt anxious

     all the time, sometimes had panic attacks in which he could not breathe, and that he often

     suffered from every one of the psychopathological symptoms of isolation (including

     suicidality).

             136.    Another prisoner (                      ) was interviewed from South House

     told me that he had been in some form of isolated confinement for most of the 28 years he

     had been in prison. He was very disoriented and had a difficult time focusing on my

     questions. He told me that he had tried to kill himself many times in many different ways,

     including a few months earlier when he attempted to hang himself and lost consciousness.

     He said that he had been diagnosed with schizophrenia and was taking Haldol shots. He

     reported suffering frequently from many of the symptoms of psychological stress and most

     of the psychopathological symptoms of extreme isolation, including depression and

     thoughts of suicide (because, he said, “seg makes you hopeless”). He told me that “God is




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     holding me here so I can have this place shut down. It is the gate between heaven and hell.

     When it is shut down, there will be peace, but it’s hard to do.”

            137.    Another prisoner (                       ) who was housed in West House at

     the time I confidentially interviewed him described a similarly desperate plight and voiced

     serious complaints that were consistent with those of other prisoners at Pontiac. He told

     me that he was an SMI prisoner with many serious psychiatric diagnoses (including bi-

     polar disorder), suffered from many mental health symptoms (including auditory

     hallucinations), and had been placed on psychotropic medication by the prison mental

     health staff. He described coming into the prison system with only an 18-month sentence

     but, because of his inability to adjust to confinement, he received extensive additional time

     (so that his current release date is 2052). He claimed that correctional officers harass him,

     and described an incident at Menard in which they attempted to kill him by putting mace

     in a bag and putting it over his face. He showed me very serious scars that he said came

     from times when he had bit himself, and said that he began cutting himself for the first time

     in his life when he was placed in restrictive housing. He reported being constantly on edge

     and anxious, feeling on the verge of a breakdown, and rarely if ever has normal sleep

     patterns. He also reported suffering nearly all the time from most of the psychopathological

     symptoms of isolation, including hallucinations, ruminations, irrational anger, and

     depression. He told me, “I cry in my cell because of what they [the staff] do to me. I want

     to go home but I don’t know how.”

            138.    The above paragraphs provide illustrative examples of the numerous

     complaints voiced, suffering described, and very serious psychological symptoms

     acknowledged by the sample of the Pontiac prisoners whom I confidentially interviewed.




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                139.     Dixon Correctional Center. Dixon Correctional Center is a large medium-

     security prison that houses over 2000 general population prisoners, as well as a small

     segregation unit that holds approximately 50 prisoners. Opened in the early 1980s, it is

     architecturally very different from the previous two prisons. It is newer and configured

     with a number of smaller, separate housing units spread across the prison grounds. In

     addition, the Dixon Psychiatric Unit (the state’s primary forensic mental health facility)

     and the Special Treatment Center (“STC”) for mental ill and/or developmentally disabled

     prisoners are located on the grounds of the prison. The STC also holds approximately 50

     mentally ill prisoners in restrictive housing. Specifically, restrictive housing SMI prisoners

     at Dixon are housed on two wings of X House.

                140.     The first unit I toured and inspected at Dixon was the segregation unit that

     the prison uses for its mainline prisoners (separate from the STC where SMI prisoners are

     placed in restrictive housing). It is a relatively small housing unit with approximately 50

     cells (some of which contained double bunks), arranged on three separate hallways or

     wings. 129 There is a relatively large outside rec “yard,” with a concrete floor and basketball

     hoop, surrounded by a tall chain link fence and with barbed wire at the top.130

                141.     Inside the unit, there is a very small area that I was told could be used for

     “groups,” but it was not clear whether or how well it could be used for this purpose. The

     correctional officer escort told me that “mostly, counseling takes place at the doors” of the

     cells. The cells have solid doors with windows on them and did not appear to be quite as

     small in size or in as great state of disrepair as some of the other IDOC restrictive housing


     129
       Photographs of the hallway down the wings are contained in Exhibit 3, at 039463, 0349465, and
     3049486.
     130
           Photographs of the yard are contained in Exhibit 3, at 0349442 and 0349484


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     cells I saw. Each contains a metal desk and stool or chair and many were double-bunked

     (even though only a single prisoner was housed in them).131 In contrast to the shower stalls

     I saw at the other the previous IDOC facilities I visited, those in the Dixon segregation unit

     were clean. There were a number of empty cells in the wings. However, although it was

     not an oppressively hot day outside, the temperature inside the housing unit was warm,

     bordering on uncomfortable.

              142.     The prisoners I spoke to cell-front complained mostly about the process by

     which they were placed there and reasons used to justify their segregation. One (

                           ) told me that he had been the victim of an attack and, because it was not

     his “fault,” he should not have been punished for the encounter. He said that he had “a very

     long psychiatric history, took lots of psych meds,” and has “lots of problems.” He

     complained that, although the “mental health lady” comes around once a week, and he asks

     her for mental health care, “nothing happens.” Other prisoners also complained about the

     lack of mental health care in the unit. One (                               ) told me he thought he was

     on SMI status, took psychotropic medications, and had been on crisis watch for several

     days, yet had not been given meaningful mental health care.

              143.     I next toured and inspected the infirmary area, and went to the second floor,

     where several crisis cells were located.132 One of them was occupied by a prisoner (



     131
        Photographs of the interior and exterior of some of cells in the unit where mainline restrictive housing
     prisoners are confined at Dixon are contained in Exhibit 3, at 0349447, 0349453, 134668, 134669, and
     134670.
     132
         A “crisis cell” (or “watch cell” or “suicide watch cell”) is the term commonly given to special prison
     cells where prisoners who are in a state of psychiatric crisis (acute psychiatric distress that often includes
     suicidality) are taken, for what are intended to be brief periods of heightened observation. They are
     typically specially designed, barren cells from which materials and fixtures that might be used for self-harm
     or suicide have been removed. The special precautions that are supposed to be taken with prisoners in these
     cells include greater (sometimes constant) levels of careful, periodic monitoring, restrictions on or


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                         ) who seemed to be very disturbed. He told me had been in a crisis cell for

     approximately two weeks. He also said that he was diagnosed as having schizoaffective

     disorder, and was taking a number of psychoactive medications. As he explained to me that

     he had been trying to harm himself, and had been cutting on his arms and legs (which, as

     he showed me, were full of cuts), he began to cry. He said he was going home in 23 days

     and was afraid that he was going to be released directly out of a suicide watch cell. He

     seemed especially fragile and his concerns well-justified. He expressed an interest in

     talking with me further, under more confidential conditions, and I promised I would

     attempt to arrange that. However, later, when I asked to confidentially interview him—

     something that he not only agreed to but seemed eager to do—I was denied permission to

     do so.

              144.     The main segregation unit—X House—is located at the far end of the prison

     grounds. X House holds just over 200 prisoners is segregation. It is a separate unit, with an

     additional fence built around it. The facility is newer than the other parts of the Dixon

     complex I toured. It is divided into wings, two of which (A and B Wings) are intended for

     maximum security mentally ill prisoners, two (C and D Wings) for severely mentally ill

     prisoners of all security levels with segregation time.133 B Wing also contains the crisis

     cells, where segregated prisoners and prisoners from A or B wings are placed. 134 Of the

     11 prisoners occupying crisis cells, nine of them were from the segregation units. One of


     prohibition of personal property, and sometimes special clothing that prisoners are required to wear that is
     designed to minimize the risk of self-harm (such as suicide smocks).
     133
       Photographs of the three different X House wings generally are contained in Exhibit 3, at 0349437,
     0349456, 0349458, 0349460, 0349501, 0349507, and 0349509.
     134
       Photographs of the crisis area on B wing X House at Dixon are contained in Exhibit 3, at 034978,
     0349481, 0349952, and 0349533.



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     the segregation prisoners in a crisis cell (                           ) told me that he had been on

     crisis watch for some 45 days. He had two years left to do in segregation, and he was feeling

     suicidal.

             145.     The atmosphere inside one of the restrictive housing units, C Wing was

     notable. It was very clearly a locked-down unit and the tension inside was palpable. The

     cells are barren and bleak, and many were disheveled. 135 One of the prisoners (

                         ) to whom I spoke cell-front voiced numerous complaints about the filthy

     cells, and showed me where he had cut himself. He said: “They don’t give us any help. I’m

     desperate. I haven’t been to one group in nine months. I came here for treatment and been

     through a lot of trauma. I keep hurting myself and they don’t care.” He told me that he was

     prescribed psychotropic medications and had a history of multiple placements in suicide

     watch cells—he estimated some 20 times in the nine months he had been at Dixon—yet

     was unable to get meaningful treatment or contact with mental health staff.

             146.     D Wing is a “mixed” unit, with some segregation prisoners housed along a

     row in the back of the unit, several suicide watch cells, and the rest of the cells occupied

     by general population mentally ill prisoners. It was a little quieter and less tense than C

     Wing. Here, too, however, prisoners complained about conditions and the lack of

     treatment. One prisoner (                           ) told me that “there’s no real program” in D

     Wing, the “groups are bad [because] the CO’s are right there,” indicating that the officers

     stand where they can hear what is being said between the prisoners and the counselors.136


     135
       Photograph of the inside of one of the C Wing, X House cells at Dixon are contained in Exhibit 3, at
     134675 and 134676.
     136
        A photograph depicting a C Wing group counseling session in progress in C Wing in X House with a
     correctional officer sitting immediately outside the group session, watching and within earshot of the
     conversation, is contained in Exhibit 3, at 134673.



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                147.     Although X House is supposedly a dedicated treatment facility, I was struck

     by how counter-therapeutic the environment inside the various wings appeared to be,137

     and also by the overall apparent lack of appropriate treatment space. In addition to the areas

     that               had complained to me allowed correctional officers to overhear potentially

     very personal, sensitive psychological information, one of the rooms that I was told by staff

     was used for individual one-on-one counseling did not appear to have been used for this

     purpose for quite some time (and, in any event, seemed ill-suited for the task).138

                148.      Another X House prisoner (                           ) said he had just come to

     segregation but was doing badly in the unit. Although he had been in treatment in his

     previous unit, and thought he was doing well there, he had not yet been seen by a doctor

     since coming to restrictive housing and was very concerned. Another prisoner (

                            ) also complained about the lack of treatment and said that he was “giving

     up hope” of ever being able to stabilize while he was housed there. The same concerns

     were voiced by another prisoner (                             ). He told me that he had a history of

     mental health problems and, although he had been in this restrictive housing unit for four

     months, he said that he had yet to receive any meaningful mental health treatment.

                149.     The individual, confidential interviews that I conducted at Dixon were all

     with prisoners housed in the STC. Here, too, I was struck by how profoundly mentally ill

     they all appeared to be. Each one recounted very long and significant psychiatric histories,

     and reported deteriorating significantly in the course of lengthy periods of time they had




     137
           For example, see Exhibit 3, at 134673.
     138
       Photographs of the inside of the room I was told was used for one-on-one counseling sessions in an X
     House wing at Dixon are contained in Exhibit 3, at 134679 and 134680.



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     spent in restrictive housing. As in the other facilities in which I interviewed mentally ill

     prisoners who were housed in restrictive housing, the STC prisoners, too, reported that they

     were suffering because of the social isolation and other deprivations to which they were

     subjected. They also voiced serious complaints about what they said was the minimal or

     non-existent mental health care that they received.

            150.    For example, one Dixon prisoner (                          ), who was just 20

     years-old, told me that he had been hospitalized some 200 times for his psychiatric

     problems in the freeworld, dating back to the age of eight. He said that when he came into

     the prison system “I cut up really bad” and was sent to Dixon. He told me that being in X

     House has not helped his mental condition – “the groups are pointless, the crisis team

     requests are ignored unless you cut up” and even if you do, “you get no real treatment, just

     a security smock, blanket, mattress.” He complained about physical and other forms of

     abuse that he said occurred at the hands of the officers who, he said “are physically abusive,

     use shields, hit us, then walk out and act like it never happened.” He reported that he

     suffered from nearly constant anxiety and feelings of an impending breakdown, as well as

     frequent bouts of anger, depression, ruminations, and suicidality. In fact, he told me of two

     very serious suicide attempts, including one time when he attempted to hang himself and

     officers chemically sprayed him when they came into his cell to cut him down.

            151.    Another prisoner (                     ) had recently come to Dixon. He told

     me that he, too, was hospitalized on the streets for psychiatric problems, starting at around

     the age of 10 or 12. He said he had been on psychotropic medications since coming into

     the prison system, but that he could not get the mental health staff to address his

     problems—not at the other prisons where he was housed nor at Dixon: “nothing good




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     happens here. You just get worse and the staff doesn’t care. When you ask people for

     something in seg, they just ignore you.” He also described what he feels like in restrictive

     housing: “You’re in a cell almost 24 hours a day—all that cell time gets to you. All you

     have to do is to get at each other, then the resentments build up, so when you can get to

     them on yard, you do whatever you can.” He reported being adversely affected by his time

     in solitary/restrictive housing, including hearing voices, constantly feeling anxious, having

     difficulty concentrating, experiencing ruminations and being depressed. He said he very

     often thinks of suicide and, in fact, has made five separate suicide attempts since being in

     prison.

               152.   One Dixon prisoner (                         ) with whom I conducted a

     confidential interview was brought to me from the suicide watch cell where he was housed.

     He explained that he had been identified as SMI and was prescribed a number of

     psychotropic medications in prison, including Haldol. His psychiatric problems have

     continued at Dixon where, he said, he was getting little or no help: “All we get is group—

     it’s just conversation, talk about whatever you want, two hours a day, but it’s just sports,

     current events—nothing therapeutic. They haven’t been doing one-on-one [therapy]. If you

     ask for it, they say, ‘we’ll put you on the list’ but there’s no people who have been seen for

     years.” He told me that the pressure from restrictive housing had built up and he felt he

     needed to go on suicide watch. Earlier, he said, “I started cutting myself” and showed me

     cuts all over both arms. “I was getting upset because of the way I was being treated. When

     I saw blood, it released my stress. But I also wanted to bleed out.” He reported suffering a

     variety of psychological symptoms, including massive headaches, troubled sleep, constant

     feelings of anxiety, ruminations, anger, depression, and thoughts of suicide. He reported




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     that the officers in X House often brutalize the prisoners and that, in fact, he had been

     chemically sprayed by them a few days prior, when he was on suicide watch.

              153.     The above paragraphs provide illustrative examples of the numerous

     complaints voiced, suffering described, and very serious psychological symptoms

     acknowledged by the sample of the Dixon prisoners whom I confidentially interviewed.

              154.     Menard Correctional Center. The Menard Correctional Center is the largest

     prison in Illinois. It is a maximum-security prison located in the southern part of the state

     that holds over 3000 prisoners, including approximately 280 of whom are in restrictive

     housing. Menard is an extremely old prison that first opened in the late 1870s. The

     buildings are large, and a number of them (or parts of them) appear to be in various states

     of disrepair. Overall, terrible physical conditions prevailed throughout the units that I

     toured. In addition to being worn and dilapidated, there was poor ventilation, and

     frequently filthy conditions.

              155.     Disciplinary segregation prisoners at Menard are housed in North House

     (North 1 and 2) and there is a small unit for prisoners in administrative detention, known

     as the North Annex. Prisoners in North House are housed in extremely small cells and are

     mostly double-celled; in fact, there is so little open floor space inside some of the cells that

     prisoners can hardly move around in them.139 A large number of mentally ill prisoners were

     housed throughout the restrictive housing units at the prison. They reported getting very

     little mental health monitoring or treatment, although some are getting opportunities to

     attend groups in open rooms where they are chained to benches in large caged pens.



     139
       Photographs illustrating the kind of restrictive housing cells in use in North House are contained in
     Exhibit 3, at 0349219, 0349220, 0349233, 0349923, and 0349224.



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     Although prisoners reported getting very little or no one-on-one therapy at Menard,

     individual treatment cages are interspersed throughout the restrictive housing units that I

     toured. There are also several individual treatment rooms near the group “cage.” While

     they appear to be configured for one-on-one counseling sessions, none were in use during

     the time that I was present, and I could not tell how often they were actually being used.140

              156.     As I began my tour of the prison, I spoke with two prisoners (

                                         ) who were out in one of the yards. They voiced a variety of

     complaints, including telling me that prisoners were being treated badly at the prison. They

     also said that the mixing of mentally ill and non-mentally ill prisoners in restrictive housing

     was causing problems for both groups (in part because of the former group’s acting out and

     also because mentally ill prisoners supposedly have access to group programming that the

     non-mentally ill do not). Both of them complained about the lack of meaningful out-of-cell

     time—just a few hours two days a week in a barren outdoor recreation “yard” like the one

     they were in. Both said that mental health staff come into the unit no more than once a

     week, and then only for quickly done “drive-bys.” Other prisoners also reported that the

     mental health staff do not more than these kind of perfunctory “drive-bys”141




     140
       Photographs of Menard’s treatment spaces are contained in Exhibit 3, at 0349248, 0349249, 034925,
     034252, 0349258, 0349260, 0349263, 0349267, 0349268.
     141
        “Drive-bys” is the derisive term that prisoners give to very brief, routinized cell-front encounters that
     occur when prison mental health staff members come through units, sometimes doing little more than
     announcing their presence (e.g., “mental health on the unit”) as they rush through, other times very briefly
     pausing at individual cell-fronts with perfunctory, superficial inquiries (e.g., “how are you doing? “any
     problems?”), ostensibly checking on a prisoner’s well-being. The cell-front nature of the contact requires
     mental health staff to converse with prisoner through the bars, doors, or windows of their cell, typically
     within earshot of other prisoners and correctional staff. Given the potentially sensitive nature of the
     information that might be exchanged, “drive bys” impede candor.



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                157.     Another prisoner (                            ) told me that he came into the Illinois

     prison system three years ago at age 19, and that he was now on the mental health caseload.

     He said that he had been in restrictive housing, on indeterminate status, for most of the

     three years he had been in prison. He told me that was worried that he would not be able

     to tolerate it much longer because “I’m breaking.” A prisoner (                                          ) told

     me that he had threatened to cut himself just the day before but that the prison staff ignored

     him. He showed me a long gash on his arm and said “I’m feeling hopeless.” Another

     prisoner (                            ) told me that it was “horrible” in the restrictive housing unit

     at Menard. He said he was beginning to hear voices again.

                158.     The first restrictive housing unit I saw was what I believe was referred to as

     North 2. It was filthy and dilapidated. 142 The cells themselves are extremely small and

     cramped, dank and dirty, with almost no place in them for prisoners to even stand. The

     suicide watch cells on the unit are dark inside and, because they are covered with thick

     glass that has a dirty film build-up on it, are almost impossible to see into from the outside

     (making it extremely difficult for someone “on watch” to actually be watched). 143This of

     course defeats the entire purpose of placing someone on crisis watch144 I spoke to one of

     the prisoners (                            ) in a crisis cell on the unit. He told me that he had been

     in the crisis cell for 24 days and that there are feces in the crisis cell walls. Despite being


     142
           A photograph looking down the crisis cell area of North 2 is contained in Exhibit 3, at 0349243.
     143
       Photographs of crisis cells in Menard’s North House are contained in Exhibit 3 at 0349242, 0349243,
     0349244, and 0349256.
     144
        A prisoner who has been placed “on watch” is, by definition, at high risk of self-harm and/or suicide.
     Obviously, prisoners are placed “on watch” to be watched—carefully monitored to make sure that they do
     not deteriorate further and, especially, that they do not harm themselves. “Watch cells” that are difficult if
     not impossible to see into defeat the very purpose of placing a prisoner in them and are extremely
     dangerous.



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     prescribed psychotropic medication and serious past suicidality, and being in a crisis cell,

     he complained that he was not getting adequate mental health care.

                159.     On 6 gallery, I spoke with another prisoner on suicide watch (

                                 ) who told me that he was seriously mentally ill, had been prescribed

     various psychotropic medications for his psychiatric condition, and had attempted suicide

     just the day before.

                160.     The cells in 6 Gallery (like all of the cells in North House) look out onto the

     unit floor, toward the building wall (whose windows are screened over), creating an

     extremely enclosed feeling. 145 There was a great deal of noise in the unit the day I toured,

     with prisoners screaming and doors banging. A prisoner in the unit (                                      )

     told me he had done approximately five years in restrictive housing, and feared for his life

     there – “they want to kill me back here.” In fact, he said that believes that the correctional

     staff has purposely put him in danger as retaliation for talking to the lawyers on this case

     several months ago. Another prisoner (                                    ) said he was designated as

     SMI, was on psychotropic medications, but nonetheless had been kept in some form of

     restrictive housing since 2001. He said he was told he would not get out of isolation until

     2030. One prisoner (                            ) on the unit was in particular distress. He told me

     that: “I can’t take it here. I keep asking for mental health but they ignore me [and] just tell

     me, you are on the waiting list… But I can’t take it. It’s overwhelming.”

                161.     On 4 Gallery, some of the cells were also extremely disheveled and filthy,

     indicative of a deteriorating mental state on the part of the prisoners housed in them, and

     some of the cell doors are covered over. A prisoner (                                      ) in the unit



     145
           Photographs looking down a North House Gallery are contained in Exhibit 3, at 0349221and 0349227.


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     told me that he was on the mental health caseload and was currently taking a variety of

     psychotropic medications for his psychiatric condition. Despite this, and despite having a

     history of prior suicide attempts, he complained that he was not getting adequate mental

     health care, suggesting that the mental health staff was sometimes more punitive than the

     correctional officers. He also said “I’ve been locked up 12 years and I’m losing it. I can’t

     be around people anymore. That’s why I’m worried.” On 2 Gallery, the cell doors are all

     solid and the feeling inside the cells is more closed-in. A prisoner (                                  )

     in a suicide watch cell said he had been prescribed psychotropic medications and wanted

     to be released from watch – “I can’t hardly breathe in here.” It was virtually impossible to

     see inside the cell as I conversed with him. Other prisoners (e.g.,                                     )

     complained about the lights and also said that it was impossible to hear people speaking at

     cell-front when the large fans were turned on to lower the temperature in the unit.

             162.     Next, I was shown the “high escape risk yards” which consisted of several

     cages looked over by an officer armed with a rifle. “E Yard” is larger, with one rusted and

     dirty metal table, a basketball hoop and ball, and a porta-potty. There were other nearby

     yards, also larger than the individual cages.146 Prisoners (e.g.,                                  ) who

     are designated “elevated security risk” are kept in leg shackles while they are out on the

     yard.

             163.     The “group treatment” area at Menard is in an air-conditioned part of the

     prison. The therapy appears to take place in cage-like setting, so that “group” consists of

     several prisoners at a time, who are either put in the cages or handcuffed to a wooden bench

     and allowed to converse with each other and a counselor. Several prisoners who were


     146
       Photographs of yards used by restrictive housing prisoners at Menard are contained in Exhibit 3, at
     0349272, 0349273, 0349276, 039279, 0349281, 034289, 0349290, and 0349303.


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     waiting in the cages told me that SMI prisoners could go to group several times a week,

     but that few of them did.

              164.     In the administrative detention unit, C Wing, the cells are also small and

     difficult to see into. 147 I spoke with a prisoner (                              ) who told me he was

     designated SMI, was taking psychotropic medication, and had been in restrictive housing

     for 13 months. He said that administrative detention prisoners used to have groups, but

     they were discontinued and are now available only to prisoners in disciplinary segregation.

     In B Wing, a prisoner (                               ) told me that he suffers from depression, but

     that he does not have access to groups because he is in administrative detention.

              165.     I also toured the portion of the Health Care Unit at Menard where a few

     prisoners are placed on watch. I spoke with a prisoner (                                     ) in a suicide

     watch cell in the health care unit. When I first looked into the cell, it was almost impossible

     to see inside to determine whether the cell was occupied, where the prisoner was, or what

     condition he was in. When he saw me at the door and got up, he told me that he suffers

     from serious, lifelong mental health problems, that he was currently on psychotropic

     medications, and that he had multiple suicide attempts and acts of self-mutilation. He said

     that he had been in the STU at Dixon earlier in the year, and that he had come here from

     there.

              166.     I conducted individual, confidential interviews at Menard with prisoners

     who were from different restrictive housing units at the prison. Many of them

     acknowledged having long and serious psychiatric histories. As with the prisoners I

     confidentially interviewed at the prisons I previously toured, all of the Menard prisoners


     147
       Photographs of the cells in the administrative detention unit at Menard are contained in Exhibit 3, at
     0349234, 0349235, 0349236


                                                         77
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     voiced complaints about their treatment and expressed deep concerns about their own well-

     being. Whether they were on the mental health caseload or not (and most were), they

     reported suffering from the extreme social isolation to which they were subjected, and

     acknowledged numerous symptoms of psychological trauma and the psychopathological

     effects associated with this kind of severe social and environmental deprivation.

            167.    For example, one prisoner (                          ) whom I confidentially

     interviewed told me that he had an extremely troubled and traumatic upbringing that

     resulted in serious mental health problems and hospitalizations as a child. He has been

     diagnosed as having bi-polar disorder with psychotic features, and been prescribed multiple

     psychotropic medications. He said that while housed in North House at Pontiac, he had

     been very close to being released from prison (with five months to go on his sentence)

     when he felt intolerably trapped in his restrictive housing cell and tried to escape, resulting

     in an additional 30-year prison sentence. He called North House at Pontiac, where he was

     housed at the time, “a madhouse” where urine and feces are being thrown all the time and

     “I couldn’t take it.” He was sent from Pontiac to Tamms and, when Tamms closed, to

     Menard. He told me that he has been in restrictive housing for ten years now (most of the

     time he has been in prison) and is “still struggling.” He described various forms of

     decompensation and deterioration as a result of his experiences in isolation, explaining “I

     cut myself really bad. I have bad depression, panic attacks, and anger problems.” He said

     he desperately needs a television, which was taken away from him years ago: “It is a

     window into the world. I walk around in my cell and act like I am talking to the characters”

     to feel better. He recounted placement in a number of facilities where he was supposed to

     receive treatment (Tamms, Pontiac, Dixon, and Menard), but has gotten little or none,




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     despite his severe problems. He acknowledged very serious symptoms of psychological

     trauma, including constantly feeling anxious and being on the verge of breaking down, as

     well as constantly experiencing almost all of the psychopathological symptoms that are

     associated with severe forms of isolated confinement, including depression and suicidality.

     He said: “I keep trying to kill myself, and they keep putting me back in my same seg cell.

     The whole cell has been made into a solid metal cell. The heat is overwhelming. It is

     supposed to be a watch cell but it is just unbearable.”

            168.    I confidentially interviewed another prisoner (                           ) at

     Menard who told me that his mental health problems started in childhood, and that he was

     placed in a psychiatric hospital before being incarcerated. He said that serious mental

     health problems run in his family and that he has been diagnosed as schizophrenic. He told

     me he had taken a number of different psychotropic medications over the years, and is

     currently prescribed several. He said that he has visual hallucinations (spirits) that

     sometimes tell him what to do and that he cuts himself to relieve the pain that builds up

     inside. Even so, he said, the mental health staff refuses to put him on watch and have

     refused to send him to a residential treatment unit. He reported that the mental health staff

     members at Menard are harsh and uncaring. He said that a mental health person comes by

     weekly, “comes by your cell, ‘are you okay?’ they don’t want to know—usually they

     ignore you no matter what you say.” He said that the stress builds up so much when he is

     in restrictive housing that he cuts himself or wants to die. He reported frequently feeling

     anxious, on the verge of breaking down, and that he very often suffered nearly all of the

     pathological symptoms of isolated confinement.




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              169.     Another Menard prisoner (                                             ) also recounted a

     serious psychiatric history that began in childhood, and included hospitalization, being

     diagnosed as bi-polar and schizophrenic, and shooting himself in a suicide attempt at age

     16. He is on the mental health caseload in the IDOC but is not getting meaningful treatment

     and said that he does not think it is possible to get it at Menard. He said it took eight months

     and several suicide attempts before he got any mental health attention, and then it consisted

     mostly of groups – but “the group isn’t really therapy. It’s just passing time. I’ve been in

     groups on the street, and they aren’t really professional here.” He said that his therapist told

     him “everybody hears voices, it’s a normal thing” and dismisses the seriousness of his

     problems, as do the correctional officers, who, he said, just throw away your request slips.

     He reported that he frequently experiences nearly all of the symptoms of stress-related

     psychological trauma and the psychopathological symptoms that are associated with

     isolation, including nearly constant feelings of anger, disordered thinking, and depression,

     as well as social withdrawal and often thinking about suicide (“if I was dead I wouldn’t be

     around anybody”).

              170.     I interviewed another Menard prisoner (                                          ), who told

     me that he had just come off suicide watch. He said that he was hospitalized for psychiatric

     problems starting at age 12, was placed on SSI because of his mental illness,148 and that he

     has been diagnosed with bi-polar disorder, PTSD, and schizophrenia. He believes that his

     mental illness became much worse in prison, largely as a result of being housed in

     restrictive housing, first at Pontiac and then, eventually, at Menard. His problems worsened


     148
        “SSI” or Supplemental Security Income is provided after an evaluation process by the Social Security
     Administration to determine the severity of an applicant’s disability or impairment. In cases where it is
     awarded on the basis of a psychiatric condition, it is indicative of serious, diagnosed mental illness that is
     disabling enough to preclude a person from financially providing adequately for him- or herself.


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     at Menard. He told me he “wanted to kill myself many times, [was] many times on watch,

     I swallowed pills, put staples in my eyelids” and had just come back from the hospital as a

     result of these things. Yet “nobody cares at Menard, they don’t care.” He said he does go

     to groups when they are offered (“the groups are just something to do, they aren’t really

     therapeutic”) and the one-on-one sessions he has last “for only 10 minutes and then they

     stop”). He said there is no programming and no school in restrictive housing, “you just sit.”

     He acknowledged constantly feeling anxious and on the verge of a breakdown, as well as

     suffering most of the psychopathological symptoms of isolation all the time, including

     anger, depression, and suicidality.

             171.     The above paragraphs provide illustrative examples of the numerous

     complaints voiced, suffering described, and very serious psychological symptoms

     acknowledged by the sample of the Menard prisoners whom I confidentially interviewed.

             172.     Lawrence Correctional Center. The Lawrence Correctional Center is a large

     medium-security prison that holds approximately 2000 prisoners, including nearly 100

     who are housed in administrative detention. It is a newer design that the other prisons I

     toured and inspected, having opened in 2001. The restrictive housing units were much

     cleaner overall and the watch cells were much more functional and clean than in the other

     IDOC facilities I had seen.

             173.     I first toured the visiting room at Lawrence. It is a very large and relatively

     modern (but very sterile room) used for the prisoners’ contact visits. Non-contact visits are

     held in smaller rooms off the main visiting room, where prisoners speak to their visitors by

     phone, separated from them by a glass partition. 149There are warning signs visible to all


     149
       Photographs of Lawrence’s non-contact visiting room are contained in Exhibit 3 at 0349405 and
     0349407.


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     that “all calls are subject to monitoring and recording!” From this area, I went out past the

     yard to the Infirmary, where suicide watch cells are located. In contrast to some of the other

     facilities, this was a reasonably well-lit area, and it was possible to see clearly inside the

     cells where suicidal prisoners were housed.150 A prisoner (                                    ) in one of

     the cells told me that he suffers from multiple psychiatric disorders from many traumas

     experienced over the course of his life. He had tried to take his own life four days earlier,

     after spending about two months in restrictive housing.

             174.     The building where the Lawrence restrictive housing units at Lawrence are

     located in a large, non-descript building with slotted fixtures on the windows that prevent

     prisoners from looking out of their cells. Inside, there are three separate wings or pods—A

     and B are disciplinary segregation and C is administrative detention.151 I was told that SMI

     prisoners are co-mingled in the disciplinary segregation units without the correctional staff

     knowing exactly who is, and who is not, on the mental health caseload. I entered one of the

     cells in B Wing, and observed that, because of the screen and partition on the door, it was

     difficult to see out of the cell. Many of the Lawrence prisoners with whom I spoke

     complained about the lack of access to meaningful mental health care. I did see a large,

     antiseptic room with benches along the wall and bolts on the floor to restrain prisoners’

     during group therapy, but it was unclear how often the room was actually used.152



     150
        A photograph of the interior and exterior of a Lawrence watch cell in the Health Care Unit is contained
     in Exhibit 3, at 03494243 and 0349424.
     151
        A photograph of the view looking into C Wing at Lawrence where restrictive housing prisoners are
     confined is contained in Exhibit 3, at 0349379 and 0349416.
     152
       A photograph of the group treatment space for restrictive housing prisoners at Lawrence is contained in
     Exhibit 3, at 0349373.




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            175.    A prisoner with whom I spoke (                            ) told me that he had

     an extensive mental health history that predated his time in prison. He complained of a lack

     of mental health attention (“unless you say you are going to kill yourself, they ignore you”),

     and said that his cell “is full of insects and spiders, and I’m being bitten.”

            176.    Among the other prisoners I spoke with cell-front, one (

             ) was especially distressed. He told me that he had previously been housed at

     Menard, where he became certain that an electronic device had been implanted in him that

     “gives me thoughts, gives me dreams, and can change my memories.” He cried as he told

     me that he was not getting any real help for his problems; instead “all they want to do is

     give me medication.”

            177.    Another prisoner (                         ) said he had been diagnosed with

     several very serious psychiatric conditions. He also told me that it was impossible to get

     meaningful mental health care at the prison, even if you are placed on suicide watch:

     “[T]hey don’t help you back here. [They] just try to get you off crisis by persuading you to

     get off.” Despite the severity of his problems, he said: “I haven’t been in a group for two

     years, since I got here. [I] don’t have any treatment—no one-on-one therapy [and] maybe

     one contact every month or two” from mental health.

            178.    I spoke to another prisoner (                          ) who told me much the

     same thing. He said he had suffered from mental health problems since he was two years-

     old, including multiple suicide attempts that he engaged in “because I am in pain and this

     is torture.” He said: “I ask for help and I can’t get any.” He went on to explain that mentally

     ill prisoners like himself “are unstable and of course we lash out, and then we pile up tickets

     and seg time that makes us worse.” He told me that he had become so desperate that he




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     was cutting himself and eating his own feces. Part of what was so difficult for him in

     restrictive housing, he said, was the idleness: “All I do all day is look at the walls and think

     about my fuck ups and feel hopeless and it makes me want to die.” As he put it, “there are

     no programs for us back here, so this is torture.”

             179.    In the administrative detention “yard” – which consists of long, thin pens or

     “dog runs” – I spoke with a group of prisoners who told me that they had virtually nothing

     to do in restrictive housing. One said “they have no program for us—just sit in your cell

     and read.” Another prisoner (                        ) told me he had been in administrative

     detention for five years, since 2013. A confidential informant supposedly said he was a

     gang leader, but he said that he has no other tickets. Another prisoner (

               ) said he was stabbed nine times at Menard and sent to Lawrence, where he was

     placed in isolation pending investigation and then put in administrative detention, where

     he has remained for two years. He told me: “I keep asking for mental health. I want to get

     the problems fixed before I need meds.”

             180.    In C Wing, I was told that there was one prisoner (                       ) who

     was eligible to come out to yard declined, so I went into the unit to speak with him. He told

     me that of the ten or more years he had been in prison, approximately nine years were spent

     in some form of restrictive housing. He told me that he never goes to yard “because there

     is nothing in it.” In fact, he said: “I’ve been in my cell around-the-clock for six months.”

     He also said that he stays in his cell to avoid getting any more tickets. In restrictive housing,

     “the anger builds up and you can blow.”

             181.    In 5B, which is the crisis unit for the entire prison at Lawrence (other than

     the couple of cells in the Health Care Unit), I spoke to a prisoner (                           )




                                                    84
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     who was on administrative detention status and had been on suicide watch for three weeks.

     He told me that he had a variety of serious psychiatric diagnoses that dated back to when

     he was on the streets, including bi-polar disorder and schizophrenia. He explained: “A

     normal person doesn’t play with their own feces, so I know I’m not normal.” He was very

     critical of the mental health care at Lawrence, saying that, despite his serious psychiatric

     history and the fact that he had prior mental hospitalizations, “they don’t do anything for

     you here.” One of the things that he believes deters him and others from participating in

     the little mental health care that is offered is the fact that the correctional officers are present

     during all of the sessions and “we don’t want to talk about anything sensitive” in front of

     them.

             182.    Even though Lawrence is a medium-security prison (in contrast to the

     maximum-security IDOC prisons where I previously toured and conducted interviews), the

     restrictive housing units appear to be run as maximum security units, no different than the

     restrictive housing units at Menard, Pontiac, and Stateville. The information I obtained

     from individual, confidential interviews I conducted at Lawrence was consistent with what

     I learned from the interviews at the other IDOC facilities. The prisoners at Lawrence

     acknowledged having long and serious psychiatric histories, voiced complaints about their

     treatment, and expressed deep concerns about their own well-being. Even those who were

     not on the mental health caseload reported suffering from the extreme social isolation to

     which they were subjected, and acknowledged numerous symptoms of psychological

     trauma and the psychopathological effects associated with this kind of severe social and

     environmental deprivation.




                                                     85
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            183.    For example, one prisoner (                          ) told me that he had

     psychiatric problems that dated back to childhood, and that they had intensified in prison.

     He said he had spent time at Tamms and that he was very much affected by it: “I freaked

     out whenever I was around people.” But when he told staff, “I’m terrible, depressed,” they

     would just “move on, same as here.” He said that he did not want to take psychotropic

     medication and, when he told the mental health staff that, instead, “I need human

     interaction,” she said, “we can’t help you with that.” He complained that the Rasho

     settlement only applies to prisoners on psychotropic medication, and that “as long as you

     are not throwing shit and cutting yourself, you are fine.” But he acknowledged that he was

     not fine. In fact, he said, the eight hours of out-of-cell time to which he was limited was

     getting to him. He feels anxious very often, is irritable and ruminates and has a hard time

     concentrating and feels depressed all the time. He also has come to self-isolate: “It’s more

     normal to be alone. Even in the yard, I walk away from people. I can get a little hug from

     [my] family but I’m uncomfortable with the touch. It feels unnatural, even with my dad.”

            184.    One Lawrence prisoner (                            ) whom I confidentially

     interviewed was escorted to me by staff who had him on a dog-leash type restraint behind

     his back; he was kept in restraints throughout the interview, despite my request that the

     restraints be taken off. He complained that he suffers from a host of mental health problems

     but that, despite making numerous requests for help, “I have gotten nothing. It appears they

     don’t even document my requests or the psych problems or complaints I have voiced.”

     Even though he acknowledged having serious mental health issues of his own, he expressed

     concerns about living in such close proximity to other very seriously mentally prisoners:

     “We live among the mentally ill. They are out of control. Noise, filth, trauma, we were in




                                                 86
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     the same yards with them. Feces, blood, urine in the cages. Stress all the time, even in the

     yards.” He said that, despite repeated requests for help with his psychological problems,

     “I’ve gotten no mental treatment since I’ve been in seg. I don’t know who I am or who I

     am able to be around, in case I ever get out, given what I have been through.” He said he

     has pictures of his family displayed around his cell that he talks to, as if they were really

     there. He acknowledged being stressed and anxious all the time, constantly ruminating,

     being angry, and feeling that he was deteriorating overall as a result of his time in restrictive

     housing.

              185.     Logan Correctional Center. Logan Correctional Center is the largest

     women’s prison in the state, holding approximately 1700 women prisoners, including 65

     cells that are used for restrictive housing. The prison is newer than the very oldest IDOC

     prisons that I toured but still somewhat dated in design, having opened in the late 1970s.

     The buildings are smaller than at most of the other facilities I toured and the housing units

     are somewhat cleaner, especially in comparison to Pontiac and Menard.153

              186.     Building 41 contains the suicide watch cells and also some treatment areas.

     The one “group room” I saw was in use at the time I toured, consisted of a large “tether

     table” with about eight stations where women could be handcuffed or tethered, so that they

     could not freely move.154 The “group” I observed consisted of the prisoners sitting with an

     officer and watching a Hallmark television show. I went next to the medical building,

     where some restrictive housing prisoners are also kept. I was told that an effort was made



     153
        For example, a photograph of Building 41 at Logan, which houses watch cells and treatment space, is
     contained in Exhibit 3, at 135067.
     154
       A photograph of one of the tether tables used for group therapy at Logan is contained in Exhibit 3, at
     135047.



                                                         87
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     to house prisoners with a history of self-harm here, closer to medical care. The unit was

     clean and hospital-like. As I went from the medical building to the building where most

     restrictive housing prisoners are housed—Building 15—I passed the segregation yards.

     They consisted on long, fenced-in, grassy pens with nothing in them but a couple of plastic

     chairs.155

              187.     In C Wing in Building 15, there are 65 restrictive housing cells, 43 of which

     were in use the day I was there.156 The cells are relatively small, have solid doors with a

     window that looks out to the unit floor, and a barred window in the back of the cell.157

     Although the unit floors were relatively clean and well maintained, the showers used by

     restrictive housing prisoners were not.158 In addition, there are three treatment rooms on

     the unit, one for individual contact and two that can be used for groups. The “group rooms”

     were fitted with metal desks in which prisoners were restrained during the group

     sessions.159 None of them were in use the day I was there.

              188.     I was told by staff that prisoners are supposed to move through three

     “phases” in this unit. The stated goals for the phases (written in large letters on the wall)

     are “reflect” for Phase I, “inspire” for Phase II, and “motivate” for Phase III. I was unable



     155
       A photograph of the outdoor yards for restrictive housing prisoners at Logan is contained in Exhibit 3, at
     135021.
     156
       Photograph of the interior of the upper and lower tiers of the Building 15 restrictive housing unit at
     Logan are contained in Exhibit 3, at 135116, 135109, and 135112.
     157
       Photograph of some of the restrictive housing cells in Building 15 at Logan is contained in Exhibit 3, at
     135022, 135023, 135026, 135027.
     158
        A photograph of the exterior of the showers used by restrictive housing prisoners at Logan is contained
     in Exhibit 3, at 135153.
     159
        A photograph of the metal desks in which prisoners are restrained during group therapy at Logan is
     contained in Exhibit 3, at 135047.



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     to determine how these goals were achieved or when staff knew it was time to move a

     prisoner to the next phase. Prisoners seemed uncertain about whether the phase program

     was actually in operation or how it was supposed to work.

             189.     The visiting area for general population prisoner at Logan is a relatively

     pleasant, open area with vending machines, tables, and chairs. In contrast, restrictive

     housing prisoners at Logan are limited to only non-contact visits that are conducted in a

     special cubicle and through a glass partition.160

             190.     It was approximately 10 AM when I toured the restrictive housing unit in

     Building 15, and most women were asleep. One prisoner (                                         ) told me

     that she was on the mental health caseload and was taking psychotropic medications for

     her mental illness, but was not given access to any mental health groups. In fact, she said,

     despite her PTSD and anxiety disorder diagnoses, the only mental health treatment she got

     was medication and a “telepsych” session once a month. She complained that not only is

     there “nothing to do” on the unit, and no real property that she has access to (“no TV,

     music, etc.”), the correctional officers “act like they don’t care, so girls go to crisis watch.

     Sometimes I’ve called ‘crisis’ and they just ignore you.”

             191.     Another prisoner (                                  ) told me that the unit was

     “horrible,” and said that she and the other women were neglected there. In fact, she

     explained, that there was no real “phases” program—it was just something that was being

     talked about and promised to the prisoners (to the point of putting signs about individual

     phase themes on the unit walls), but nothing had actually been implemented yet.




     160
       The contrast between the visiting environment for general population and restrictive housing prisoners at
     Logan is illustrated in photographs contained in Exhibit 3, at 135029 and 135033.


                                                         89
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             192.     One prisoner (                         ) in the unit was sitting on her bunk,

     shivering, with a blanket wrapped around her, when I came to her cell door. She told me

     “they don’t care, we have to beg for everything.” She said that she “hates” the groups,

     which are now offered every other day, because “they handcuff us to the dayroom table.”

     She said that the women in the unit are allowed out of their cells only eight hours a week

     and that even when they go to yard “we just sit on chairs.” Otherwise, she said, “we are in

     our cells with nothing to do.”

             193.     Another prisoner (                          ) explained that she was SMI and on

     psychotropic medications. When I approached her cell, I saw that there was a filthy

     mattress on the floor outside the cell door. She explained that it was so dirty that she was

     refusing to allow it to be placed in her cell. While talking with                    , I was told that

     there was another prisoner (                               ) who had been in restrictive housing

     continuously for five years.

             194.     In the individual, confidential interviews that I conducted at Logan, women

     prisoners reported that the harsh conditions and extreme deprivations I observed there were

     having significantly adverse effects on them, similar to those that were reported to me by

     other prisoners at different facilities. Literally all of the women prisoners at Logan

     recounted extensive psychiatric histories that predated their incarceration. Many voiced

     concerns that their serious mental health problems were exacerbated by the time that they

     served in restrictive housing. Those who were currently housed in isolation and the two

     who were no longer in the unit161 spoke at length about the painfulness of the isolation to

     which they were subjected, and acknowledged numerous symptoms of psychological


     161
        One of the Logan interviewees had recently been released into general population and another, who was
     pregnant, was being housed in the medical unit at the time I interviewed her.


                                                       90
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     trauma and the psychopathological effects associated with this kind of severe social and

     environmental deprivation.

            195.    A prisoner who reported having an especially tragic life history (

                         ), had been moved to general population at Logan at the time I

     interviewed her. She told me that she had lived in some 32 foster care placements as a child

     and adolescent, had been physically and sexually abused, and suffered serious psychiatric

     problems that led to her being civilly committed before she was incarcerated. She told me

     that she had spent a very long time in restrictive housing at Logan—most of the five years

     that she had spent in prison—and that the experience was truly traumatizing. She felt that

     it greatly exacerbated her already significant, pre-existing mental health problems. She

     said, “In seg, I begged for human contact. It changed me, it took me and twisted and burned

     me inside.” She showed me gruesome scars all over her body from where she had mutilated

     herself. She told me that these multiple acts of self-mutilation were largely the result of her

     time in restrictive housing: “Before prison, [I had] only a few cuts on my body. But in seg,

     that’s all I thought about, and I cut myself over and over. I swallowed razor blades, hung

     myself from light fixtures in seg, and swallowed light bulbs.”

            196.    Another Logan prisoner (                         ), was brought to me from a

     suicide watch cell. She told me that she, too, suffered from psychiatric problems before

     coming to prison and had tried to take her own life on multiple occasions. She was now

     diagnosed as suffering from schizoaffective disorder and had been prescribed a number of

     psychotropic medications in prison. Despite these well-documented mental health

     problems, she said that she had spent about a third of her nine years in prison in restrictive

     housing. She reported frequently suffering from nearly all of the symptoms of




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     psychological trauma and the psychopathological reactions to isolation, including

     ruminations, depression, and thoughts of suicide as well as visually hallucinating spiders

     on her arms and blood on her cell walls.

            197.    One Logan prisoner (                       ) whom I interviewed was in the

     medical unit. She explained to me that she was pregnant and was being kept there until the

     prison doctors induced her labor, which she said was due to occur in about a month. She

     recounted a terribly troubled life that included severe physical abuse and prior mental

     hospitalizations. Although she had only a short prison sentence to serve, and despite being

     a pregnant woman with a long psychiatric history, she had been housed in restrictive

     housing and deteriorated as a result. She told me that she was in such deep depression and

     despair in isolation that she had tried to hang herself twice in just the last several months

     (including one time in which she lost consciousness). She said that she had been told that

     after she gave birth she would be promptly returned to restrictive housing to serve the rest

     of her sentence.

            198.    The above paragraphs provide illustrative examples of the numerous

     complaints voiced, suffering described, and very serious psychological symptoms

     acknowledged by the sample of the Logan prisoners whom I confidentially interviewed.

            199.    In summary, the tours and inspections and cell-front and confidential

     interviews that I conducted collectively revealed very serious problems in IDOC restrictive

     housing units. The problems are widespread and shocking and place the well-being of all

     of the prisoners exposed to them at significant risk of serious harm. The degraded

     conditions of confinement, extreme social isolation, severe forms of material and other




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     deprivations, and other severely restrictive practices and procedures in the IDOC facilities

     that I toured represent nothing short of a system-wide crisis.

             200.    All of the IDOC restrictive housing units I inspected were extremely similar

     to one another in the numerous ways I have described above. They are uniform in policy

     and practice, and they all appear capable of having truly harmful—even devastating and

     fatal—impacts on the prisoners housed in them. Although the facilities vary somewhat in

     terms of their age and level of deterioration and disrepair, all of the restrictive housing units

     operate in essentially the same way and subject prisoners to essentially the same draconian

     levels of isolation, idleness, and deprivation.

             201.    Virtually all of the prisoners with whom I spoke – cell-front and on an

     individual, confidential basis – reported that they were suffering and deteriorating as a

     result of these conditions and the way they were being treated. The prisoners whom I

     confidentially interviewed all acknowledged experiencing a range of very serious

     symptoms—indices of psychological trauma that are associated with severe forms of

     isolated confinement. These prisoners are all at significant risk of serious psychological

     harm. Indeed, most of them could point to harm that they had already experienced in the

     course of their extreme isolation and severe deprivation that, in many instances, included

     incidents of self-harm and suicide attempts. Many voiced concerns over whether their

     impaired and deteriorated mental health would ever improve, if and when they were

     released from restrictive housing.

             202.    The shockingly high number of prisoners who are on the IDOC’s mental

     health caseload and nonetheless housed in these draconian units is frankly unconscionable.

     For reasons I have previously stated, mentally ill prisoners are more vulnerable to the




                                                    93
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     painfulness and harmfulness of isolated confinement. Numerous courts, human rights

     organizations, and even many correctional organizations that have considered the question

     have prohibited the placement of mentally ill prisoners in solitary confinement outright.

     The IDOC restrictive housing units that I saw were more draconian than most and the

     mentally ill prisoners who are confined in them are predictably being harmed as a result.

              203.     I should also note that the placement of seriously mentally ill prisoners in

     restrictive housing is not only harmful to them, but also increases the risks and harmfulness

     of isolated confinement for other prisoners (and to staff) as well. Out-of-control mentally

     ill prisoners whose conditions often worsen in this kind of confinement may become

     assaultive to staff and other prisoners, may engage in loud and otherwise noxious behavior

     (e.g., smearing themselves in feces), and precipitate forceful interventions (e.g., the use of

     chemical agents) that adversely affect the well-being of everyone in the housing unit.

                       D.        Prisoner File Review and Individual Cases

              204.     My review of the prisoners’ institutional files,162 including those of named

     plaintiffs and non-named plaintiff prisoners and included the files of individuals with

     whom I spoke as well as individuals whom I had not previously met. The file reviews added

     even greater weight to the consistent set of complaints that prisoners repeatedly voiced

     during my cell-front and confidential interviews at each of the six facilities that I toured.

     The file reviews also documented the plights of prisoners with long histories of very serious

     mental illnesses, some of whom had multiple instances of suicidality or extreme acting out.

     The prisoners were nonetheless kept in—or routinely returned to—restrictive housing



     162
        See Exhibit 2 for a list of all prisoner files reviewed. These files included both the prisoner’s disciplinary
     records and their medical and mental health treatment records.



                                                           94
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     units, where they were once again placed at an especially significant risk of serious

     psychological harm. In a number of cases, the prisoners’ repeated pleas to mental health

     staff to the effect that they were being harmed by—and decompensating in response to—

     the severe of the conditions to which they were subjected were duly noted, but to no avail.

            205.    The prisoner master files were replete with corroboration of what prisoners

     had told me when I interviewed them, as well as additional information that underscored

     the nature of their complaints, their adverse reactions to the harsh conditions and extreme

     deprivations to which they were being exposed in restrictive housing, the apparent

     indifference of staff to their suffering, and the callous practices to which they were

     subjected in isolation. Below I summarize just a sample of the file reviews that provide

     evidence of these widespread and serious problems.

            206.    For example,                                is a Logan prisoner whom I did not

     confidentially interview but whose records I reviewed. She was in restrictive housing

                                                                                        . She



                     .163

            207.                               the pregnant woman whom I interviewed in the

     medical unit at Logan,
                              164
                                    She repeatedly told staff

                        . For example, it was noted in her file that she




     163
                                           .
     164
                                                    .



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                                                                  165
                                                                           Yet she was retained in restrictive housing.

     In fact,



                           166
                                 —                                     .

                    208.         Another Logan prisoner,                                            whom I did not

     personally interview, but whose master file I reviewed,




                                                                                  167




                                       168
                                             ;




                                                                                                                    169




                                                     . In fact,



     165
           Id. at
     166
           Id. at
     167
                                                 .
     168
           Id. at
     169
           Id. at



                                                                  96
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                                                                                      170



                    209.   I also reviewed the records of an inmate who is now housed in restrictive

     housing in Pontiac,                                 I first encountered            in a crisis cell

     during my tour of the Dixon Correctional Institution and personally interviewed him there.

     [See paragraphs 144 and 152 infra.]                     records indicated that




                                                    . For example,



                                                                                                .171

                                                                                      , 172

                                                                                              .173

                                             ,174

                                  ,175                                                 ,176


     170
           Id. at
     171

                                         .
     172
           Id. at
     173
           Id. at
     174
           Id. at                 .
     175
           Id. at
     176
           Id. at


                                                       97
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                    was aware that he was being adversely affected by his time in restrictive housing.

     For example,

                                                                     ”178




                                                179



                     210.   I reviewed the records of                                     who was at

     Menard when I confidentially interviewed him.
                                  180




                      181



                                                        . 182

                                                                                   .183

                                                                                 .184


     177
           Id. at             .
     178
           Id. at
     179
           Id.                              .
     180


     181
           Id. at
     182
           Id. at
     183
           Id. at
     184
           Id. at                       .



                                                        98
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               .185

                    211.   I reviewed the records of                           a prisoner whom I

     confidentially interviewed at Lawrence.                   was placed in restrictive housing in

                            . His records reflect that he has experienced many problems there. They

     also reflect that he has vocalized some of the ways that he has been adversely affected and

     expressed a need and desire for treatment. For example,

                                                  .186



                            .187



                    .188

                                   .189

                    212.   A Dixon prisoner whose records I reviewed,                      was not

     someone whom I personally encountered or interviewed at the facility.                   had a

     significant psychiatric history that should have precluded his placement in restrictive

     housing. According to his mental health records,



     185
           Id. at
     186
                                          .
     187
           Id. at
     188
           Id. at
     189
           Id. at



                                                         99
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                                                                        .190




                                            . 191 Less than a month later,



                                                                .192

                                                                                    .193



               .194



                                     .195




                                                                             .196

                    213.   Although he was not someone whom I confidentially interviewed at

     Lawrence, I reviewed the records


     190
                                                                               .
     191
           Id. at
     192
           Id. at
     193
           Id. at                .
     194
           Id. at
     195
           Id. at
     196
           Id. at



                                                          100
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                                                                       . 197



             .198



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                              . 200



                    201



                    214.   Another Dixon prisoner whose files I reviewed,

                                                      .202



                                                                               . 203




     197
                                              .
     198
           Id. at
     199
           Id. at
     200
           Id. at
     201
           Id. at
     202
                                        .
     203
           Id. at



                                                     101
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                                                     .204

                                                  .205

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                           . 207

                                                                             .208

                    215.       I also reviewed the files of Dixon prisoner




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                                                                         .

                                                            , 210                         . 211



                       .




     204
           Id. at                     .
     205
           Id. at
     206
           Id. at
     207
           Id. at
     208
           Id. at
     209
                                              .
     210
           Id. at
     211
           Id. at



                                                              102
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                    216.         Although I did not confidentially interview him, I reviewed the records of

     Menard prisoner

                                                                                         .212



                           213




                                                                      .214

                    217.         Finally, I reviewed the file of Big Muddy River prisoner

                       a prisoner whom I did not confidentially interview. His file contained an entry

     that was both accurate and revealing.



                                            ”215

                    218.         Consistent with my own direct observations, the cell-front contacts that I

     had with prisoners in the various facilities I toured, and the confidential interviews that I

     conducted, this brief summary of a sample of the larger number of IDOC prisoner files that

     I reviewed provides further evidence that numerous, very seriously mentally ill prisoners

     are not only housed throughout the IDOC but they are also retained for long periods of


     212
                                                       .
     213
           Id. at
     214
           Id. at
     215
                                                   .




                                                            103
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     time in draconian restrictive housing units. They often deteriorate and engage in acts of

     suicidality and self-harm. Rather than receiving meaningful treatment under conditions

     where their mental health is likely to improve, or being exempted from further confinement

     inside harsh and debilitating restrictive housing units, they are cycled back and forth from

     crisis watch cells to segregation, where their mental health and well-being are placed at

     grave risk of even further harm.

            VII.    Longstanding Awareness of the Significant Risk of Serious Harm to
                    IDOC Prisoners in Restrictive Housing

            219.    The IDOC restrictive housing units that I toured and inspected and in which

     I conducted cell-front and confidential interviews clearly constitute what is meant in

     correctional practice and in the scientific literature as “solitary confinement.” The IDOC

     prisoners who are housed in these units are thus being subjected to what has been long-

     considered a very dangerous form of isolation. This means that the research I discussed in

     the preceding section of this Declaration about the significant risk of serious psychological

     harm not only is directly applicable to these IDOC units, but that IDOC officials knew

     about the dangerous conditions to which they were subjecting the prisoners under their

     supervision and control, or willfully failed to review the relevant literature or even the

     medical records of their own prisoners.

            220.    In fact, officials in the IDOC have been made directly aware of these

     deficiencies on multiple occasions, beginning years ago and continuing into the year in

     which I conducted my tours and inspections of the facilities discussed in this Declaration.

     Thus, nearly a decade ago, system-wide analyses – invited by and paid for by the IDOC

     itself – were conducted by groups of respected outside experts who have carefully

     examined the conditions of confinement in the IDOC, including its treatment of prisoners



                                                 104
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     in restrictive housing. Those experts made many of the very same observations and reached

     many of the very same conclusions that I have in this Declaration about the dire state of

     the IDOC’s restrictive housing units. They shared these observations and conclusions

     directly with IDOC officials and made sweeping recommendations to them about the dire

     nature of these widespread problems and the urgency of addressing them. Yet these

     egregious conditions and practices persist.

              221.     For example, highly respected prison legal scholar Fred Cohen was hired to

     conduct a system-wide review of the IDOC’s treatment of its mentally ill prisoners in 2011.

     He assembled a well-known team of experts who reached damning conclusions about the

     IDOC in general and restrictive housing in particular. In October, 2011, Cohen briefed

     IDOC officials on his highly critical preliminary findings, and he and his team filed their

     final report a short time later, in March, 2012. Although the report itself was embargoed to

     the public,216 Cohen nonetheless “provided a properly bleak, interim report to counsel [for

     the IDOC] and Illinois officials…” Here is how Cohen recently characterized his team’s

     findings: “I found… the suffering of the inmates was extensive and palpable… [S]uicide

     and isolation protocols were designed to humiliate the bewildered and isolated inmates into

     stating, ‘All better now, please let me out!’ Segregation – solitary confinement – for the

     mentally ill was, in my view, inflicted as a form of torture and unconstitutional on its

     face.”217




     216
         I obtained a copy of the report by consent of the parties during my work as an expert for the plaintiffs in
     the Rasho case.
     217
       Fred Cohen, Illinois and Rasho v. Walker: A Permanent Injunction Issues, Correctional Mental Health
     Report, July/August, 19-20, 24-27 (2019), p. 19.



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                222.    During approximately the same time period, a study of restrictive housing

     conditions, practices, and procedures was commissioned by the IDOC. A team of

     researchers from the Vera Institute of Justice, led by nationally known corrections expert

     Dr. James Austin, was tasked with conducting the study and reporting recommendations

     to the IDOC.218 In fact, the Vera team did report their findings directly to the IDOC.219 The

     researchers found that the Illinois prison system’s use of restrictive housing was based on

     a punishment rather than rehabilitation-focused framework that was intended to “deter”

     prisoner misconduct.220 In order to do this, the IDOC restrictive housing units subjected

     prisoners to “degraded” conditions of confinement that the Vera team judged to be “not

     acceptable with respect to recreation, showers, mental health treatment, or contacts with

     clinical-services staff and are not in line with best or standard practices in other systems.”221

                223.    Among other things, Vera also found that the IDOC practices and

     procedures by which prisoners were placed in restrictive housing and the lengths of time

     they remained there resulted in placements whose nature and duration were not


     218
           See 010946 “IDOC Segregation Study Major Findings” (1 page, undated).
     219
        At least one such briefing took place on August 23, 2011, and was attended by high ranking officials of
     the IDOC, including then IDOC Director Godinez. See 010975-010978 “Vera-IDOC Meeting Segregation
     Project” (August 23, 2011), 1-4.
     220
        There is no evidence that this “deterrence” model is effective in reducing individual infractions (“specific
     deterrence”) or systemwide levels of infractions (“general deterrence”). In fact, research suggests either that
     it has no effect on problematic prisoner behavior or, in fact, may be counterproductive (i.e., increase
     subsequent problematic behavior). For example, see: Briggs C, Sundt J, Castellano, T., The effect of
     supermax security prisons on aggregate levels of institutional violence. Criminology, 41, 1341-1376 2003;
     Colvin M., The penitentiary in crisis: From accommodation to riot in New Mexico. Albany, NY: State
     University of New York Press (1992); Morris, R., Exploring the effect of exposure to short-term solitary
     confinement among violent prison inmates. Journal of Quantitative Criminology, 32, 1-22 (2016); Reiter, K.,
     Parole, snitch, or die: California’s supermax prisons and prisoners, 1997-2007. Punishment & Society, 14,
     530-563 (2012); Shalev, S., Supermax: Controlling risk through solitary confinement. Cullompton, UK:
     Willan Publishing (2009); and Sundt, J., Castellano, T., & Briggs, C., The sociopolitical context of prison
     violence and its effect in Illinois. Prison Journal, 88, 94-122 (2008).
     221
           See 010946 “IDOC Segregation Study Major Findings” (1 page, undated).



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     proportionate to the past and present negative behavior of the prisoners who subjected to

     them.222 They found that the IDOC’s restrictive housing population could be significantly

     reduced in scale without appreciable increases in disciplinary infractions, and

     recommended that prison officials take steps to do so.

                224.    All of these events occurred well in advance of the tours and inspections

     that I conducted in July and September 2018. In December 2017 and February and March,

     2018, also before the tours and inspections I conducted, evidentiary hearings were held in

     the Rasho v. Walker case on a motion to enforce the settlement agreement. District Judge

     Mihm issued his opinion on this issue on May 5, 2018. There was extensive evidence

     presented at the hearings and relied on by Judge Mihm in his opinion that foreshadowed

     many of the observations made and conclusions reached in this Declaration about the

     significant risk of serious harm IDOC prisoners were subjected to in restrictive housing (or

     what is referred to as “segregation” in the Rasho proceedings).

                225.    For example, on the basis of the evidence presented in the Rasho hearings,

     the court found that the IDOC was failing provide mentally ill prisoners with

     constitutionally adequate mental health care in segregation (and elsewhere in the system)

     that placed them at risk of irreparable harm.223 Dr. Melvin Hinton, the IDOC’s Chief of

     Mental Health Services and Addiction Recovery Services, testified in the hearings that

     “there is nothing that is a good thing about being in segregation” in the IDOC, and agreed



     222
           See 010946 “IDOC Segregation Study Major Findings” (1 page undated).
     223
        Rasho v. Walker, 2018 WL 2392847 (C.D. Ill. 2018), p. 6. The court wrote further that “[t]he failure to
     properly treat these inmates – particularly those in segregation - is making them worse ‘across the board’
     according to Dr. Hinton.” At p. 7. The court further found that the treatment plans “requirements related to
     inmates who in segregation are simply not being met” (p. 14) and the IDOC was in “non-compliance with
     the out-of-cell time required for mentally ill inmates placed in segregation” (p. 14).



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     that the mentally ill prisoners in their restricted housing were “not getting the right kind of

     psychiatric care.” As a result of this deficient care, he acknowledged that the prisoners’

     mental health conditions would worsen “across the board.”224

                226.     Dr. Pablo Stewart, who serves as the court-appointed monitor in the Rasho

     settlement, also testified at the hearing and was quoted in the Rasho opinion to the effect

     that the IDOC’s failure to provide proper mental health care in segregation was resulting

     in “psychiatric decompensation,” that is, “[p]eople are getting worse in segregation.”225

                227.     On the basis of the evidence presented, the judge ruled that the plight of

     prisoners in segregation units, who spent “sometimes staggering” amounts of time there,

     was “an emergency situation,” one that was “extremely dangerous.”226 In light of the fact

     that IDOC officials “have been aware of these deficiencies” in segregation “for an

     unreasonable period of time,” he found that their “failure to adequately address these

     deficiencies amounts to deliberate indifference.”227 Yet, despite the evidence presented and

     the court’s unequivocal notice to IDOC officials, the extremely dangerous emergency

     situation in the restrictive housing units persisted and was apparent at the time I toured and

     inspected them many months later.

                228.     In October, 2018 then Acting Director Baldwin acknowledged in his sworn

     deposition testimony that there is no cap or limit on the amount of time prisoners can spend




     224
           Rasho v. Walker, 2018 WL 2392847 (C.D. Ill. 2018), p. 7-8.
     225
           Rasho v. Walker, 2018 WL 2392847 (C.D. Ill. 2018), p. 15.
     226
           Rasho v. Walker, 2018 WL 2392847 (C.D. Ill. 2018), p. 15.
     227
           Rasho v. Walker, 2018 WL 2392847 (C.D. Ill. 2018), p. 15.



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     in segregation or be cycled back and forth between administrative and disciplinary

     segregation.228

                229.     In depositions given in the present case, IDOC officials expressed varying

     degrees of direct knowledge of the significant risk of serious harm to which prisoners in

     restrictive housing were being subjected. For example, former IDOC Deputy Chief and

     Chief of Operations Atchison (who was in that position from 2013 until he retired in 2017),

     testified that the Vera-inspired changes that he had been involved in trying to make at

     Menard and perhaps elsewhere in the IDOC were discontinued, not because they were not

     working or necessary, but rather because: “a lot of other things came in front of us. Our

     population exploded. Tamms was closing. We had fewer beds and more inmates, and I

     think it was the crisis mode…”229 He expressed awareness of the harmfulness of isolated

     confinement, especially under cramped conditions, acknowledging that even beyond the

     negative consequences incurred by the prison experience itself, “going to segregation has

     negative consequences” and, “[i]f it’s a small cell, absolutely.”230 Yet he was aware that

     many prisoners in restrictive housing were double-celled in Menard, in cells are less than

     50 square feet in dimension, and that these conditions could be harmful to them.231

                230.     Also in deposition testimony in the present case, then Acting Director

     Baldwin testified that he believed that the ASCA/Liman reports on restrictive housing



     228
           Deposition of John Baldwin, p. 66-67.
     229
           Deposition of Michael Atchison, October 22, 2018, p. 24.
     230
           Atchison Deposition, p. 103.
     231
        Atchison Deposition, p. 102. And: “So negative consequences is a very – is something that could apply to
     a lot of things. But detrimental, I think in certain unique situations, I think they could be detrimental.” At p.
     103-104.



                                                           109
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     (which the IDOC contributed data to) were “authoritative.”232 He said later in his testimony

     that he “liked the Liman Report,”233 and later still that “I think the Liman is a much better

     corrections document than anything I’ve seen about restrictive housing.”234 However, here

     is what the 2015 ASCA/Liman Report had to say about the use of restrictive housing:

                         [D]ozens of initiatives are underway to reduce the degree
                         and duration of isolation or to ban it outright, and to develop
                         alternatives to protect the safety and well-being of the people
                         living and working in prisons. The harms of such
                         confinement for prisoners, staff, and the communities to
                         which prisoners return upon release are more than
                         well-documented. In some jurisdictions, isolated
                         confinement has been limited or abolished for especially
                         vulnerable groups (the mentally ill, juveniles, and pregnant
                         women), and across the country, correctional directors are
                         working on system-wide reforms for all prisoners.235

                231.     In my opinion, then Acting Director Baldwin and current Acting Director

     Rob Jeffreys oversee an IDOC whose restrictive housing units clearly violate the spirit of

     the ASCA/Liman recommendations that Baldwin acknowledged being aware of and

     appeared to endorse. Mr. Baldwin also testified that he was aware of “quite a bit of

     correctional literature out there citing potential serious consequences to the mental health

     and physical health of someone who is detained on more or less an indeterminate basis in

     isolation, in restrictive housing.” 236 Yet, despite this awareness, then Acting Director

     Baldwin and current Acting Director Rob Jeffreys operate and oversee an IDOC whose



     232
           Deposition of John Baldwin, October 17, 2018, p. 23.
     233
           Baldwin Deposition, p. 190.
     234
           Baldwin Deposition, p. 209.
     235
       Liman Program Yale Law School & Association of State Correctional Administrators, Time In Cell:
     ASCA-Liman 2014 National Survey of Administrative Segregation in Prison (August, 2015), p. 7.
     236
           Baldwin Deposition, p. 88.



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     restrictive housing units continue to inflict precisely the kind of “serious consequences” on

     Illinois prisoners that the correctional literature indicates that severe isolation incurs.

             VIII. Conclusion

             232.    As I noted at length above, there is a robust scientific literature that

     establishes the adverse psychological effects of solitary confinement/restrictive housing

     and the significant risk of serious harm that it represents for all prisoners who are subjected

     to it. The IDOC restrictive housing units are similar if not identical to the type of isolated

     confinement to which this literature refers. Those units thus expose Illinois prisoners who

     are housed in them to significant risk of serious harm.

             233.    I reach this conclusion based on my own observations of the units

     themselves, my interviews with staff and with prisoners housed in the units, and my review

     of IDOC documents containing policies, procedures, and directives, as well as the

     numerous individual prisoner files that I examined.

             234.    It is my opinion that these conditions of extreme social isolation and social

     deprivation are similar if not identical to those I have seen and studied in other correctional

     institutions. These harsh, severe conditions of confinement are precisely the kind that

     create a significant risk of serious harm for all the prisoners who are subjected to them.

     And, as I noted earlier, a large and stable number of IDOC prisoners are being subjected

     to these kinds of conditions, some for very long durations.

             235.    In addition, as I have repeatedly noted in the above paragraphs, an

     extraordinarily high percentage of persons housed in one or another IDOC restrictive

     housing unit are mentally ill. Many have long psychiatric histories that date to early

     childhood. The have been diagnosed with very serious psychiatric conditions by IDOC

     mental health staff and prescribed psychotropic medications to manage their fragile mental


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     health. In many instances, their psychiatric disorders are repeatedly manifested in the

     outward behavior, including multiple acts of suicidality and self harm. Yet it appears that

     little or no effort is made to ensure that individuals with SMI are excluded from the IDOC’s

     dangerous restrictive housing conditions.

            236.     Indeed, numerous prisoners whom I encountered on my facility tours

     corroborated these facts, as did the mental health files that I reviewed. The IDOC restrictive

     housing units I inspected are filled with mentally ill prisoners, obviously suffering from

     precisely the kinds of psychiatric problems that are likely to be exacerbated by the

     deprivations and degradations of restrictive housing. Some of them reported being there

     for very long periods of time. They consistently complained that they received very little

     if any regular, meaningful mental health care despite, as they reported, having repeatedly

     requested it.

            237.     For a variety of previously stated reasons, mentally ill prisoners are

     particularly vulnerable to the painful stressors of isolated confinement and the risk of harm

     from their placement in such units is especially grave. Placing seriously mentally ill

     prisoners in restrictive housing is thus contrary to sound correctional and clinical practice,

     the weight of psychological and psychiatric opinion, and a violation of international human

     rights standards. In fact, many prison systems voluntarily refrain from placing them there

     and, in other jurisdictions, courts have prohibited correctional officials from housing

     mentally ill prisoners in isolation. In my professional opinion prisoners with a diagnosis of

     severe mental illness should be categorically excluded from isolation housing, because they

     face a substantial risk of very serious harm in that setting.




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         CRAIG HANEY EXPERT REPORT

                              EXHIBIT 1
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                                   CURRICULUM VITAE


                                    Craig William Haney
                            Distinguished Professor of Psychology
                              UC Presidential Chair, 2015-2018
                           University of California, Santa Cruz 95064

                                      Co-Director,
                        UC Consortium on Criminal Justice Healthcare

                                   Co-Director,
           JUSTInnovate: US-Norway Correctional Change/Exchange Program


  home address:        317 Ocean View Ave.
                       Santa Cruz, California 95062
  phone:               (831) 459-2153
  fax:                 (831) 425-3664
  email:               psylaw@ucsc.edu



  PREVIOUS EMPLOYMENT

        2015-2018            University of California Presidential Chair

        2014-present         Distinguished Professor of Psychology, University of
                             California, Santa Cruz

        1985-2014            University of California, Santa Cruz, Professor of Psychology

        1981-85              University of California, Santa Cruz, Associate Professor of
                             Psychology

        1978-81              University of California, Santa Cruz, Assistant Professor of
                             Psychology

        1977-78              University of California, Santa Cruz, Lecturer in Psychology

        1976-77              Stanford University, Acting Assistant Professor of
                             Psychology




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  EDUCATION

        1978              Stanford Law School, J.D.

        1978              Stanford University, Ph.D. (Psychology)

        1972              Stanford University, M.A. (Psychology)

        1970              University of Pennsylvania, B.A.


  HONORS AWARDS GRANTS


        2018        Emerald Literati Award for “Outstanding Paper” (for “Reducing the
                    Use and Impact of Solitary Confinement in Corrections”).

        2016        Vera Institute of Justice “Reimagining Prisons” Initiative Advisory
                    Council.

                    Psychology Department “Most Inspiring Lecturer”

        2015        University of California Presidential Chair (2015-2018 Term)

                    Martin F. Chemers Award for Outstanding Research in Social
                    Science

                    Excellence in Teaching Award (Academic Senate Committee on
                    Teaching).

                    President’s Research Catalyst Award for “UC Consortium on
                    Criminal Justice Healthcare” (with Brie Williams and Scott Allen).

                    Vera Institute of Justice “Safe Alternatives to Segregation” (SAS)
                    Initiative Advisory Council.

                    Who’s Who in Psychology (Top 20 Psychology Professors in
                    California) [http://careersinpsychology.org/psychology-degrees-
                    schools-employment-ca/#ca-psych-prof]

          2014      Distinguished Faculty Research Lecturer, University of California,
                    Santa Cruz.

          2013      Distinguished Plenary Speaker, American Psychological Association
                    Annual Convention.




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          2012      Appointed to National Academy of Sciences Committee to Study the
                    Causes and Consequences of High Rates of Incarceration in the
                    United States.

                    Invited Expert Witness, United States Senate, Judiciary Committee.

          2011      Edward G. Donnelly Memorial Speaker, University of West Virginia
                    Law School.

          2009      Nominated as American Psychological Foundation William Bevan
                    Distinguished Lecturer.

                    Psi Chi “Best Lecturer” Award (by vote of UCSC undergraduate
                    psychology majors).

          2006      Herbert Jacobs Prize for Most Outstanding Book published on law
                    and society in 2005 (from the Law & Society Association, for Death
                    by Design).

                    Nominated for National Book Award (by American Psychological
                    Association Books, for Reforming Punishment: Psychological Limits
                    to the Pains of Imprisonment).

                    “Dream course” instructor in psychology and law, University of
                    Oklahoma.

          2005      Annual Distinguished Faculty Alumni Lecturer, University of
                    California, Santa Cruz.

                    Arthur C. Helton Human Rights Award from the American
                    Immigration Lawyers Association (co-recipient).

                    Scholar-in-Residence, Center for Social Justice, Boalt Hall School of
                    Law (University of California, Berkeley).

          2004      “Golden Apple Award” for Distinguished Teaching, awarded by the
                    Social Sciences Division, University of California, Santa Cruz.

                    National Science Foundation Grant to Study Capital Jury Decision-
                    making

          2002      Santa Cruz Alumni Association Distinguished Teaching Award,
                    University of California, Santa Cruz.

                    United States Department of Health & Human Services/Urban
                    Institute, “Effects of Incarceration on Children, Families, and Low-
                    Income Communities” Project.


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                    American Association for the Advancement of Science/American
                    Academy of Forensic Science Project: “Scientific Evidence Summit”
                    Planning Committee.

                    Teacher of the Year (UC Santa Cruz Re-Entry Students’ Award).

          2000     Invited Participant White House Forum on the Uses of Science and
                   Technology to Improve National Crime and Prison Policy.

                    Excellence in Teaching Award (Academic Senate Committee on
                    Teaching).

                    Joint American Association for the Advancement of Science-
                    American Bar Association Science and Technology Section National
                    Conference of Lawyers and Scientists.

          1999      American Psychology-Law Society Presidential Initiative
                    Invitee (“Reviewing the Discipline: A Bridge to the Future”)

                    National Science Foundation Grant to Study Capital Jury Decision-
                    making (renewal and extension).

          1997      National Science Foundation Grant to Study Capital Jury Decision-
                    making.

          1996      Teacher of the Year (UC Santa Cruz Re-Entry Students’ Award).

          1995      Gordon Allport Intergroup Relations Prize (Honorable Mention)

                    Excellence in Teaching Convocation, Social Sciences Division

          1994      Outstanding Contributions to Preservation of Constitutional Rights,
                    California Attorneys for Criminal Justice.

          1992      Psychology Undergraduate Student Association Teaching Award

                    SR 43 Grant for Policy-Oriented Research With Linguistically
                    Diverse Minorities

          1991      Alumni Association Teaching Award (“Favorite Professor”)

          1990      Prison Law Office Award for Contributions to Prison Litigation

          1989      UC Mexus Award for Comparative Research on Mexican Prisons




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          1976          Hilmer Oehlmann Jr. Award for Excellence in Legal Writing at
                        Stanford Law School

          1975-76       Law and Psychology Fellow, Stanford Law School

          1974-76       Russell Sage Foundation Residency in Law and Social Science

          1974          Gordon Allport Intergroup Relations Prize, Honorable Mention

          1969-71       University Fellow, Stanford University

          1969-74       Society of Sigma Xi

          1969          B.A. Degree Magna cum laude with Honors in Psychology

                        Phi Beta Kappa

         1967-1969 University Scholar, University of Pennsylvania



  UNIVERSITY SERVICE AND ADMINISTRATION


          2010-2016           Director, Legal Studies Program

          2010-2014           Director, Graduate Program in Social Psychology

          2009                Chair, Legal Studies Review Committee

          2004-2006           Chair, Committee on Academic Personnel

          1998-2002           Chair, Department of Psychology

          1994-1998           Chair, Department of Sociology

          1992-1995           Chair, Legal Studies Program

          1995 (Fall)         Committee on Academic Personnel

          1995-1996           University Committee on Academic Personnel (UCAP)

          1990-1992           Committee on Academic Personnel

          1991-1992           Chair, Social Science Division Academic Personnel
                              Committee



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          1984-1986         Chair, Committee on Privilege and Tenure



  WRITINGS AND OTHER CREATIVE ACTIVITIES IN PROGRESS


        Books:

          Counting Casualties in the War on Prisoners: Toward a Just and Lasting Peace
          (working title, in preparation).

        Articles:

          “The Psychological Foundations of Capital Mitigation: Why Social Historical
          Factors Are Central to Assessing Culpability,” in preparation.


  PUBLISHED WRITINGS AND CREATIVE ACTIVITIES

        Books


          2020        Criminality in Context: The Psychological Foundations of Criminal
                      Justice Reform. APA Books, in press.


          2014        The Growth of Incarceration in the United States: Exploring the
                      Causes and Consequences (with Jeremy Travis, Bruce Western, et
                      al.). [Report of the National Academy of Sciences Committee on the
                      Causes and Consequences of High Rates of Incarceration in the
                      United States.] Washington, DC: National Academy Press.

          2006        Reforming Punishment: Psychological Limits to the Pains of
                      Imprisonment, Washington, DC: American Psychological
                      Association Books.

          2005        Death by Design: Capital Punishment as a Social Psychological
                      System. New York: Oxford University Press.


  Monographs and Technical Reports


          1989        Employment Testing and Employment Discrimination (with A.
                      Hurtado). Technical Report for the National Commission on
                      Testing and Public Policy. New York: Ford Foundation.


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        Articles in Professional Journals and Book Chapters


          2019       “Afterword,” in Robert Johnson, Condemned to Die: Life Under
                     Sentence of Death (pp. 136-141). Second Edition. New York:
                     Routledge.

                     “Solitary Confinement, Loneliness, and Psychological Harm,” in
                     Jules Lobel and Peter Scharff Smith (Eds.), Solitary Confinement:
                     Effects, Practices, and Pathways to Reform. New York: Oxford
                     University Press, in press.

          2018       “Restricting the Use of Solitary Confinement,” Annual Review of
                     Criminology, 1, 285-310.

                     “Death Qualification in Black and White: Racialized Decision-
                     Making and Death-Qualified Juries” (with Mona Lynch), Law &
                     Policy, in press.

                     “Balancing the Rights to Protection and Participation: A Call for
                     Expanded Access to Ethically Conducted Correctional Research.
                     Journal of General Internal Medicine, 33(22).
                     DOI: 10.1007/s11606-018-4318-9.

                     “The Plight of Long-Term Mentally-Ill Prisoners” (with Camille
                     Conrey and Roxy Davis), in Kelly Frailing and Risdon Slate (Eds.),
                     The Criminalization of Mental Illness (pp. 163-180). Durham, NC:
                     Carolina Academic Press.

                     “The Psychological Effects of Solitary Confinement: A Systematic
                     Critique,” Crime and Justice, 47, 365-416.

                     “The Media’s Impact on the Right to a Fair Trial: A Content
                     Analysis of Pretrial Publicity in Capital Cases (with Shirin
                     Bakhshay), Psychology, Public Policy, and Law, 24, 326-346.


         2017        “Mechanisms of Moral Disengagement and Prisoner Abuse” (with
                     Joanna Weill). Analyses of Social Issues and Public Policy, 17, 286-
                     318.

                     “‘Madness’ and Penal Confinement: Observations on Mental Illness
                     and Prison Pain,” Punishment and Society, 19, 310-326.



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                    “Contexts of Ill-Treatment: The Relationship of Captivity and
                    Prison Confinement to Cruel, Inhuman, or Degrading Treatment
                    and Torture” (with Shirin Bakhshay), in Metin Başoğlu (Ed.),
                    Torture and Its Definition in International Law: An
                    Interdisciplinary Approach (pp.139-178). New York: Oxford.

                    Special Issue: “Translating Research into Policy to Advance
                    Correctional Health” (guest editor with B. Williams, C. Ahalt, S.
                    Allen, & J. Rich), Part II, International Journal of Prisoner Health,
                    13, 137-227.

                    “Reducing the Use and Impact of Solitary Confinement in
                    Corrections” (with Cyrus Ahalt, Sarah Rios, Matthew Fox, David
                    Farabee, and Brie Williams), International Journal of Prisoner
                    Health, 13, 41-48.


         2016       “Examining Jail Isolation: What We Don’t Know Can Be Profoundly
                    Harmful” (with Joanna Weill, Shirin Bakhshay, and Tiffany
                    Winslow), The Prison Journal, 96, 126-152.

                    “On Structural Evil: Disengaging From Our Moral Selves,” Review
                    of the book Moral Disengagement: How People Do Harm and Live
                    With Themselves, by A. Bandura], PsycCRITIQUES, 61(8).


         2015       “When Did Prisons Become Acceptable Mental Healthcare
                    Facilities?,” Report of the Stanford Law School Three Strikes
                    Project (with Michael Romano et al.) [available at:
                    http://law.stanford.edu/wp-
                    content/uploads/sites/default/files/child-
                    page/632655/doc/slspublic/Report_v12.pdf ].

                    “Emotion, Authority, and Death: (Raced) Negotiations in Capital
                    Jury Negotiations” (with Mona Lynch), Law & Social Inquiry, 40,
                    377-405.

                    “Prison Overcrowding,” in B. Cutler & P. Zapf (Eds.), APA
                    Handbook of Forensic Psychology (pp. 415-436). Washington, DC:
                    APA Books.

                    “The Death Penalty” (with Joanna Weill & Mona Lynch), in B.
                    Cutler & P. Zapf (Eds.), APA Handbook of Forensic Psychology (pp.
                    451-510). Washington, DC: APA Books.

                    “‘Prisonization’ and Latinas in Alternative High Schools” (with Aida
                    Hurtado & Ruby Hernandez), in J. Hall (Ed.), Routledge Studies in


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                    Education and Neoliberalism: Female Students and Cultures of
                    Violence in the City (pp. 113-134). Florence, KY: Routledge.


         2014       “How Healthcare Reform Can Transform the Health of Criminal
                    Justice-Involved Individuals” (with Josiah Rich, et al.), Health
                    Affairs, 33:3 (March), 1-6.


         2013       “Foreword,” for H. Toch, Organizational Change Through
                    Individual Empowerment: Applying Social Psychology in Prisons
                    and Policing. Washington, DC: APA Books (in press).

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  MEMBERSHIP/ACTIVITIES IN PROFESSIONAL ASSOCIATIONS

        American Psychological Association

        American Psychology and Law Society

        Law and Society Association

        National Council on Crime and Delinquency




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  INVITED ADDRESSES AND PAPERS PRESENTED AT PROFESSIONAL ACADEMIC
        MEETINGS AND RELATED SETTINGS (SELECTED)



          2016      “The Culture of Punishment,” American Justice Summit, New York,
                    January.

                    “Mental Illness and Prison Confinement,” Conference on Race,
                    Class, Gender and Ethnicity (CRCGE), University of North Carolina
                    Law School, Chapel Hill, NC, February.

                    “Reforming the Treatment of California’s Mentally Ill Prisoners:
                    Coleman and Beyond,” Meeting of the UC Consortium on Criminal
                    Justice & Health, San Francisco, April.

                    “Bending Toward Justice? The Urgency (and Possibility) of
                    Criminal Justice Reform,” UC Santa Cruz Alumni Association
                    “Original Thinkers” Series, San Jose, CA (March), and Museum of
                    Tolerance, Los Angeles (April).


                    “Isolation and Mental Health,” International and Inter-Disciplinary
                    Perspectives on Prolonged Solitary Confinement, University of
                    Pittsburgh Law School, Pittsburgh, PA, April.

                    “Mechanisms of Moral Disengagement in the Treatment of
                    Prisoners” (with Joanna Weill), Conference of the Society for the
                    Study of Social Issues, Minneapolis, June.


          2015      “Reforming the Criminal Justice System,” Bipartisan Summit on
                    Criminal Justice Reform, American Civil Liberties Union/Koch
                    Industries co-sponsored, Washington, DC, March.

                    “PrisonWorld: How Mass Incarceration Transformed U.S. Prisons,
                    Impacted Prisoners, and Changed American Society,” Distinguished
                    Faculty Research Lecture, UC Santa Cruz, March.

                    “Think Different, About Crime and Punishment,” Invited Lecture,
                    UC Santa Cruz 50th Anniversary Alumni Reunion, April.

                    “The Intellectual Legacy of the Civil Rights Movement: Two Fifty-
                    Year Anniversaries,” College 10 Commencement Address, June.

                    “Race and Capital Mitigation,” Perspectives on Racial and Ethnic
                    Bias for Capital and Non-Capital Lawyers, New York, September.


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                    “The Dimensions of Suffering in Solitary Confinement,” Vera
                    Institute of Justice, “Safe Alternatives to Solitary Confinement-A
                    Human Dignity Approach” Conference, Washington, DC,
                    September.

                    “Mental Health and Administrative Segregation,” Topical Working
                    Group on the Use of Administrative Segregation in the U.S.,
                    National Institute of Justice/Department of Justice, Washington,
                    DC, October.

                    “The Psychological Effects of Segregated Confinement,” Ninth
                    Circuit Court of Appeals “Corrections Summit,” Sacramento, CA,
                    November.

                    “How Can the University of California Address Mass Incarceration
                    in California and Beyond?,” Keynote Address, Inaugural Meeting of
                    the UC Consortium on Criminal Justice & Health, San Francisco,
                    November.


          2014      “Solitary Confinement: Legal, Clinical, and Neurobiological
                    Perspectives,” American Association for the Advancement of
                    Science (AAAS), Chicago, IL February.

                    “Overcrowding, Isolation, and Mental Health Care, Prisoners’
                    Access to Justice: Exploring Legal, Medical, and Educational
                    Rights,” University of California, School of Law, Irvine, CA,
                    February.

                    “The Continuing Significance of Death Qualification” (with Joanna
                    Weill), Annual Conference of the American Psychology-Law Society,
                    New Orleans, March.

                    “Using Psychology at Multiple Levels to Transform Adverse
                    Conditions of Confinement,” Society for the Study of Social Issues
                    Conference, Portland, OR, June.

                    “Humane and Effective Alternatives to Isolated Confinement,”
                    American Civil Liberties Union National Prison Project Convening
                    on Solitary Confinement, Washington, DC, September.

                    “Community of Assessment of Public Safety,” Community
                    Assessment Project of Santa Cruz County, Year 20, Cabrillo College,
                    November.




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                    “Overview of National Academy of Sciences Report on Causes and
                    Consequences of High Rates of Incarceration,” Chief Justice Earl
                    Warren Institute on Law & Social Policy, Boalt Hall Law School,
                    Berkeley, CA, November.

                    “Presidential Panel, Overview of National Academy of Sciences
                    Report on Causes and Consequences of High Rates of
                    Incarceration,” American Society for Criminology, San Francisco,
                    November.

                    “Presidential Panel, National Academy of Sciences Report on
                    Consequences of High Rates of Incarceration on Individuals,”
                    American Society for Criminology, San Francisco, November.

                    “Findings of National Academy of Sciences Committee on the
                    Causes and Consequences of High Rates of Incarceration,”
                    Association of Public Policy Analysis and Management Convention
                    (APPAM), Albuquerque, NM, November.

                    “Politics and the Penal State: Mass Incarceration and American
                    Society,” New York University Abu Dhabi International Scholars
                    Program, Abu Dhabi, United Arab Emirates, December.


          2013      “Isolation and Mental Health,” Michigan Journal of Race and Law
                    Symposium, University of Michigan School of Law, Ann Arbor, MI,
                    February.

                    “Social Histories of Capital Defendants” (with Joanna Weill),
                    Annual Conference of Psychology-Law Society, Portland, OR,
                    March.

                    “Risk Factors and Trauma in the Lives of Capital Defendants” (with
                    Joanna Weill), American Psychological Association Annual
                    Convention, Honolulu, HI, August.

                    “Bending Toward Justice: Psychological Science and Criminal
                    Justice Reform,” Invited Plenary Address, American Psychological
                    Association Annual Convention, Honolulu, HI, August.

                    “Severe Conditions of Confinement and International Torture
                    Standards,” Istanbul Center for Behavior Research and Therapy,
                    Istanbul, Turkey, December.




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          2012      “The Psychological Consequences of Long-term Solitary
                    Confinement,” Joint Yale/Columbia Law School Conference on
                    Incarceration and Isolation, New York, April.

                    “The Creation of the Penal State in America,” Managing Social
                    Vulnerability: The Welfare and Penal System in Comparative
                    Perspective, Central European University, Budapest, Hungary, July.


          2011      “Tensions Between Psychology and the Criminal Justice System: On
                    the Persistence of Injustice,” opening presentation, “A Critical Eye
                    on Criminal Justice” lecture series, Golden Gate University Law
                    School, San Francisco, CA, January.

                    “The Decline in Death Penalty Verdicts and Executions: The Death
                    of Capital Punishment?” Presentation at “A Legacy of Justice” week,
                    at the University of California, Davis King Hall Law School, Davis,
                    CA, January.

                    “Invited Keynote Address: The Nature and Consequences of Prison
                    Overcrowding—Urgency and Implications,” West Virginia School of
                    Law, Morgantown, West Virginia, March.

                    “Symposium: The Stanford Prison Experiment—Enduring Lessons
                    40 Years Later,” American Psychological Association Annual
                    Convention, Washington, DC, August.

                    “The Dangerous Overuse of Solitary Confinement: Pervasive
                    Human Rights Violations in Prisons, Jails, and Other Places of
                    Detention” Panel, United Nations, New York, New York, October.

                    “Criminal Justice Reform: Issues and Recommendation,” United
                    States Congress, Washington, DC, November.


          2010      “The Hardening of Prison Conditions,” Opening Address, “The
                    Imprisoned” Arthur Liman Colloquium Public Interest Series, Yale
                    Law School, New Haven, CN, March.

                    “Desensitization to Inhumane Treatment: The Pitfalls of Prison
                    Work,” panel presentation at “The Imprisoned” Arthur Liman
                    Colloquium Public Interest Series, Yale Law School, New Haven,
                    CN, March.

                    “Mental Ill Health in Immigration Detention,” Department of
                    Homeland Security/DOJ Office for Civil Rights and Civil Liberties,
                    Washington, DC, September.


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          2009      “Counting Casualties in the War on Prisoners,” Keynote Address, at
                    “The Road to Prison Reform: Treating the Causes and Conditions of
                    Our Overburdened System,” University of Connecticut Law School,
                    Hartford, CN, February.

                    “Defining the Problem in California’s Prison Crisis: Overcrowding
                    and Its Consequences,” California Correctional Crisis Conference,”
                    Hastings Law School, San Francisco, CA, March.


          2008      “Prisonization and Contemporary Conditions of Confinement,”
                    Keynote Address, Women Defenders Association, Boalt Law School,
                    University of California, November.

                    “Media Criminology and the Empathic Divide: The Continuing
                    Significance of Race in Capital Trials,” Invited Address, Media,
                    Race, and the Death Penalty Conference, DePaul University School
                    of Law, Chicago, IL, March.

                    “The State of the Prisons in California,” Invited Opening Address,
                    Confronting the Crisis: Current State Initiatives and Lasting
                    Solutions for California’s Prison Conditions Conference, University
                    of San Francisco School of Law, San Francisco, CA, March.

                    “Mass Incarceration and Its Effects on American Society,” Invited
                    Opening Address, Behind the Walls Prison Law Symposium,
                    University of California Davis School of Law, Davis, CA, March.


          2007      “The Psychology of Imprisonment: How Prison Conditions Affect
                     Prisoners and Correctional Officers,” United States Department of
                     Justice, National Institute of Corrections Management Training for
                     “Correctional Excellence” Course, Denver, CO, May.

                    “Statement on Psychologists, Detention, and Torture,” Invited
                    Address, American Psychological Association Annual Convention,
                    San Francisco, CA, August.

                    “Prisoners of Isolation,” Invited Address, University of Indiana Law
                    School, Indianapolis, IN, October.

                    “Mitigation in Three Strikes Cases,” Stanford Law School, Palo Alto,
                    CA, September.




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                    “The Psychology of Imprisonment,” Occidental College, Los
                    Angeles, CA, November.


          2006      “Mitigation and Social Histories in Death Penalty Cases,” Ninth
                    Circuit Federal Capital Case Committee, Seattle, WA, May.

                    “The Crisis in the Prisons: Using Psychology to Understand and
                    Improve Prison Conditions,” Invited Keynote Address, Psi Chi
                    (Undergraduate Psychology Honor Society) Research Conference,
                    San Francisco, CA, May.

                    “Exoneration and ‘Wrongful Condemnation’: Why Juries Sentence
                    to Death When Life is the Proper Verdict,” Faces of Innocence
                    Conference, UCLA Law School, April.

                    “The Continuing Effects of Imprisonment: Implications for Families
                    and Communities,” Research and Practice Symposium on
                    Incarceration and Marriage, United States Department of Health
                    and Human Services, Washington, DC, April.

                    “Ordinary People, Extraordinary Acts,” National Guantanamo
                    Teach In, Seton Hall School of Law, Newark, NJ, October.

                    “The Next Generation of Death Penalty Research,” Invited Address,
                    State University of New York, School of Criminal Justice, Albany,
                    NY, October.


         2005       “The ‘Design’ of the System of Death Sentencing: Systemic Forms of
                    ‘Moral Disengagement in the Administration of Capital
                    Punishment, Scholar-in-Residence, invited address, Center for
                    Social Justice, Boalt Hall School of Law (Berkeley), March.

                    “Humane Treatment for Asylum Seekers in U.S. Detention
                    Centers,” United States House of Representatives, Washington, DC,
                    March.

                    “Prisonworld: What Overincarceration Has Done to Prisoners and
                    the Rest of Us,” Scholar-in-Residence, invited address, Center for
                    Social Justice, Boalt Hall School of Law (Berkeley), March.

                    “Prison Conditions and Their Psychological Effects on Prisoners,”
                    European Association for Psychology and Law, Vilnius, Lithuania,
                    July.




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          2004      “Recognizing the Adverse Psychological Effects of Incarceration,
                    With Special Attention to Solitary-Type Confinement and Other
                    Forms of ‘Ill-Treatment’ in Detention,” International Committee of
                    the Red Cross, Training Program for Detention Monitors, Geneva,
                    Switzerland, November.

                    “Prison Conditions in Post-“War on Crime” Era: Coming to Terms
                    with the Continuing Pains of Imprisonment,” Boalt Law School
                    Conference, After the War on Crime: Race, Democracy, and a New
                    Reconstruction, Berkeley, CA, October.

                    “Cruel and Unusual? The United States Prison System at the Start
                    of the 21st Century,” Invited speaker, Siebel Scholars Convocation,
                    University of Illinois, Urbana, IL, October.

                    “The Social Historical Roots of Violence: Introducing Life
                    Narratives into Capital Sentencing Procedures,” Invited
                    Symposium, XXVIII International Congress of Psychology, Beijing,
                    China, August.

                    “Death by Design: Capital Punishment as a Social Psychological
                    System,” Division 41 (Psychology and Law) Invited Address,
                    American Psychological Association Annual Convention, Honolulu,
                    HI, July.

                    “The Psychology of Imprisonment and the Lessons of Abu Ghraib,”
                    Commonwealth Club Public Interest Lecture Series, San Francisco,
                    May.

                    “Restructuring Prisons and Restructuring Prison Reform,” Yale Law
                    School Conference on the Current Status of Prison Litigation in the
                    United States, New Haven, CN, May.

                    “The Effects of Prison Conditions on Prisoners and Guards: Using
                    Psychological Theory and Data to Understand Prison Behavior,”
                    United States Department of Justice, National Institute of
                    Corrections Management Training Course, Denver, CO, May.

                    “The Contextual Revolution in Psychology and the Question of
                    Prison Effects: What We Know about How Prison Affects Prisoners
                    and Guards,” Cambridge University, Cambridge, England, April.

                    “Death Penalty Attitudes, Death Qualification, and Juror
                    Instructional Comprehension,” American Psychology-Law Society,
                    Annual Conference, Scottsdale, AZ, March.




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        2003        “Crossing the Empathic Divide: Race Factors in Death Penalty
                    Decisionmaking,” DePaul Law School Symposium on Race and the
                    Death Penalty in the United States, Chicago, October.

                    “Supermax Prisons and the Prison Reform Paradigm,” PACE Law
                    School Conference on Prison Reform Revisited: The Unfinished
                    Agenda, New York, October.

                    “Mental Health Issues in Supermax Confinement,” European
                    Psychology and Law Conference, University of Edinburgh, Scotland,
                    July.

                    “Roundtable on Capital Punishment in the United States: The Key
                    Psychological Issues,” European Psychology and Law Conference,
                    University of Edinburgh, Scotland, July.

                    “Psychology and Legal Change: Taking Stock,” European
                    Psychology and Law Conference, University of Edinburgh, Scotland,
                    July.

                    “Economic Justice and Criminal Justice: Social Welfare and Social
                    Control,” Society for the Study of Social Issues Conference, January.

                    “Race, Gender, and Class Issues in the Criminal Justice System,”
                    Center for Justice, Tolerance & Community and Barrios Unidos
                    Conference, March.


        2002        “The Psychological Effects of Imprisonment: Prisonization and
                    Beyond.” Joint Urban Institute and United States Department of
                    Health and Human Services Conference on “From Prison to Home.”
                    Washington, DC, January.

                    “On the Nature of Mitigation: Current Research on Capital Jury
                    Decisionmaking.” American Psychology and Law Society, Mid-
                    Winter Meetings, Austin, Texas, March.

                    “Prison Conditions and Death Row Confinement.” New York Bar
                    Association, New York City, June.


        2001        “Supermax and Solitary Confinement: The State of the Research
                    and the State of the Prisons.” Best Practices and Human Rights in
                    Supermax Prisons: A Dialogue. Conference sponsored by University
                    of Washington and the Washington Department of Corrections,
                    Seattle, September.



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                    “Mental Health in Supermax: On Psychological Distress and
                    Institutional Care.” Best Practices and Human Rights in Supermax
                    Prisons: A Dialogue. Conference sponsored by University of
                    Washington and the Washington Department of Corrections,
                    Seattle, September.

                    “On the Nature of Mitigation: Research Results and Trial Process
                    and Outcomes.” Boalt Hall School of Law, University of California,
                    Berkeley, August.

                    “Toward an Integrated Theory of Mitigation.” American
                    Psychological Association Annual Convention, San Francisco, CA,
                    August.

                    Discussant: “Constructing Class Identities—The Impact of
                    Educational Experiences.” American Psychological Association
                    Annual Convention, San Francisco, CA, August.

                    “The Rise of Carceral Consciousness.” American Psychological
                    Association Annual Convention, San Francisco, CA, August.


        2000        “On the Nature of Mitigation: Countering Generic Myths in Death
                    Penalty Decisionmaking,” City University of New York Second
                    International Advances in Qualitative Psychology Conference,
                    March.

                    “Why Has U.S. Prison Policy Gone From Bad to Worse? Insights
                    From the Stanford Prison Study and Beyond,” Claremont
                    Conference on Women, Prisons, and Criminal Injustice, March.

                    “The Use of Social Histories in Capital Litigation,” Yale Law School,
                    April.

                    “Debunking Myths About Capital Violence,” Georgetown Law
                    School, April.

                    “Research on Capital Jury Decisionmaking: New Data on Juror
                    Comprehension and the Nature of Mitigation,” Society for Study of
                    Social Issues Convention, Minneapolis, June.

                    “Crime and Punishment: Where Do We Go From Here?” Division 41
                    Invited Symposium, “Beyond the Boundaries: Where Should
                    Psychology and Law Be Taking Us?” American Psychological
                    Association Annual Convention, Washington, DC, August.




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        1999        “Psychology and the State of U.S. Prisons at the Millennium,”
                    American Psychological Association Annual Convention, Boston,
                    MA, August.

                    “Spreading Prison Pain: On the Worldwide Movement Towards
                    Incarcerative Social Control,” Joint American Psychology-Law
                    Society/European Association of Psychology and Law Conference,
                    Dublin, Ireland, July.


        1998        “Prison Conditions and Prisoner Mental Health,” Beyond the Prison
                    Industrial Complex Conference, University of California, Berkeley,
                    September.

                    “The State of US Prisons: A Conversation,” International Congress
                    of Applied Psychology, San Francisco, CA, August.

                    “Deathwork: Capital Punishment as a Social Psychological System,”
                    Invited SPPSI Address, American Psychological Association Annual
                    Convention, San Francisco, CA, August.

                    “The Use and Misuse of Psychology in Justice Studies: Psychology
                    and Legal Change: What Happened to Justice?,” (panelist),
                    American Psychological Association Annual Convention, San
                    Francisco, CA, August.

                    “Twenty Five Years of American Corrections: Past and Future,”
                    American Psychology and Law Society, Redondo Beach, CA, March.


        1997        “Deconstructing the Death Penalty,” School of Justice Studies,
                    Arizona State University, Tempe, AZ, October.

                    “Mitigation and the Study of Lives,” Invited Address to Division 41
                    (Psychology and Law), American Psychological Association Annual
                    Convention, Chicago, August.


        1996        “The Stanford Prison Experiment and 25 Years of American Prison
                    Policy,” American Psychological Association Annual Convention,
                    Toronto, August.


        1995        “Looking Closely at the Death Penalty: Public Stereotypes and
                    Capital Punishment,” Invited Address, Arizona State University
                    College of Public Programs series on Free Speech, Affirmative
                    Action and Multiculturalism, Tempe, AZ, April.


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                    “Race and the Flaws of the Meritocratic Vision,” Invited Address,
                    Arizona State University College of Public Programs series on Free
                    Speech, Affirmative Action and Multiculturalism, Tempe, AZ, April.

                    “Taking Capital Jurors Seriously,” Invited Address, National
                    Conference on Juries and the Death Penalty, Indiana Law School,
                    Bloomington, February.


        1994        “Mitigation and the Social Genetics of Violence: Childhood
                    Treatment and Adult Criminality,” Invited Address, Conference on
                    the Capital Punishment, Santa Clara Law School, October, Santa
                    Clara.


        1992        “Social Science and the Death Penalty,” Chair and Discussant,
                    American Psychological Association Annual Convention, San
                    Francisco, CA, August.


        1991        “Capital Jury Decisionmaking,” Invited panelist, American
                    Psychological Association Annual Convention, Atlanta, GA, August.


        1990        “Racial Discrimination in Death Penalty Cases,” Invited
                    presentation, NAACP Legal Defense Fund Conference on Capital
                    Litigation, August, Airlie, VA.


        1989        “Psychology and Legal Change: The Impact of a Decade,” Invited
                    Address to Division 41 (Psychology and Law), American
                    Psychological Association Annual Convention, New Orleans, LA.,
                    August.

                    “Judicial Remedies to Pretrial Prejudice,” Law & Society Association
                    Annual Meeting, Madison, WI, June.

                    “The Social Psychology of Police Interrogation Techniques” (with R.
                    Liebowitz), Law & Society Association Annual Meeting, Madison,
                    WI, June.


        1987        “The Fourteenth Amendment and Symbolic Legality: Let Them Eat
                    Due Process,” APA Annual Convention, New York, N.Y. August.




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                    “The Nature and Function of Prison in the United States and
                    Mexico: A Preliminary Comparison,” InterAmerican Congress of
                    Psychology, Havana, Cuba, July.


        1986        Chair, Division 41 Invited Address and “Commentary on the
                    Execution Ritual,” APA Annual Convention, Washington, D.C.,
                    August.

                    “Capital Punishment,” Invited Address, National Association of
                    Criminal Defense Lawyers Annual Convention, Monterey, CA,
                    August.


        1985        “The Role of Law in Graduate Social Science Programs” and
                    “Current Directions in Death Qualification Research,” American
                    Society of Criminology, San Diego, CA, November.

                    “The State of the Prisons: What’s Happened to ‘Justice’ in the ‘70s
                    and ‘80s?” Invited Address to Division 41 (Psychology and Law);
                    APA Annual Convention, Los Angeles, CA, August.


        1983        “The Role of Social Science in Death Penalty Litigation.” Invited
                    Address in National College of Criminal Defense Death Penalty
                    Conference, Indianapolis, IN, September.


        1982        “Psychology in the Court: Social Science Data and Legal Decision-
                    Making.” Invited Plenary Address, International Conference on
                    Psychology and Law, University College, Swansea, Wales, July.


        1982        “Paradigms in Conflict: Contrasting Methods and Styles of
                    Psychology and Law.” Invited Address, Social Science Research
                    Council, Conference on Psychology and Law, Wolfson College,
                    Oxford University, March.


        1982        “Law and Psychology: Conflicts in Professional Roles.” Invited
                    paper, Western Psychological Association Annual Meeting, April.


        1980        “Using Psychology in Test Case Litigation,” panelist, American
                    Psychological Association Annual Convention, Montreal, Canada,
                    September.



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                       “On the Selection of Capital Juries: The Biasing Effects of Death
                       Qualification.” Paper presented at the Interdisciplinary Conference
                       on Capital Punishment. Georgia State University, Atlanta, GA,
                       April.

                       “Diminished Capacity and Imprisonment: The Legal and
                       Psychological Issues,” Proceedings of the American Trial Lawyers
                       Association, Mid-Winter Meeting, January.


        1975           “Social Change and the Ideology of Individualism in Psychology and
                       Law.” Paper presented at the Western Psychological Association
                       Annual Meeting, April.



  SERVICE TO STAFF OR EDITORIAL BOARDS OF FOUNDATIONS, SCHOLARLY
  JOURNALS OR PRESSES


        2016-present      Editorial Consultant, Translational Issues in Psychological
                          Science.

        2015-present      Editorial Consultant, Criminal Justice Review.

        2014-present      Editorial Board Member, Law and Social Inquiry.

        2013-present      Editorial Consultant, Criminal Justice and Behavior.

        2012-present      Editorial Consultant, Law and Society Review.

        2011-present      Editorial Consultant, Social Psychological and Personality
                          Science.

        2008-present     Editorial Consultant, New England Journal of Medicine.

        2007-present      Editorial Board Member, Correctional Mental Health Reporter.

        2007-present     Editorial Consultant, Journal of Offender Rehabilitation.

        2004-present     Editorial Board Member, American Psychology and Law Society
                         Book Series, Oxford University Press.

        2000-2003       Reviewer, Society for the Study of Social Issues Grants-in-Aid
                        Program.




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        2000-present   Editorial Board Member, ASAP (on-line journal of the Society for
                       the Study of Social Issues)

        1997-present   Editorial Board Member (until 2004), Consultant, Psychology,
                       Public Policy, and Law

        1991           Editorial Consultant, Brooks/Cole Publishing

        1989           Editorial Consultant, Journal of Personality and Social
                       Psychology

        1988-          Editorial Consultant, American Psychologist

        1985           Editorial Consultant, American Bar Foundation Research Journal

        1985-2006      Law and Human Behavior, Editorial Board Member

        1985           Editorial Consultant, Columbia University Press

        1985           Editorial Consultant, Law and Social Inquiry

        1980-present Reviewer, National Science Foundation

        1997           Reviewer, National Institutes of Mental Health

        1980-present Editorial Consultant, Law and Society Review

        1979-1985      Editorial Consultant, Law and Human Behavior

        1997-present   Editorial Consultant, Legal and Criminological Psychology

        1993-present   Psychology, Public Policy, and Law, Editorial Consultant




        GOVERNMENTAL, LEGAL AND CRIMINAL JUSTICE CONSULTING


        Training Consultant, Palo Alto Police Department, 1973-1974.

        Evaluation Consultant, San Mateo County Sheriff’s Department, 1974.

        Design and Training Consultant to Napa County Board of Supervisors, County
              Sheriff’s Department (county jail), 1974.

        Training Consultation, California Department of Corrections, 1974.


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        Consultant to California Legislature Select Committee in Criminal Justice, 1974,
              1980-1981 (effects of prison conditions, evaluation of proposed prison
              legislation).

        Reviewer, National Science Foundation (Law and Social Science, Research
              Applied to National Needs Programs), 1978-present.

        Consultant, Santa Clara County Board of Supervisors, 1980 (effects of jail
              overcrowding, evaluation of county criminal justice policy).

        Consultant to Packard Foundation, 1981 (evaluation of inmate counseling and
              guard training programs at San Quentin and Soledad prisons).

        Member, San Francisco Foundation Criminal Justice Task Force, 1980-1982
            (corrections expert).

        Consultant to NAACP Legal Defense Fund, 1982- present (expert witness, case
              evaluation, attorney training).

        Faculty, National Judicial College, 1980-1983.

        Consultant to Public Advocates, Inc., 1983-1986 (public interest litigation).

        Consultant to California Child, Youth, Family Coalition, 1981-82 (evaluation of
              proposed juvenile justice legislation).

        Consultant to California Senate Office of Research, 1982 (evaluation of causes
              and consequences of overcrowding in California Youth Authority
              facilities).

        Consultant, New Mexico State Public Defender, 1980-1983 (investigation of
                     causes of February, 1980 prison riot).

        Consultant, California State Supreme Court, 1983 (evaluation of county jail
              conditions).

        Member, California State Bar Committee on Standards in Prisons and Jails, 1983.

        Consultant, California Legislature Joint Committee on Prison Construction and
              Operations, 1985.

        Consultant, United States Bureau of Prisons and United States Department of the
              Interior (Prison History, Conditions of Confinement Exhibition, Alcatraz
              Island), 1989-1991.




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        Consultant to United States Department of Justice, 1980-1990 (evaluation of
              institutional conditions).

        Consultant to California Judicial Council (judicial training programs), 2000.

        Consultant to American Bar Association/American Association for Advancement
              of Science Task Force on Forensic Standards for Scientific Evidence, 2000.

        Invited Participant, White House Forum on the Uses of Science and Technology
             to Improve Crime and Prison Policy, 2000.

        Member, Joint Legislative/California Department of Corrections Task Force on
            Violence, 2001.

        Consultant, United States Department of Health & Human Services/Urban Institute,
              “Effects of Incarceration on Children, Families, and Low-Income Communities”
              Project, 2002.

        Detention Consultant, United States Commission on International Religious Freedom
              (USCRIF). Evaluation of Immigration and Naturalization Service Detention
              Facilities, July, 2004-present.

        Consultant, International Committee of the Red Cross, Geneva, Switzerland, Consultant
              on international conditions of confinement.

        Member, Institutional Research External Review Panel, California Department of
            Corrections, November, 2004-2008.

        Consultant, United States Department of Health & Human Services on programs
              designed to enhance post-prison success and community reintegration, 2006.

        Consultant/Witness, U.S. House of Representatives, Judiciary Committee, Evaluation of
              legislative and budgetary proposals concerning the detention of undocumented
              persons, February-March, 2005.

        Invited Expert Witness to National Commission on Safety and Abuse in America’s
               Prisons (Nicholas Katzenbach, Chair); Newark, New Jersey, July 19-20, 2005.

        Testimony to the United States Senate, Judiciary Subcommittee on the
              Constitution, Civil Rights, and Property Rights (Senators Brownback and
              Feingold, co-chairs), Hearing on “An Examination of the Death Penalty in
              the United States,” February 7, 2006.

        National Council of Crime and Delinquency “Sentencing and Correctional Policy
              Task Force,” member providing written policy recommendations to the
              California legislature concerning overcrowding crisis in the California
              Department of Corrections and Rehabilitation.


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        Trainer/Instructor, Federal Bureau of Prisons and United States Department of Justice,
              “Correctional Excellence” Program, providing instruction concerning conditions
              of confinement and psychological stresses of living and working in correctional
              environments to mid-level management corrections professionals, May, 2004-
              2008.

        Invited Expert Witness, California Commission on the Fair Administration of Justice,
               Public Hearing, Santa Clara University, March 28, 2008.

        Invited Participant, Department of Homeland Security, Mental Health Effects of
               Detention and Isolation, 2010.

        Invited Witness, Before the California Assembly Committee on Public Safety,
               August 23, 2011.

        Consultant, “Reforming the Criminal Justice System in the United States” Joint
              Working Group with Senator James Webb and Congressional Staffs, 2011
              Developing National Criminal Justice Commission Legislation.

        Invited Participant, United Nations, Forum with United Nations Special
               Rapporteur on Torture Concerning the Overuse of Solitary Confinement,
              New York, October, 2011.

        Invited Witness, Before United States Senate Judiciary Subcommittee on the
               Constitution, Civil Rights, and Human Rights Hearing on Solitary
               Confinement, June 19, 2012.

        Member, National Academy of Sciences Committee to Study the Causes and
            Consequences of the High Rate of Incarceration in the United States,
            2012-2014.

        Member, National Academy of Sciences Briefing Group, briefed media and public
            officials at Pew Research Center, Congressional staff, and White House staff
            concerning policy implications of The Growth of Incarceration in the United
            States: Exploring the Causes and Consequences (2014), April 30-May 1.

        Consultant to United States Department of Justice and White House Domestic Policy
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         CRAIG HANEY EXPERT REPORT

                              EXHIBIT 2
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                          Document Productions and Documents
     1.     All documents produced by Defendants (000001-0349458)

     2.     Documents acquired by Plaintiffs from the Vera Institute and produced in this case

     3.     IDOC February, 2019 Assignment History File

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  135.      20 Ill. Admin. Code §§ 504.130, 504.620(i)

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            http://www.ilga.gov/commission/jcar/admincode/020/02000504ZZ9998aR.html

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            http://www.ilga.gov/commission/jcar/admincode/020/020005040A01300R.html

  138.      20 Ill. Admin. Code Sec. 504.670(a)

  139.      20 Ill. Admin. Code Sec. 504.690

                                          Declarations
  140.      Declaration of Matthew R. DalSanto

                                           Depositions
  141.      Deposition of Mike Atchison with exhibits (October 22, 2018)

  142.      Deposition of James Austin, Ph.D. with exhibits (October 2, 2017)

  143.      Deposition of John Baldwin with exhibits (October 17, 2018)

  144.      Deposition of Kimberly Butler with exhibits (October 15, 2018)

  145.      Deposition of Douglas Coleman with exhibits (June 27, 2018)

  146.      Deposition of Percell Dansberry with exhibits (June 27, 2018)

  147.      Deposition of Henry Davis with exhibits (June 26, 2018)

  148.      Deposition of Aaron Fillmore with exhibits (June 26, 2018)



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  149.      Deposition of Sandra Funk with exhibits (October 12, 2018)

  150.      Deposition of DeShawn Gardner with exhibits (June 26, 2018)

  151.      Deposition of Randy Pfister with exhibits (October 23, 2018)

  152.      Deposition of Kilsey Shearrill with exhibits (January 26, 2018)

  153.      Deposition of Sara Sullivan with exhibits (September 15, 2017)

  154.      Deposition of Gladyse Taylor with exhibits (October 18, 2018)

                                    Discovery Responses
  155.      Aaron Fillmore's Responses to Defendant's First Set of Interrogatories (December 12,
            2016)

  156.      DeShawn Gardner’s Responses to Defendant’s First Set of Interrogatories (December 12,
            2016)

  157.      Douglas Coleman’s Responses to Defendant’s First Set of Interrogatories (December 12,
            2016)

  158.      Henry Davis’s Responses to Defendant’s First Set of Interrogatories (December 12, 2016)

  159.      Jerome Jones's Responses to Defendant's First Set of Interrogatories (December 12, 2016)

  160.      Percell Dansberry's Responses to Defendant's First Set of Interrogatories (December 12,
            2016)

  161.      Plaintiffs' Objections to Defendant Interrogatories (December 12, 2016)

  162.      Defendant's Objections to Plaintiffs' First Set of Interrogatories (January 13, 2017)

  163.      Defendant's Answers to Plaintiffs' First Interrogatories (February 17, 2017)

  164.      Defendant's First Supplemental Answers to First Set of Interrogatories (March 7, 2017)

  165.      Defendant's Second Supplemental Answers to Plaintiffs’ First Set of Interrogatories (April
            11, 2017)

  166.      Supplemental Interrogatory Responses of Aaron Fillmore (June 20, 2017)

  167.      Supplemental Interrogatory Responses of Jerome Jones (June 20, 2017)


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  168.      Defendant's Third Supplemental Responses to Plaintiffs’ First Set of Interrogatories
            (January 24, 2018)

  169.      Defendant's Supplemental Responses to Plaintiffs’ First Set of Interrogatories
            (January 30, 2018)

  170.      2018.02.26 Defendants' Answers to Plaintiffs’ First Set of Requests for Admission
            (February 26, 2018)

                             Master Files of Listed Prisoners
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                CRAIG HANEY EXPERT REPORT

                                 EXHIBIT 3
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              Stateville Correctional Center Pictures
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    Stateville Correctional Center - Picture of open barred cell in Stateville’s X House




                                                                                 134920
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  Stateville Correctional Center - Picture of open barred cell in Stateville’s X House




                                                                                 134931
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  Stateville Correctional Center - Picture of open barred cell in Stateville’s X House




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  Stateville Correctional Center - Picture of open barred cell in Stateville’s X House




                                                                                 134965
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  Stateville Correctional Center - Picture of cell door covered completely with
  Plexiglass




                                                                                  134919
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  Stateville Correctional Center - Picture of X House showers




                                                                       134930
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     Stateville Correctional Center - Picture of X House showers
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  Stateville Correctional Center - Picture of X House showers




                                                                       134955
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  Stateville Correctional Center - Picture of barred treatment space




                                                                       134972
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  Stateville Correctional Center - Picture of barred treatment space




                                                                       134973
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  Stateville Correctional Center - Picture of group room in X House




                                                                       134936
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  Stateville Correctional Center - Picture of group room in X House




                                                                       134939
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  Stateville Correctional Center - Line movement




                                                                       134693
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  Stateville Correctional Center - Picture of restrictive housing yard




                                                                         134898
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  Stateville Correctional Center - Picture of Health Care Unit crisis watch cells




                                                                                134890
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  Stateville Correctional Center - Picture of Health Care Unit crisis watch cells




                                                                                134993
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  Stateville Correctional Center - Restricted housing visiting room




                                                                       135002
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  Stateville Correctional Center - Restricted housing visiting room




                                                                       135004
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  Stateville Correctional Center - Restricted housing visiting room




                                                                       135007
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               Pontiac Correctional Center Pictures
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  Pontiac Correctional Center - Exterior view of West House cells




                                                                       134761
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  Pontiac Correctional Center - Exterior view of West House cells




                                                                       134762
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  Pontiac Correctional Center - Exterior view of West House cells




                                                                       134771
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  Pontiac Correctional Center - West House One Gallery cell




                                                                       134689
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  Pontiac Correctional Center - West House One Gallery cell




                                                                       134692
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  Pontiac Correctional Center - West House One Gallery cell




                                                                       134693
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  Pontiac Correctional Center - West House One Gallery cell




                                                                       134768
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  Pontiac Correctional Center - Upper tier view of West House gallery




                                                                        134773
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  Pontiac Correctional Center - West House therapy rooms




                                                                       134695
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  Pontiac Correctional Center - West House therapy rooms




                                                                       134996
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  Pontiac Correctional Center - Telepsych rooms in West House
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  Pontiac Correctional Center - Telepsych rooms in West House




                                                                       134745
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  Pontiac Correctional Center - Telepsych rooms in West House




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  Pontiac Correctional Center - West House Group Therapy rooms




                                                                       134732
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  Pontiac Correctional Center - West House Group Therapy rooms




                                                                       134740
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  Pontiac Correctional Center - West House Group Therapy rooms




                                                                       134739
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  Pontiac Correctional Center - Exterior of North House galleries




                                                                       134778
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  Pontiac Correctional Center - North House cell door




                                                                       134792
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  Pontiac Correctional Center - North House cell door




                                                                       134797
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  Pontiac Correctional Center - North House treatment rooms




                                                                       134819
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  Pontiac Correctional Center - North House treatment rooms




                                                                       134823
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  Pontiac Correctional Center - North House showers




                                                                       134810
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  Pontiac Correctional Center - North House showers




                                                                       134811
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  Pontiac Correctional Center - North House cell interiors




                                                                       134797
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  Pontiac Correctional Center - North House cell interiors




                                                                       134833
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  Pontiac Correctional Center - North House group therapy cages




                                                                       134820
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  Pontiac Correctional Center - North House exercise cages




                                                                       134836
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   Pontiac Correctional Center - North House exercise cages




                                                                        134838
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   Pontiac Correctional Center - South Mental, first floor




                                                                        134853
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   Pontiac Correctional Center - South Mental, first floor




                                                                        134854
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   Pontiac Correctional Center - South Mental, first floor cell interiors




                                                                            134860
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   Pontiac Correctional Center - South Mental, first floor cell interiors




                                                                            134864
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   Pontiac Correctional Center - South Mental second floor gallery




                                                                        134868
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   Pontiac Correctional Center - “Group therapy” configurations that are used for
   restrictive housing prisoners in South House




                                                                               134875
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   Pontiac Correctional Center - “Group therapy” configurations that are used for
   restrictive housing prisoners in South House




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   Pontiac Correctional Center - “Group therapy” configurations that are used for
   restrictive housing prisoners in South House




                                                                               134886
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   Pontiac Correctional Center - “Group therapy” configurations that are used for
   restrictive housing prisoners in South House




                                                                               134887
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                 Dixon Correctional Center Pictures
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     Dixon Correctional Center - Hallways to cells in mainline restrictive housing unit




                                                                               0349463
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     Dixon Correctional Center -Hallways to cells in mainline restrictive housing unit




                                                                              0349465
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     Dixon Correctional Center - Hallways to cells in mainline restrictive housing unit




                                                                               0349486
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     Dixon Correctional Center - Mainline restrictive housing yard




                                                                       0349422
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     Dixon Correctional Center - Mainline restrictive housing yard




                                                                       0349484
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     Dixon Correctional Center - Cell in mainline restrictive housing unit




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     Dixon Correctional Center - Cell in mainline restrictive housing unit




                                                                             0349453
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    Dixon Correctional Center - Cell in mainline restrictive housing unit




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   Dixon Correctional Center - Cell in mainline restrictive housing unit




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    Dixon Correctional Center - Cell in mainline restrictive housing unit




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     Dixon Correctional Center - X House restrictive housing unit




                                                                       0349437
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    Dixon Correctional Center - X House restrictive housing unit, crisis unit on B Wing




                                                                              0349456
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     Dixon Correctional Center - X House restrictive housing unit




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   Dixon Correctional Center - X House restrictive housing unit




                                                                       0349460
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   Dixon Correctional Center - A wing in X House restrictive housing unit




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   Dixon Correctional Center - C wing in X House restrictive housing unit




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   Dixon Correctional Center - D wing in X House restrictive housing unit




                                                                            0349509
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   Dixon Correctional Center - X House restrictive housing unit, crisis area on B Wing




                                                                              0349478
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   Dixon Correctional Center - X House restrictive housing unit, crisis area on B Wing




                                                                              0349481
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   Dixon Correctional Center - X House restrictive housing unit, crisis area on B Wing




                                                                              0349532
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   Dixon Correctional Center - X House restrictive housing unit, crisis area on B Wing




                                                                              0349533
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   Dixon Correctional Center - Photograph of the inside of one of the C Wing, X House
   cells




                                                                               134675
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   Dixon Correctional Center - Photograph of the inside of one of the C Wing, X House
   cells




                                                                        134676
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   Dixon Correctional Center - A C Wing group counseling session in progress in C
   Wing in X House with a correctional officer sitting immediately outside the group
   session, watching and within earshot of the conversation




                                                                          134673
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   Dixon Correctional Center - One-on-one treatment space in Dixon X House




                                                                             134679
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   Dixon Correctional Center - One-on-one treatment space in Dixon X House




                                                                             134680
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               Menard Correctional Center Pictures
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   Menard Correctional Center - Cell with solid door with feed box




                                                                       0349219
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   Menard Correctional Center - Interior of cell with solid door




                                                                       0349220
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   Menard Correctional Center - Looking out of a solid door cell




                                                                       0349233
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   Menard Correctional Center - Looking into a solid door cell with its door open from
   hallway




                                                                               0349223
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   Menard Correctional Center - Double celled open bar restrictive housing cell




                                                                              0349224
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   Menard Correctional Center - One-on-one treatment space on North 5 Gallery




                                                                           0349248
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   Menard Correctional Center - One-on-one treatment room on North 5 Gallery




                                                                          0349249
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   Menard Correctional Center - Interior looking out of one-on-one treatment space on
   North 5 Gallery




                                                                             0349250
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   Menard Correctional Center - Close-up of seat for prisoner in one-on-one treatment
   space in North 5 Gallery




                                                                             0349252
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   Menard Correctional Center - Treatment space in Health Care Unit




                                                                       0349258
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Case 3:16-cv-00600-MAB Document 174-3 Filed 09/06/19 Page 272 of 315 Page ID #1049



   Menard Correctional Center - Exam room in Health Care Unit




                                                                       0349260
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   Menard Correctional Center - Group treatment room on North Gallery 7




                                                                          0349263
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   Menard Correctional Center - Group treatment area on North Gallery 7




                                                                          0349267
Case 3:16-cv-00600-MAB Document 174-3 Filed 09/06/19 Page 275 of 315 Page ID #1052



   Menard Correctional Center - Group treatment area on North Gallery 7




                                                                          0349268
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   Menard Correctional Center - Crisis gallery of North 2




                                                                       0349243
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   Menard Correctional Center - Crisis cell in North Gallery 5




                                                                       0349242
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   Menard Correctional Center - Crisis cell in North 2




                                                                       0349244
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   Menard Correctional Center - Interior of crisis cell on North 2




                                                                       0349256
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   Menard Correctional Center - Looking down North House galleries




                                                                       0349221
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   Menard Correctional Center - Looking down North House galleries




                                                                       0349227
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   Menard Correctional Center - E-Yard




                                                                       0349272
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   Menard Correctional Center - E-Yard




                                                                       0349273
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   Menard Correctional Center - High escape yard




                                                                       0349276
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   Menard Correctional Center - Cages for no-contact yard




                                                                       0349279
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   Menard Correctional Center - Overview of restrictive housing yard area




                                                                            0349281
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   Menard Correctional Center - Cage for no-contact yard




                                                                       0349289
Case 3:16-cv-00600-MAB Document 174-3 Filed 09/06/19 Page 288 of 315 Page ID #1065



   Menard Correctional Center - Overview of restrictive housing yard area




                                                                            0349290
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   Menard Correctional Center - Non-congregate and group yard




                                                                       0349303
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   Menard Correctional Center - Administrative detention cells




                                                                       0349234
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   Menard Correctional Center - Administrative detention cells




                                                                       0349235
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   Menard Correctional Center - Administrative detention cells




                                                                       0349236
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              Lawrence Correctional Center Pictures
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   Lawrence Correctional Center - Non-contact visiting area




                                                                       0349405
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     Lawrence Correctional Center -Non-contact vising area




                                                                       0349407
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     Lawrence Correctional Center -Health Care Unit crisis watch cell




                                                                        0349423
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     Lawrence Correctional Center -Health Care Unit crisis watch cell




                                                                        0349424
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   Lawrence Correctional Center -C Wing of restrictive housing unit




                                                                       0349379
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   Lawrence Correctional Center - C Wing of restrictive housing unit




                                                                       0349416
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   Lawrence Correctional Center - Group treatment space for restrictive housing
   prisoners




                                                                             0349373
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                 Logan Correctional Center Pictures
Case 3:16-cv-00600-MAB Document 174-3 Filed 09/06/19 Page 302 of 315 Page ID #1079



   Logan Correctional Center - Building 41 at Logan, which houses watch cells and
   treatment space




                                                                             135067
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   Logan Correctional Center - Photograph of one of the tether tables used for group
   therapy




                                                                               135047
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   Logan Correctional Center - A photograph of the outdoor yards for restrictive
   housing prisoners




                                                                                   135021
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   Logan Correctional Center - Interior of the upper and lower tiers of the Building 15
   restrictive housing unit




                                                                                135109
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   Logan Correctional Center - Interior of the upper and lower tiers of the Building 15
   restrictive housing unit.




                                                                                135112
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   Logan Correctional Center - Interior of the upper and lower tiers of the Building 15
   restrictive housing unit




                                                                                135116
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   Logan Correctional Center - Restrictive housing cells in Building 15




                                                                          135022
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   Logan Correctional Center - Restrictive housing cells in Building 15




                                                                          135023
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   Logan Correctional Center - Restrictive housing cells in Building 15




                                                                          135026
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   Logan Correctional Center - Restrictive housing cells in Building 15




                                                                          135027
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   Logan Correctional Center - Exterior of the showers used by restrictive housing




                                                                               135153
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   Logan Correctional Center - A photograph of the metal desks in which prisoners are
   restrained during group therapy in restrictive housing




                                                                              135047
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   Logan Correctional Center - Visiting area




                                                                        135029
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   Logan Correctional Center - Visiting area




                                                                        135033
